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     EXHIBIT %
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                                                  (,(&!'#'&*

           7J;&7O  

           ->;<EBBEM?D=J;HCI7D:9ED:?J?EDIE<I;HL?9; JE=;J>;HM?J>7DOEJ>;H:E9KC;DJI;NFH;IIBO
           ?D9EHFEH7J;:>;H;?D 9EBB;9J?L;BO J>;(2?:@9EDIJ?JKJ;7D7=H;;C;DJ8;JM;;DOEKF<B 
           F<B?EH)@2?7D:-1-H7:?D=%J: 79ECF7DO?D9EHFEH7J;:7D:H;=?IJ;H;:?DDJ?=K77D:
           7H8K:79ECF7DODKC8;H (,(?.16;4 D2 <B?EHB@ EH7,;HL?9;)HEL?:;H?D
           H;IF;9JE<7,F;9?<?;:,;HL?9; 7D:7FFBOJEOEKHKI;E<
                J>;N9>7D=;7D:7DO,F;9?<?;:,;HL?9;J>7JC7O8;E<<;H;:JEOEK8O7,;HL?9;)HEL?:;H
                    9EBB;9J?L;BO J>;$9.A3<?: 7I7.I;HJE8KO I;BB ;N9>7D=; >EB: IJ7A; B;D: 8EHHEM 
                    I;D: H;9;?L;EHEJ>;HM?I;JH7DI79J?DJE=;J>;H A?.;@.0A6;EHB?IJ?=?J7BII;JI
                J>;-1FFB?97J?ED)HE=H7CC?D="DJ;H<79;$7D:
                7DOEJ>;HI;HL?9;IE<<;H;:J>HEK=>J>;-1M;8I?J;<JN 9ECJ>;'6A2EH7DO&E8?B;
                    FFB?97J?ED 
                    JE=;J>;H J>;'2?C602@ 
           OH;=?IJ;H?D=<EH7)B7J<EHC799EKDJ00<B;AEHKI?D=J>;,;HL?9;I OEK7=H;;J>7JOEK>7L;
           H;7: KD:;HIJ7D:7D:799;FJJ>;-;HCI ?D9BK:?D=EKH)H?L79O)EB?9O ,;9KH?JO)EB?9O7D:;;
           ,9>;:KB; 7D:OEK79ADEMB;:=;7D:7=H;;J>7JOEKM?BB8;8EKD:8O7D:9ECFBOM?J>J>;-;HCI 
           EDEJFHE9;;:M?J>H;=?IJ;H?D=<EH7D99EKDJ EHKI?D=J>;,;HL?9;I ?<OEK:EDEJKD:;HIJ7D:7D:
           799;FJJ>;-;HCI?DJ>;?H;DJ?H;JO 
           ,;9J?ED##"$" !"#$!%"7D:,;9J?ED #"#!"
           I;JEKJJ>;J;HCIEDM>?9>M;C7O <HECJ?C;JEJ?C; 9>7D=; IKIF;D: EH:?I9EDJ?DK;7DO7IF;9J
           E<J>;,;HL?9;I7D:7C;D:7DOF7HJE<J>;-;HCI 
           (KH,;HL?9;I7H;DEJE<<;H;:JE+;IJH?9J;:);HIEDI7I:;<?D;:?D,;9J?ED  8;BEMEH
           F;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<H;I?:;D9;?DJ>;.D?J;:,J7J;IE<C;H?97EH
           7DO+;IJH?9J;:-;HH?JEHO7I:;<?D;:?D,;9J?ED  8;BEM 
           -1-H7:?D=IH;B7J?EDI>?FM?J>OEKKD:;HJ>;-;HCI?I7I7JH7:?D=FB7J<EHCFHEL?:;HEDBO -1
           -H7:?D=:E;IDEJ79J7IFH?D9?F7BEH9EKDJ;HF7HJOM?J>H;IF;9JJEJH7:;I;DJ;H;:?DJEEDJ>;
           )B7J<EHC 'EJM?J>IJ7D:?D=J>;<EH;=E?D=
                -1-H7:?D=C7O79J7I79EKDJ;HF7HJO<EHB?C?J;:JH7:;IC7:;<EHJ>;FKHFEI;E<
                    B?GK?:7J?D=<;;I9EBB;9J;:ED.I;HJH7:;I7D:
                <<?B?7J;IE<-1-H7:?D=C7O;N;9KJ;JH7:;IEDJ>;)B7J<EHCFHEL?:;: >EM;L;H J>7JIK9>
                    <<?B?7J;II>7BBDEJ8;7<<EH:;:7DOFH?EH?JO?DJH7:;;N;9KJ?ED 
           ,7L;?D9;HJ7?DB?C?J;:9?H9KCIJ7D9;II;JEKJ?D,;9J?ED  & ##!#!# ,;9J?ED
            !#!#H;GK?H;I7BB?IFKJ;IJE8;H;IEBL;:8OM7OE<B;=7BBO8?D:?D=7H8?JH7J?EDED7D
           ?D:?L?:K7B87I?IEDBO7D:DEJ7I79B7?C7DJEH9B7IIC;C8;H?D7FKHFEHJ;:9B7IIEHH;FH;I;DJ7J?L;
           79J?ED ->;H;?IDE@K:=;EH@KHO?D7H8?JH7J?ED7D:9EKHJH;L?;ME<7D7H8?JH7J?ED7M7H:?IB?C?J;: 
           ->;B7MIE<IEC;@KH?I:?9J?EDIC7OB?C?JEHDEJF;HC?J9;HJ7?DFHEL?I?EDIE<J>;-;HCI IK9>7I
           7H8?JH7J?ED ?D:;CD?<?97J?ED J>;;N9BKI?EDE<9;HJ7?DM7HH7DJ?;IEHJ>;B?C?J7J?EDE<9;HJ7?DB?78?B?J?;I 
           "DIK9>797I; IK9>FHEL?I?EDIM?BB7FFBOEDBOJEJ>;C7N?CKC;NJ;DJF;HC?JJ;:8OJ>;B7MIE<
           IK9>@KH?I:?9J?EDI 
           "DJ>;-;HCI KDB;IIJ>;9EDJ;NJEJ>;HM?I;H;GK?H;I J>;:;<?D?J?EDI7D:HKB;IE<?DJ;HFH;J7J?EDI;J
           EKJ?D,9>;:KB;I>7BB7FFBO 

                  '(&)()&#(&!'
                 ->;-;HCI9ECFH?I;
                          J>;=;D;H7BJ;HCI7D:9ED:?J?EDII;JEKJ78EL; ?D,;9J?EDI#!$#$!
                              !"JE ! 7D:?D,9>;:KB;#" #! !## M>?9>




                                                                                                                    
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                              7FFBO=;D;H7BBOJEOEK OEKHH;=?IJH7J?ED7D:KI;E<7D99EKDJ 7D:OEKHKI;E<
                              J>;,;HL?9;I2;2?.9(2?:@
                          J>;FEB?9?;I I9>;:KB;I7D:EJ>;H:E9KC;DJIE<-1-H7:?D=7D:?JI<<?B?7J;I
                              ?D9EHFEH7J;:8OH;<;H;D9;?DJEJ>;-;HCI ?D9BK:?D=EKH)H?L79O)EB?9O ,;9KH?JO
                              )EB?9O7D:;;,9>;:KB;(,$<96062@7D:
                          J>;J;HCI7D:9ED:?J?EDII;JEKJ?D;79>,;HL?9;,9>;:KB; M>?9>I>7BB7BIE7FFBO
                              JEJ>;,F;9?<?;:,;HL?9;H;<;HH;:JEJ>;H;?D 
                 -EJ>;;NJ;DJJ>;H;?I7DO9ED<B?9JEH?D9EDI?IJ;D9O8;JM;;DJ>;CE:KB;IE<J>;-;HCI 
                    IK9>9ED<B?9JEH?D9EDI?IJ;D9OI>7BB8;H;IEBL;:?DJ>;<EBBEM?D=EH:;HE<FH;9;:;D9; KDB;II
                    7J;HCEH9ED:?J?EDI;JEKJ?D7:E9KC;DJE<BEM;HFH;9;:;D9;?I;NFH;IIBO?:;DJ?<?;:7I
                    J7A?D=FH;9;:;D9;EL;H7:E9KC;DJE<>?=>;HFH;9;:;D9; ;D;H7B-;HCI ,;HL?9;
                    ,9>;:KB;I ;;,9>;:KB; )H?L79O)EB?9O,;9KH?JO)EB?9O7D:EJ>;H-1)EB?9?;I 
                 !$#&("(2EK79ADEMB;:=;7D:7=H;;J>7J7DO,F;9?<?;:,;HL?9;H;<;HH;:JE?D7
                    ,;HL?9;,9>;:KB;I>7BB8;FHEL?:;:JEOEK8OJ>;,;HL?9;)HEL?:;HIF;9?<?;:?DJ>7J,;HL?9;
                    ,9>;:KB; "DIK9>97I; J>;,F;9?<?;:,;HL?9;I>7BB8;FHEL?:;:JEOEKED7D:IK8@;9JJE
                    J>;-;HCI M?J>H;<;H;D9;I?DJ>;I; ;D;H7B-;HCIJE-1-H7:?D=EHM; EKHEHKI
                    8;?D=H;7:7IH;<;H;D9;IJEJ>;,;HL?9;)HEL?:;HIF;9?<?;:?DJ>;,;HL?9;,9>;:KB; KDB;II
                    J>;9EDJ;NJFHEL?:;IEJ>;HM?I; 7D:KD:;HDE9?H9KCIJ7D9;II>7BB7DOEJ>;HF;HIED 
                    ?D9BK:?D=7DO<<?B?7J;E<J>;,;HL?9;)HEL?:;H 8;B?78B;JEOEK<EHJ>;F;H<EHC7D9;E<7DOE<
                    J>;,;HL?9;)HEL?:;HIE8B?=7J?EDIKD:;HJ>;-;HCI 

                  &'' #')&'
                    ;<EH;8;=?DD?D=JEKI;J>;,;HL?9;I OEKI>EKB:;DIKH;OEK>7L;H;7:7D:KD:;HIJ7D:
                    7D:OEKH;FH;I;DJ7D:M7HH7DJJ>7JOEK>7L;H;7:7D:KD:;HIJ7D:J>;<EBBEM?D=H?IA
                    :?I9BEIKH;I7D:J>;H?IA:?I9BEIKH;II;JEKJ?DJ>;,;HL?9;,9>;:KB;I 2EKI>EKB:DEJ;J>7J
                    J>?I?IDEJ7D;N>7KIJ?L;B?IJE<7BBE<J>;H?IAI7IIE9?7J;:M?J>?=?J7BII;JI7D:J>;
                    ,;HL?9;I 

                 "<.1C602.;1;<?296.;02
                          -1-H7:?D=:E;IDEJ7:L?I;EDJ>;C;H?JIE<7DOF7HJ?9KB7HJH7DI79J?ED JH7:?D=
                              H?IAI EHJ7N9EDI;GK;D9;I 7D:-1-H7:?D=:E;IDEJFHEL?:;7DOEJ>;H
                              <?D7D9?7B ?DL;IJC;DJ J7N7J?EDEHB;=7B7:L?9;?D9EDD;9J?EDM?J>J>;,;HL?9;I -E
                              J>;;NJ;DJJ>7JM;EHEKHH;FH;I;DJ7J?L;IFHEL?:;C7HA;J9ECC;DJ7HO EH7DO
                              EJ>;H?D<EHC7J?ED J>;79JE<:E?D=IE?I?D9?:;DJ7BJEOEKHH;B7J?EDI>?FM?J>KI7D:
                              IK9>?D<EHC7J?EDI>EKB:DEJ8;9EDIJHK;:7I?DL;IJC;DJEH<?D7D9?7B7:L?9; DO
                              :;9?I?ED8OOEKJEKI;J>;,;HL?9;I7D:JH7DI79J?D?=?J7BII;JI?IOEKHEMD
                              ?D:;F;D:;DJ:;9?I?ED 2EKH;FH;I;DJJ>7JOEK7H;DEJH;BO?D=ED7DO
                              9ECCKD?97J?EDMH?JJ;DEHEH7B8OKI7I?DL;IJC;DJ7:L?9;EH7I7
                              H;9ECC;D:7J?EDJEKI;J>;,;HL?9;I7D:JH7DI79J?D?=?J7BII;JI -1-H7:?D=
                              M?BBDEJ8;B?78B;<EH7DOBEIIIK<<;H;:8OOEKEH7DOJ>?H:F7HJO 
                          2EK799;FJJ>;H?IAE<JH7:?D=?=?J7BII;JI "D;DJ;H?D=?DJE7DOJH7DI79J?EDED
                              J>;)B7J<EHC OEKH;FH;I;DJJ>7JOEK>7L;8;;D 7H; 7D:M?BB8;IEB;BO
                              H;IFEDI?8B;<EHC7A?D=OEKHEMD?D:;F;D:;DJ7FFH7?I7B7D:?DL;IJ?=7J?EDI?DJE
                              J>;H?IAIE<IK9>JH7DI79J?ED7D:J>;KD:;HBO?D=?=?J7BII;J 2EKH;FH;I;DJJ>7J
                              OEK>7L;IK<<?9?;DJADEMB;:=; C7HA;JIEF>?IJ?97J?ED FHE<;II?ED7B7:L?9;7D:
                              ;NF;H?;D9;JEC7A;OEKHEMD;L7BK7J?EDE<J>;C;H?JI7D:H?IAIE<7DOJH7DI79J?ED
                              ;DJ;H;:?DJEEDJ>;)B7J<EHCEH7DOKD:;HBO?D=?=?J7BII;J 
                          -1-H7:?D=?IDEJOEKH8HEA;H ?DJ;HC;:?7HO 7=;DJ EH7:L?IEH7D:>7IDE
                              <?:K9?7HOH;B7J?EDI>?FEHE8B?=7J?EDJEOEK?D9EDD;9J?EDM?J>7DOJH7:;IEHEJ>;H
                              :;9?I?EDIEH79J?L?J?;I;<<;9J;:8OOEKKI?D=J>;,;HL?9;I 

                 646A.9@@2AA?.;@32?@.;1C<9.A696AF
                          -H7:?D=?D?=?J7BII;JI97D8;;NJH;C;BOH?IAO7D:LEB7J?B; ?=?J7BII;JIC7O
                              >7L;KD?GK;<;7JKH;IJ>7JC7A;J>;CCEH;EHB;IIB?A;BOJE<BK9JK7J;?DL7BK; 




                                                                                                              
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                             79JEHI8;OED:-1-H7:?D=I9EDJHEB IK9>7IH;=KB7JEHO79J?L?JOEH
                             KD;NFB7?D78B;FH?9;LEB7J?B?JO C7O7<<;9JC7HA;JB?GK?:?JO<EH7F7HJ?9KB7H?=?J7B
                             II;J BE9A9>7?DD;JMEHAIC7O=EE<<B?D;7I7H;IKBJE<8K=I EHAI7I:;<?D;:
                             ?D,;9J?ED8;BEM EHEJ>;HKD<EH;I;;78B;H;7IEDI I7=;D;H7BC7JJ;H OEK
                             I>EKB:DEJ;D=7=;?D79J?L;JH7:?D=EDJ>;)B7J<EHC?<OEK>7L;B?C?J;:JH7:?D=
                             ;NF;H?;D9;EHBEMH?IAJEB;H7D9; ,F;9KB7J?D=EDJ>;L7BK;E<?=?J7BII;JI?I
                             >?=>H?IA7D:OEKI>EKB:D;L;HJH7:;CEH;J>7DOEK97D7<<EH:JEBEI; 
                         .D:;HIJ7D:?D=?=?J7BII;JIH;GK?H;I7:L7D9;:J;9>D?97BADEMB;:=; ?=?J7B
                             II;JI7H;E<J;D:;I9H?8;:?D;N9;;:?D=BOJ;9>D?97BB7D=K7=;J>7JH;GK?H;I7
                             9ECFH;>;DI?L;KD:;HIJ7D:?D=E<7FFB?;:9HOFJE=H7F>O7D:9ECFKJ;H9E:;?D
                             EH:;HJE7FFH;9?7J;J>;?D>;H;DJH?IAI ->;B?IJ?D=E<7?=?J7BII;JEDJ>;
                             )B7J<EHC:E;IDEJ?D:?97J;-1-H7:?D=I7FFHEL7BEH:?I7FFHEL7BE<J>;
                             KD:;HBO?D=J;9>DEBE=OE<7DO?=?J7BII;J7D:I>EKB:DEJ8;KI;:7I7IK8IJ?JKJ;
                             <EHOEKHEMDKD:;HIJ7D:?D=E<J>;H?IAIIF;9?<?9JE;79>?=?J7BII;J 0;FHEL?:;
                             DEM7HH7DJO7IJEJ>;IK?J78?B?JOE<J>;?=?J7BII;JIJH7:;:KD:;HJ>;-;HCI7D:
                             7IIKC;DE<?:K9?7HO:KJOJEOEK?D9EDD;9J?EDM?J>IK9>KI;E<J>;,;HL?9;I 
                         2EK799;FJ7BB9EDI;GK;D9;IE<I;D:?D=?=?J7BII;JIJE7D7::H;IIE<<J>;
                             )B7J<EHC ?=?J7BII;JJH7DI79J?EDIC7ODEJ8;H;L;HI?8B; (D9;OEKI;D:?=?J7B
                             II;JIJE7D7::H;II OEK799;FJJ>;H?IAJ>7JOEKC7OBEI;799;IIJEOEKH?=?J7B
                             II;JI?D:;<?D?J;BO EH;N7CFB; 7D7::H;IIC7O>7L;8;;D;DJ;H;:?D9EHH;9JBO
                             7D:J>;JHK;EMD;HE<J>;7::H;IIC7OD;L;H8;:?I9EL;H;: EH7D7::H;IIC7O
                             8;BED=JE7F;HIEDJ>7JM?BBDEJH;JKHDOEKH?=?J7BII;JIEHC7OH;JKHDOEKH
                             ?=?J7BII;JI8KJ<?HIJH;GK?H;79J?EDEDOEKHF7HJ IK9>7IL;H?<?97J?EDE<OEKH
                             ?:;DJ?JOEH9ECF;DI7J?ED 

                 'B==9F.;1C.9B2<3646A.9@@2A@
                         ->;L7BK;E<?=?J7BII;JIC7O8;:;H?L;:<HECJ>;9EDJ?DK;:M?BB?D=D;IIE<
                             C7HA;JF7HJ?9?F7DJIJE;N9>7D=;?=?J7BII;JI<EH<?7J9KHH;D9O7D:EJ>;H?=?J7B
                             II;JI M>?9>C7OH;IKBJ?DJ>;F;HC7D;DJ7D:JEJ7BBEIIE<L7BK;E<7F7HJ?9KB7H
                             ?=?J7BII;JI>EKB:J>;C7HA;J<EHJ>7J?=?J7BII;J:?I7FF;7H 
                         2EK79ADEMB;:=;7D:7=H;;J>7J?=?J7BII;JI7D: EH,;HL?9;I?DM>EB;EH?D
                             F7HJ7L7?B78B;?DED;@KH?I:?9J?EDC7ODEJ8;7L7?B78B;<EHJH7:?D= KI;EH799;II 
                             7I7FFB?978B; ?D7DEJ>;H 

                 !.?46;A?.16;4
                         &7H=?DJH7:?D=?I!" !+",$ I78EHHEM;H OEKC7OIKIJ7?D7JEJ7BBEIIE<
                             ?=?J7BII;JI <?7J9KHH;D9O7D: &ED;O7I:;<?D;:?D,;9J?ED  8;BEM
                             9EBB;9J?L;BO @@2A@?DOEKH99EKDJ EHEM;II;JI8;OED:M>7JOEK>7L;
                             :;FEI?J;:?DOEKH99EKDJ 0>;DOEKB;D:II;JIJEEJ>;H.I;HI OEKH?IAJ>;
                             BEIIE<7DKDF7?:FH?D9?F7B?<J>;8EHHEM;H:;<7KBJIED7BE7D7D:B?GK?:7J?EDE<J>;
                             8EHHEM;HTI99EKDJ<7?BIJEH7?I;IK<<?9?;DJII;JIJE9EL;HJ>;8EHHEM;HTI:;8J 

                 <:=92E=?<1B0A@
                         -H7:?D=E<9ECFB;NFHE:K9JI ?D9BK:?D=8KJDEJB?C?J;:JEKJKH;IEDJH79JI 
                             (FJ?EDIEDJH79JI 7D:&(//EB7J?B?JOEDJH79JI;79>7I:;<?D;:?DJ>;,;HL?9;
                             ,9>;:KB;I9EBB;9J?L;BO <:=92E$?<1B0A@ C7ODEJ8;IK?J78B;<EH7BB
                             .I;HI ECFB;N)HE:K9JJH7:?D=?I:;I?=D;:JE8;KJ?B?I;:EDBO8OIEF>?IJ?97J;:
                             .I;HI IK9>7I79J?L;JH7:;HI;CFBEO?D=:OD7C?9IJH7J;=?;I 2EKI>EKB:KI;
                             ;NJH;C;97KJ?EDM>;DJH7:?D=ECFB;N)HE:K9JI7D:EDBOJH7:;J>;C?<OEK
                             KD:;HIJ7D:>EMJ>;OMEHA ?D9BK:?D=8KJDEJB?C?J;:JEJ>;H?IAI7IIE9?7J;:M?J>
                             C7H=?DJH7:?D= J>;KI;E<B;L;H7=; J>;H?IAE<I>EHJ?D= 7D:J>;;<<;9JE<
                             9ECFEKD:?D=7D:C7HA;JLEB7J?B?JOH?IAIEDB;L;H7=;:FHE:K9JI 
                         ECFB;N)HE:K9JJH7:?D=;DJ7?BII?=D?<?97DJH?IA 7D:OEKC7O<;;BJ>;;<<;9JIE<
                             BEII;I?CC;:?7J;BO ECFB;N)HE:K9JJH7:?D=H;GK?H;I?D?J?7BFEIJ?D=E<9EBB7J;H7B
                             JEC;;J?D?J?7BC7H=?DH;GK?H;C;DJI "<CEL;C;DJI?DJ>;C7HA;JI<EH7ECFB;N




                                                                                                               
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                             )HE:K9JEHJ>;KD:;HBO?D=?=?J7BII;J:;9H;7I;J>;L7BK;E<OEKHFEI?J?ED?D
                             IK9>ECFB;N)HE:K9J OEKC7O8;H;GK?H;:JE>7L;EHC7A;7::?J?ED7B9EBB7J;H7B
                             7L7?B78B;7IC7H=?DJE;DIKH;J>7JC7?DJ;D7D9;C7H=?DH;GK?H;C;DJI7H;C;J "<
                             OEKH99EKDJ?IKD:;HJ>;C?D?CKCC7H=?DH;GK?H;C;DJI OEKHFEI?J?EDC7O8;
                             B?GK?:7J;:7J7BEII 7D:OEKC7OBEI;7BBE<OEKHII;JI?DOEKH99EKDJ "<J>;H;
                             7H;7DO7::?J?ED7B:;<?9?JI?DOEKH99EKDJ OEKM?BB7BIE8;B?78B;<EH7BBIK9>
                             :;<?9?JI 
                         .,+,0!(('(-.'+,-'%/+ (+&+ "'-+"' (+
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                             +",$,,,("-0"-!(&)%1)+(.--+"' 

                 9.0896@A21.11?2@@2@.;13<?326A21@@2A@
                         -1-H7:?D=H;I;HL;IJ>;H?=>JJE8B79AB?IJ9;HJ7?D7::H;II;I7D:<H;;P;
                             7IIE9?7J;:II;JIJ;CFEH7H?BOEHF;HC7D;DJBOJ>7J?J:;J;HC?D;I ?D?JIIEB;
                             :?I9H;J?ED 7H;7IIE9?7J;:M?J>?BB;=7B79J?L?JOEH79J?L?JOJ>7JEJ>;HM?I;L?EB7J;IJ>;
                             -;HCI9.0896@A2111?2@@2@ "DJ>;;L;DJJ>7JOEKI;D:II;JIJE7
                             B79AB?IJ;:::H;IIEHH;9;?L;II;JI<HEC7B79AB?IJ;:::H;II -1-H7:?D=
                             C7O<H;;P;IK9>II;JI7D:J7A;IJ;FIJEJ;HC?D7J;OEKH99EKDJ 
                         "D9;HJ7?D9?H9KCIJ7D9;I -1-H7:?D=C7O:;;C?JD;9;II7HOJEH;FEHJIK9>
                             IKIF;9J;:?BB;=7B79J?L?JOJE7FFB?978B;B7M;D<EH9;C;DJ7=;D9?;I7D:EJ>;H
                             +;=KB7JEHOKJ>EH?J?;I 7D:OEKC7O<EH<;?J7DOH?=>JI7IIE9?7J;:M?J>OEKH
                             II;JI ?D9BK:?D=J>;78?B?JOJEH;:;;CEH;N9>7D=;OEKH?=?J7BII;JI<EHEJ>;H
                             ?=?J7BII;JIEH<?7J9KHH;D9O -1-H7:?D=C7O7BIE<H;;P;II;JI>;B:?DOEKH
                             99EKDJ?DJ>;;L;DJJ>7JM;H;9;?L;7H;B7J;:EH:;HEHH;GK;IJ<HEC7B;=7BEH
                             +;=KB7JEHOKJ>EH?JO 

                 '<3AD.?2=?<A<0<9@.;1<=2?.A6<;.905.992;42@
                         ->;IE<JM7H;FHEJE9EBIJ>7JKD:;HB?;?=?J7BII;JI7H;JOF?97BBOEF;DIEKH9;
                             FHE@;9JIEH7H;EJ>;HM?I;EF;H7J;:8OJ>?H:F7HJ?;I M>?9>C;7DIJ>7J?J>;
                             EF;H7J?EDI <KD9J?ED7B?J?;I :;L;BEFC;DJ7D:9EDJHEBE<IK9>?=?J7BII;JI7D:
                             J>;?HKD:;HBO?D=D;JMEHAI7H;EKJI?:;E<-1-H7:?D=I9EDJHEB7D:??IK9>
                             IE<JM7H;FHEJE9EBI7H;IK8@;9JJEIK::;D7D::H7C7J?99>7D=;IJ>7JC?=>J>7L;7
                             I?=D?<?97DJ?CF79JEDJ>;7L7?B78?B?JO KI78?B?JOEHL7BK;E<7=?L;D?=?J7BII;J 
                         2EK7H;7M7H;E<7D:799;FJJ>;H?IAE<EF;H7J?ED7B9>7BB;D=;IJ>7JC7O?CF79J
                             J>;,;HL?9;I ->;)B7J<EHCC7O;NF;H?;D9;IEF>?IJ?97J;:9O8;H 7JJ79AI 
                             KD;NF;9J;:IKH=;I?D79J?L?JOEHEJ>;HEF;H7J?ED7BEHJ;9>D?97B:?<<?9KBJ?;IJ>7JC7O
                             97KI;?DJ;HHKFJ?EDIJEJ>;,;HL?9;I 2EKKD:;HIJ7D:J>7JJ>;,;HL?9;IC7O
                             ;NF;H?;D9;EF;H7J?ED7B?IIK;IJ>7JB;7:JE:;B7OI 2EK7=H;;JE799;FJJ>;H?IAE<
                             JH7DI79J?ED<7?BKH;H;IKBJ?D=<HECKD7DJ?9?F7J;:EH>;?=>J;D;:J;9>D?97B:?<<?9KBJ?;I 
                             ?D9BK:?D=J>EI;H;IKBJ?D=<HECIEF>?IJ?97J;:7JJ79AI 2EK7=H;;DEJJE>EB:-1
                             -H7:?D=B?78B;<EH7DOH;B7J;:BEII;I 
                         2EKKD:;HIJ7D:J>7JJ>;J;9>DEBE=OKD:;HBO?D=?=?J7BII;JI?IIK8@;9JJE9>7D=;
                             7J7DOJ?C; 7D:IK9>9>7D=;IC7O7<<;9JOEKH?=?J7BII;JIIJEH;:EDJ>;
                             )B7J<EHC 2EK7H;<KBBOH;IFEDI?8B;<EHCED?JEH?D=IK9>J;9>DEBE=?97B9>7D=;I7D:
                             KD:;HIJ7D:?D=J>;?H9EDI;GK;D9;I<EHOEKH?=?J7BII;JI 
                         .I;HI9ED:K9J7BBJH7:?D=EDJ>;?HEMD799EKDJ7D:-1-H7:?D=:E;IDEJJ7A;
                             7DOH;IFEDI?8?B?JO<EH7DOBEIIEH:7C7=;?D9KHH;:7I7H;IKBJE<OEKHKI;E<7DO
                             ,;HL?9;IEHOEKH<7?BKH;JEKD:;HIJ7D:J>;H?IAI7IIE9?7J;:M?J>?=?J7BII;JIKI;
                             =;D;H7BBOEHOEKHKI;E<EKH,;HL?9;I 




                                                                                                              
    Case 1:22-cr-00673-LAK                    Document 454-3                  Filed 06/17/24               Page 6 of 63


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                          ?=?J7BII;JI:;F;D:EDJ>;7L7?B78?B?JO7D:H;B?78?B?JOE<FEM;H 9EDD;9J?L?JO 7D:
                              >7H:M7H; "DJ;HHKFJ?EDEH<7?BKH;E<7DOE<J>;I;J>?D=IC7O:?IHKFJJ>;D;JMEHAI
                              EDM>?9>J>;?=?J7BII;JIH;BOEHOEKH78?B?JOJE799;IIEHJH7DI79J?D?=?J7B
                              II;JI 

                 <:=96.;02
                    2EK7H;H;IFEDI?8B;<EH9ECFBO?D=M?J>7BBFFB?978B;%7MI 2EK7=H;;J>7J-1-H7:?D=?I
                    DEJH;IFEDI?8B;<EH:;J;HC?D?D=M>;J>;HEHM>?9>B7MI7D:H;=KB7J?EDIC7O7FFBOJEOEKH
                    JH7DI79J?EDI ?D9BK:?D=8KJDEJB?C?J;:JEJ7NB7MI7D:H;=KB7J?EDI 2EK7H;IEB;BO
                    H;IFEDI?8B;<EHH;FEHJ?D=7D:F7O?D=7DOJ7N;I7H?I?D=<HECOEKHKI;E<J>;,;HL?9;I 

                  246@9.A6C2.;1?24B9.A<?F05.;42@
                    %;=?IB7J?L;7D:H;=KB7JEHO9>7D=;IEH79J?EDI7JJ>;:EC;IJ?9EH?DJ;HD7J?ED7BB;L;BC7O
                    7:L;HI;BO7<<;9JJ>;KI; JH7DI<;H 78?B?JOJEJH7DI79J?D 7D:L7BK;E<?=?J7BII;JI EHOEKH
                    799;IIJE 7D:EKH78?B?JOJEFHEL?:; J>;,;HL?9;I 2EK79ADEMB;:=;7D:799;FJJ>;H?IAI
                    J>7JIK9>9>7D=;IC7O8H?D=7D:J>7J-1-H7:?D=?IDEJB?78B;<EH7DO7:L;HI;?CF79JJ>7J
                    J>7JOEKC7OIK<<;H7I7H;IKBJ 

                 "<12=<@6A=?<A20A6<;
                    ';?J>;H?=?J7BII;JIDEH7DO<?7J9KHH;D9OEH &ED;O>;B:?DOEKH99EKDJ?I;B?=?8B;<EH
                    7DOFK8B?9EHFH?L7J;:;FEI?J?DIKH7D9;FHEJ;9J?ED 

                646A.9@@2A6@A?6/BA6<;@;<A@B==<?A21
                    ;HJ7?D?=?J7BII;JI7H;8K?BJEDFHEJE9EBIJ>7JIKFFEHJ?=?J7BII;J?IJH?8KJ?EDI7I
                    :;<?D;:?D,;9J?ED 8;BEM ?D9BK:?D= 8KJDEJB?C?J;:JE EHAI7I:;<?D;:?D,;9J?ED
                     8;BEM ,J7A?D=+;M7H:I7I:;<?D;:?D,;9J?ED 8;BEM7D:?H:HEFI7I:;<?D;:
                    ?D,;9J?ED 8;BEM -1-H7:?D=?IDEJE8B?=7J;:JEIKFFEHJ7DOIK9>?=?J7BII;J
                    ?IJH?8KJ?EDI<EH.I;HI "<OEK>EB:J>;I;?=?J7BII;JI?DOEKH99EKDJ OEKJ>;H;8O<EH<;?J
                    J>;78?B?JOJE9B7?C7DO?=?J7BII;J?IJH?8KJ?EDI<HEC-1-H7:?D= "<OEK>EB:?=?J7B
                    II;JIM?J>FHEE< E< IJ7A;EH:;B;=7J;:FHEE< E< IJ7A;9EDI;DIKI7B=EH?J>CI -1-H7:?D=
                    C7O?D?JIIEB;:?I9H;J?EDIJ7A;J>;I;?=?J7BII;JIM?J>EKJ7DOE8B?=7J?EDJE:?IJH?8KJ;
                    ,J7A?D=+;M7H:IJEOEK ,J7A?D=C7OIK8@;9JOEKH?=?J7BII;JIJE7::?J?ED7BH?IAI7D:
                    -1-H7:?D=?IDEJB?78B;<EHBEII;IOEKC7O?D9KHH;B7J;:JEIJ7A?D= 

                &296.;02<;A56?1=.?A62@

                    2EKHKI;E<J>;,;HL?9;I7D:J>;L7BK;E<9;HJ7?D?=?J7BII;JIC7OH;BOEDJ>;79JIE<
                    J>?H:F7HJ?;IEHJ>;<KB<?BC;DJE<H;B7J;:E8B?=7J?EDI8OJ>?H:F7HJ?;I -1-H7:?D=?IDEJ
                    H;IFEDI?8B;<EHJ>;79JIEHEC?II?EDIE<IK9>J>?H:F7HJ?;I 

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                              7DO97F79?JO OEKI>7BB79J?D9ECFB?7D9;M?J>7BBFFB?978B;%7MI 7?BKH;JE:E
                              IEC7OH;IKBJ?DJ>;IKIF;DI?EDE<OEKH78?B?JOJEKI;J>;,;HL?9;IEHJ>;9BEIKH;
                              E<OEKH99EKDJ 
                          0?J>EKJB?C?J7J?EDJEJ>;78EL; OEKH799;IIJE7D:KI;E<OEKH99EKDJ7D:J>;
                              ,;HL?9;I 7D:J>;H;9;?FJE<7DO<;;:?I9EKDJI7D:H;87J;I ?IIK8@;9JJEOEKH
                              9EDJ?DK;:9ECFB?7D9;M?J>7BBFFB?978B;%7MI ?D9BK:?D=J>;HKB;I7D::?H;9J?EDI
                              E<7DO7FFB?978B;+;=KB7JEHOKJ>EH?JO7D: M?J>EKJB?C?J7J?ED 7BB7FFB?978B;J7N 
                              7DJ? CED;OB7KD:;H?D=! 7D:9EKDJ;H J;HHEH?IJ<?D7D9?D=(B7MI7D:
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                    (KH&%7D:-FHE9;:KH;I7H;=K?:;:8O7BB7FFB?978B;HKB;I7D:H;=KB7J?EDIH;=7H:?D=
                    &%7D:- ->;I;IJ7D:7H:I7H;:;I?=D;:JEFH;L;DJJ>;KI;E<J>;)B7J<EHC<EHCED;O
                    B7KD:;H?D=EHJ;HHEH?IJ<?D7D9?D=79J?L?J?;I 0;J7A;9ECFB?7D9;L;HOI;H?EKIBO7D:?J?IEKH
                    FEB?9OJEJ7A;J>;D;9;II7HOIJ;FIJ>7JM;8;B?;L;7FFHEFH?7J;JEFHE>?8?J<H7K:KB;DJ
                    JH7DI79J?EDI H;FEHJIKIF?9?EKI79J?L?J?;I 7D:79J?L;BO;D=7=;?DJ>;FH;L;DJ?EDE<CED;O
                    B7KD:;H?D=7D:J;HHEH?IJ<?D7D9?D= 7DOH;B7J;:79JIJ>7J<79?B?J7J;CED;OB7KD:;H?D= J;HHEH?IJ
                    <?D7D9?D=EH7DOEJ>;H<?D7D9?7B9H?C;I 

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                          ->;,;HL?9;I7H;IK8@;9JJE7BB7FFB?978B;;NFEHJ9EDJHEBH;IJH?9J?EDI7D: 8OKI?D=
                              J>;,;HL?9;I OEKH;FH;I;DJJ>7JOEKH79J?EDI7H;DEJ?DL?EB7J?EDE<IK9>;NFEHJ
                              9EDJHEBH;IJH?9J?EDI 0?J>EKJB?C?J?D=J>;<EH;=E?D= OEKC7ODEJKI;J>;,;HL?9;I
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                                   OEK7H;?D7FHE>?8?J;:@KH?I:?9J?ED7II;J<EHJ>7J%E97J?ED+;IJH?9J?EDI
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                                   OEK7H;7C;C8;HE<7DOI7D9J?EDIB?IJEH;GK?L7B;DJC7?DJ7?D;:8OJ>;
                                       .D?J;:,J7J;I=EL;HDC;DJ J>;.D?J;:$?D=:EC=EL;HDC;DJ J>;
                                       KHEF;7D.D?ED J>;,?D=7FEH;=EL;HDC;DJ EH->;7>7C7I
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                                   OEK?DJ;D:JEJH7DI79JM?J>7DO+;IJH?9J;:-;HH?JEH?;IEH+;IJH?9J;:
                                       );HIEDI
                                   OEK7H;BE97J;: ?D9EHFEH7J;:EHEJ>;HM?I;;IJ78B?I>;:?D EH79?J?P;DEH
                                       H;I?:;DJE<7@KH?I:?9J?EDM>;H;?JMEKB:8;?BB;=7BKD:;HFFB?978B;%7M
                                       <EHOEK8OH;7IEDE<OEKHD7J?ED7B?JO :EC?9?B; 9?J?P;DI>?F H;I?:;D9;EH
                                       EJ>;HM?I;JE799;IIEHKI;J>;,;HL?9;IEH
                                   J>;FK8B?97J?EDEH7L7?B78?B?JOE<J>;,;HL?9;I?DJ>;@KH?I:?9J?ED?DM>?9>
                                       OEK7H;87I;:?IFHE>?8?J;:EH9EDJH7HOJEBE97BB7MEHH;=KB7J?EDEH9EKB:
                                       IK8@;9J-1-H7:?D=JE7DOBE97BH;=?IJH7J?EDEHB?9;DI?D=H;GK?H;C;DJI 
                          0;C7O ?DEKHIEB;:?I9H;J?ED ?CFB;C;DJ9EDJHEBIJEH;IJH?9J799;IIJE7D:KI;
                              E<J>;,;HL?9;I?D7DOE<J>;+;IJH?9J;:-;HH?JEH?;IEH?D7DOE<J>;9?H9KCIJ7D9;I
                              H;<;HH;:JE?D,;9J?ED  78EL; "<M;:;J;HC?D;J>7JOEK7H;799;II?D=EH
                              KI?D=J>;,;HL?9;I<HEC7DO+;IJH?9J;:-;HH?JEHO EH7DOE<J>;9?H9KCIJ7D9;I
                              H;<;HH;:JE?D,;9J?ED  78EL;7FFBO M;C7OIKIF;D:OEKH78?B?JOJEKI;J>;
                              ,;HL?9;IEH9BEI;OEKH99EKDJ7JEKH:?I9H;J?ED 

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                 "DEH:;HJE8;;B?=?8B;JEEF;D7D99EKDJEHKI;J>;,;HL?9;I7D:JE;DJ;H?DJEJ>;-;HCI 
                    OEKCKIJC;;J7D:OEKH;FH;I;DJ7D:M7HH7DJJ>7JOEK:EC;;J J>;<EBBEM?D=;B?=?8?B?JO
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                              799;FJJ>;-;HCI 7D:DEJ>7L;8;;DFH;L?EKIBOIKIF;D:;:EHH;CEL;:<HEC
                              799;IIJEJ>;,;HL?9;IEH7DOEJ>;HI;HL?9;EHFHE:K9JE<<;H;:8O-1-H7:?D=EH
                              7DOE<?JI<<?B?7J;I 7D:7H;EJ>;HM?I;;B?=?8B;JEKI;J>;,;HL?9;IKD:;H
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                                   OEKCKIJ8;:KBO7KJ>EH?I;:8OIK9>B;=7B;DJ?JOJE79JED?JI8;>7B<<EH
                                       J>;FKHFEI;E<;DJ;H?D=?DJEJ>;-;HCI
                                   J>;B;=7B;DJ?JOCKIJ8;:KBOEH=7D?I;:7D:L7B?:BO;N?IJ?D=KD:;HJ>;B7MI
                                       E<J>;@KH?I:?9J?EDE<?JIEH=7D?I7J?ED7D:
                                   J>;B;=7B;DJ?JOCKIJDEJ>7L;8;;D7D:;79>E<?JI<<?B?7J;ICKIJDEJ
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                                      ,;HL?9;IEH7DOEJ>;HI;HL?9;EHFHE:K9JE<<;H;:8O-1-H7:?D=EH7DOE<
                                      ?JI<<?B?7J;I7D:CKIJ8;EJ>;HM?I;;B?=?8B;JEKI;J>;,;HL?9;IKD:;H
                                      FFB?978B;%7M 
                         2EK>7L;DEJL?EB7J;:8;;D<?D;: :;87HH;: I7D9J?ED;: J>;IK8@;9JE<;9EDEC?9
                             I7D9J?EDI H;B7J;:H;IJH?9J?EDI EHEJ>;HM?I;F;D7B?I;:KD:;HH;9;?L;:7DOEH7BEH
                             MH?JJ;DDEJ?9;<HEC7DO=EL;HDC;DJ9ED9;HD?D=79JK7BEHFEII?8B;L?EB7J?ED8OOEK
                             KD:;HEHH;9;?L;:7DOEJ>;HH;FEHJJ>7JOEK7H;J>;IK8@;9JEHJ7H=;JE<I7D9J?EDI 
                             H;IJH?9J?EDI F;D7BJ?;I EH;D<EH9;C;DJ79J?EDEH?DL;IJ?=7J?EDKD:;H 7DO
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                             E<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 
                         2EK7H;DEJ7+;IJH?9J;:);HIEDDEH7H;OEK7H;I?:;DJE<7+;IJH?9J;:-;HH?JEHO
                             7D:
                         2EKM?BBDEJ8;KI?D=J>;,;HL?9;I<EH7DO?BB;=7B79J?L?JO?D9BK:?D= 8KJDEJB?C?J;:
                             JE J>EI;+;IJH?9J;:9J?L?J?;IB?IJ;:?D,;9J?ED8;BEM 
                 "<M;:;J;HC?D;J>7JOEK:EDEJ<KB<?B7DOE<J>;78EL;9H?J;H?7 J>;DM;C7OIKIF;D:OEKH
                    78?B?JOJEKI;J>;,;HL?9;IEH9BEI;OEKH99EKDJ7JEKH:?I9H;J?ED 

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                    C?IB;7:?D=?D<EHC7J?ED<EH7BBH;GK?H;:;B;C;DJIEDJ>;H;=?IJH7J?EDF7=; ?D9BK:?D=OEKH<KBB
                    B;=7BD7C; 2EK7BIE7=H;;JEFHEL?:;KI M>;DH;=?IJ;H?D=7D99EKDJ7D:ED7DED=E?D=
                    87I?I M?J>7DO7::?J?ED7B?D<EHC7J?EDM;H;GK;IJ<EHJ>;FKHFEI;IE<?:;DJ?JOL;H?<?97J?ED
                    7D:J>;:;J;9J?EDE<CED;OB7KD:;H?D= J;HHEH?IJ<?D7D9?D= <H7K: EH7DOEJ>;H<?D7D9?7B
                    9H?C; ?D9BK:?D=M?J>EKJB?C?J7J?ED79EFOE<OEKH=EL;HDC;DJ?IIK;:F>EJE"EH;L?:;D9;
                    E<H;I?:;D9OIK9>7I7B;7I;EHKJ?B?JO8?BB 2EKF;HC?JKIJEA;;F7H;9EH:E<IK9>
                    ?D<EHC7J?ED7D:7KJ>EH?I;KIJEC7A;7DO;DGK?H?;I :?H;9JBOEHJ>HEK=>J>?H:F7HJ?;IJ>7JM;
                    9EDI?:;HD;9;II7HOJEL;H?<OOEKH?:;DJ?JOEHFHEJ;9JOEK7D: EHKI7=7?DIJ<H7K:EHEJ>;H
                    <?D7D9?7B9H?C; 7D:JEJ7A;7DO79J?EDM;H;7IED78BO:;;CD;9;II7HO87I;:EDJ>;H;IKBJI
                    E<IK9>?DGK?H?;I 0>;DM;97HHOEKJJ>;I;;DGK?H?;I OEK79ADEMB;:=;7D:7=H;;J>7J
                    OEKHF;HIED7B?D<EHC7J?EDC7O8;:?I9BEI;:JE9H;:?JH;<;H;D9;7D:<H7K:FH;L;DJ?EDEH
                    <?D7D9?7B9H?C;7=;D9?;I7D:J>7JJ>;I;7=;D9?;IC7OH;IFED:JEEKH?DGK?H?;I?D<KBB 
                 "D9;HJ7?D9?H9KCIJ7D9;I M;C7OH;GK?H;OEKJEIK8C?J7::?J?ED7B?D<EHC7J?ED78EKJ
                    OEKHI;B< OEKH8KI?D;II OEKHIEKH9;E<M;7BJ> EHOEKHJH7DI79J?EDI FHEL?:;H;9EH:I 7D:
                    9ECFB;J;EJ>;HL;H?<?97J?EDIJ;FIIK9>FHE9;II ;5.;021B269642;02 
                 2EKH;FH;I;DJ7D:M7HH7DJJ>7J7DO7D:7BB?D<EHC7J?EDFHEL?:;:JEKI?D9EDD;9J?EDM?J>
                    H;=?IJ;H?D=OEKH99EKDJ KI?D=J>;,;HL?9;I FKHIK7DJJEJ>;-;HCIEHEJ>;HM?I;?I
                    9ECFB;J; 799KH7J; KF JE :7J;7D:DEJC?IB;7:?D=?D7DOH;IF;9J "<7DOIK9>?D<EHC7J?ED
                    9>7D=;I ?J?IOEKHE8B?=7J?EDJEKF:7J;IK9>?D<EHC7J?ED7IIEED7IFEII?8B;7D:FHEL?:;
                    IK9>KF:7J;IJEKI 
                 2EKH799;IIJEJ>;,;HL?9;I7D:J>;B?C?JIJ>7J7FFBOJEOEKHKI;E<J>;,;HL?9;IC7O8;
                    7BJ;H;:7I7H;IKBJE<?D<EHC7J?ED9EBB;9J;:78EKJOEKED7DED=E?D=87I?I 
                 "<7DOEHM;IKIF;9JJ>7J7DOE<J>;?D<EHC7J?EDJ>7JOEK>7L;FHEL?:;:JEKI?IDEJ
                    9ECFB;J; 799KH7J; KF JE :7J;EHC?IB;7:?D=?D7DOH;IF;9J EHOEK<7?BJEFHEL?:;KF:7J;I
                    JE7DO?D<EHC7J?EDJ>7JOEK>7L;FHEL?:;:JEKIJE;DIKH;J>7J?J?I9ECFB;J; 799KH7J; KF
                    JE :7J;7D:DEJC?IB;7:?D=?D7DOH;IF;9JED7J?C;BO87I?I M;C7OIKIF;D:OEKH78?B?JOJE
                    KI;J>;,;HL?9;IEH9BEI;OEKH99EKDJ7JEKH:?I9H;J?ED 
                 0;H;I;HL;J>;H?=>JJEC7?DJ7?DOEKH99EKDJH;=?IJH7J?ED?D<EHC7J?ED7<J;HOEK9BEI;OEKH
                    99EKDJ<EH8KI?D;II7D:H;=KB7JEHO9ECFB?7D9;FKHFEI;I IK8@;9JJEFFB?978B;%7MI 




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                 2EKC7O799;IIOEKH99EKDJ7D:J>;,;HL?9;I:?H;9JBOL?7J>;,?J; L?77&E8?B;
                    FFB?97J?EDEH8OIK9>EJ>;HCE:;E<799;II?D9BK:?D=8KJDEJB?C?J;:JEJ>HEK=>J>;)"I
                    7I-1-H7:?D=C7OFH;I9H?8;<HECJ?C;JEJ?C; KI?D=J>;799EKDJD7C;I .I;H"I 
                    F7IIMEH:I 7D:EJ>;HI;9KH?JO<;7JKH;I)@2??212;A6.9@.;1'20B?6AF$.@@D<?1@
                    C7:;7L7?B78B;JEOEK8O-1-H7:?D=<EHJ>;FKHFEI;IE<;D78B?D=OEKJE799;IIOEKH
                    99EKDJ7D:J>;,;HL?9;I 2EK7H;H;IFEDI?8B;<EHC7?DJ7?D?D=J>;9ED<?:;DJ?7B?JO7D:
                    I;9KH?JOE<7DO7D:7BB.I;HH;:;DJ?7BI7D:,;9KH?JO)7IIMEH:I M>?9>?D9BK:;IJ>;
                    ;D78B?D=E<7BBH;B;L7DJI;9KH?JO<;7JKH;I 2EK7H;H;IFEDI?8B;<EHA;;F?D=OEKH;C7?B
                    7::H;IIKFJE:7J;?DOEKH99EKDJFHE<?B; 
                 2EK7H;EDBOF;HC?JJ;:JE799;IIOEKH99EKDJKI?D=OEKHEMD.I;HH;:;DJ?7BI7D:
                    ,;9KH?JO)7IIMEH:I 2EKCKIJ;DIKH;J>7JOEKH99EKDJ?IDEJKI;:8O7DOEJ>;HJ>?H:
                    F7HJO7D:OEKCKIJDEJI>7H;OEKH.I;HH;:;DJ?7BI7D:,;9KH?JO)7IIMEH:IM?J>7DOJ>?H:
                    F7HJO 2EK7H;IEB;BOH;IFEDI?8B;<EH7BB79J?L?JOEDOEKH99EKDJ 
                 2EK7=H;;JEDEJ?<O-1-H7:?D=?CC;:?7J;BO?<OEK8;9EC;7M7H;E<7DO8H;79>E<
                    I;9KH?JO BEII J>;<JEHKD7KJ>EH?I;:KI;E<OEKH.I;HH;:;DJ?7BI7D:,;9KH?JO)7IIMEH:I 
                    EHKD7KJ>EH?I;:KI;E<J>;,;HL?9;IL?7OEKH99EKDJ EH7DOEJ>;H8H;79>E<I;9KH?JO
                    H;=7H:?D=J>;,;HL?9;I -1-H7:?D=M?BBDEJ8;B?78B;<EH7DOBEIIEH:7C7=;7H?I?D=<HEC
                    OEKH<7?BKH;JEFHEJ;9JOEKH99EKDJEHOEKH.I;H?D<EHC7J?ED "J?I?CFEHJ7DJJ>7JOEK
                    H;=KB7HBO9>;9AOEKH99EKDJ87B7D9;7D:OEKHJH7DI79J?ED>?IJEHOJE;DIKH;7DO
                    KD7KJ>EH?I;:JH7DI79J?EDIEH?D9EHH;9JJH7DI79J?EDI7H;?:;DJ?<?;:7D:DEJ?<?;:JEKI7JJ>;
                    ;7HB?;IJFEII?8B;EFFEHJKD?JO 
                 -1-H7:?D=H;I;HL;IJ>;H?=>JJEIKIF;D:OEKH78?B?JOJEKI;J>;,;HL?9;IEH9BEI;OEKH
                    99EKDJ?<M;IKIF;9JJ>7JJ>;F;HIEDBE==;:?DJEOEKH99EKDJ?IDEJOEKEHM;8;9EC;
                    7M7H;E<EHIKIF;9JJ>7JJ>;H;>7I8;;D7DO8H;79>E<I;9KH?JO BEII J>;<JEHKD7KJ>EH?I;:
                    KI;E<OEKH.I;HH;:;DJ?7BI7D:,;9KH?JO)7IIMEH:I 
                 "DEH:;HJE799;IIOEKH99EKDJ7D:J>;,;HL?9;IOEKCKIJ>7L;J>;D;9;II7HO
                    ;GK?FC;DJIK9>7I79ECFKJ;HEHIC7HJF>ED;7D:799;IIJEJ>;"DJ;HD;J 2EK7H;IEB;BO
                    H;IFEDI?8B;<EHOEKHEMD>7H:M7H;KI;:JE799;IIJ>;,;HL?9;I7D:7H;IEB;BOB?78B;<EHJ>;
                    ?DJ;=H?JO7D:FHEF;HIJEH7=;E<7DO:7J77IIE9?7J;:M?J>J>;,;HL?9;IJ>7J?IIJEH;:EDOEKH
                    EMD>7H:M7H; 2EK7H;H;IFEDI?8B;<EHJ7A?D=7FFHEFH?7J;79J?EDJEFHEJ;9JOEKH>7H:M7H;
                    7D::7J7<HECL?HKI;I7D:C7B?9?EKIIE<JM7H; 7D:7DO?D7FFHEFH?7J;C7J;H?7B N9;FJ7I
                    FHEL?:;:8OFFB?978B;%7M OEK7H;IEB;BOH;IFEDI?8B;<EH879A?D=KF7D:C7?DJ7?D?D=
                    :KFB?97J;9EF?;IE<7DO?D<EHC7J?EDOEKIJEH;EHJH7DI<;HJ>HEK=>EKH,;HL?9;I ';?J>;H-1
                    -H7:?D=DEH7DOEJ>;H"D:;CD?<?;:)7HJOI>7BB8;B?78B;JEOEK??DJ>;;L;DJJ>7JOEKH
                    >7H:M7H;<7?BI ?I:7C7=;:EH:;IJHEO;:EH7DOH;9EH:IEH:7J7IJEH;:EDOEKH>7H:M7H;
                    7H;9EHHKFJ;:EHBEIJ<EH7DOH;7IED??<EH7DO:7C7=;EH?DJ;HHKFJ?EDI97KI;:8O7DO
                    9ECFKJ;HL?HKI;I IFOM7H; EHEJ>;HC7BM7H;J>7JC7O7<<;9JOEKH9ECFKJ;HEHEJ>;H
                    ;GK?FC;DJ EH7DOF>?I>?D= IFEE<?D= EHEJ>;H7JJ79AEH???<EHOEKHKI;E<J>;"DJ;HD;JJE
                    9EDD;9JJEJ>;,;HL?9;IEH7DOJ;9>D?97BFHE8B;CI IOIJ;C<7?BKH;I C7B<KD9J?EDI 
                    9ECCKD?97J?EDB?D;<7?BKH;I >?=>?DJ;HD;JJH7<<?9EH:;C7D: H;B7J;:?IIK;I I;9KH?JO
                    8H;79>;IEH7DOI?C?B7HJ;9>D?97BFHE8B;CIEH:;<;9JI;NF;H?;D9;: 

                  #&&##"#"*&(
                 -1-H7:?D=EF;H7J;I(H:;HEEAIEDM>?9>(H:;HIC7O8;FB79;:8O.I;HIJE8;
                    C7J9>;:M?J>J>;(H:;HIE<EJ>;H.I;HI ->;(H:;HJOF;IJ>7J-1-H7:?D=C7OE<<;H<HEC
                    J?C;JEJ?C;?D?JIIEB;:?I9H;J?ED?D9BK:;8KJ7H;DEJB?C?J;:JEQC7HA;JR RB?C?JR IJEF BEII
                    B?C?J IJEF BEIIC7HA;J JH7?B?D=IJEF7D:J7A;FHE<?JB?C?JEH:;HI -1-H7:?D=C7O
                    ?IIK;JH7:?D=HKB;I<HECJ?C;JEJ?C;J>7J7FFBOJE(H:;HIFB79;:EDJ>;(H:;HEEA ?D
                    7::?J?EDJEJ>;I; ;D;H7B-;HCI 
                 ->;EDL;HJ<KD9J?EDEDJ>;)B7J<EHC7BIE7BBEMIOEKJEIK8C?J?DIJHK9J?EDI<;C2?A
                    ;@A?B0A6<;@JE;N9>7D=;8KOEHI;BBED;IFEJII;J<EH7DEJ>;H 79>EDL;HJ
                    JH7DI79J?ED?IIK8@;9JJEJ>;7FFB?978B;N9>7D=;+7J;GKEJ;:<EHJ>;=?L;DJH7DI79J?ED7D:
                    J>;7FFB?978B;J?C;B?CJI<EHIK9>GKEJ; ->;E05.;42&.A2C;7DIJ>;FH?9;E<7=?L;D
                    ?=?J7BII;J7IGKEJ;:EDOEKH07BB;JF7=;EDJ>;,?J;EH7DO&E8?B;FFB?97J?ED ->;




                                                                                                                  
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                                      63




                   N9>7D=;+7J;?IIJ7J;:;?J>;H7I7KO)H?9;EH7I7,;BB)H?9; M>?9>?IJ>;FH?9;7J
                   M>?9>OEKC7O8KOEHI;BBJ>;II;J H;IF;9J?L;BO 
                ->;N9>7D=;+7J;GKEJ;:M?BB:;F;D:EDC7HA;J9ED:?J?EDI 7D:OEK7H;KD:;HDE
                   E8B?=7J?EDJE;N;9KJ;7EDL;HJJH7DI79J?ED7J7DON9>7D=;+7J;GKEJ;:JEOEK 2EK
                   79ADEMB;:=;J>7JJ>;KO)H?9;N9>7D=;+7J;C7ODEJ8;J>;I7C;7IJ>;,;BB)H?9;
                   N9>7D=;+7J;7J7DO=?L;DJ?C; 7D:J>7JJ>;H;C7O8;7SIFH;7:TJEJ>;GKEJ;:
                   N9>7D=;+7J; 2EK7=H;;JE799;FJJ>;N9>7D=;+7J;M>;DOEK7KJ>EH?I;7EDL;HJ
                   JH7DI79J?ED 
                0;:EDEJ=K7H7DJ;;J>;7L7?B78?B?JOE<7DON9>7D=;+7J;7D:M;:EDEJ=K7H7DJ;;J>7J
                   OEKM?BB8;78B;JE8KO7D: EHI;BBOEKHII;JIKI?D=EDL;HJEHEDJ>;(H:;HEEA7J7DO
                   F7HJ?9KB7HFH?9;EHJ?C; 
                2EK7H;IEB;BOH;IFEDI?8B;<EH799KH7J;BO;DJ;H?D=7DO(H:;HEHEDL;HJ"DIJHK9J?ED 
                   ?D9BK:?D=8KJDEJB?C?J;:JE7BBJ>;D;9;II7HO?D<EHC7J?ED?DEH:;HJE;D78B;KIJE97HHOEKJ
                   7DO(H:;HEHEDL;HJ"DIJHK9J?ED -1-H7:?D=?IDEJE8B?=;:JEL;H?<OJ>;799KH79OEH
                   9ECFB;J;D;IIE<7DOIK9>?D<EHC7J?ED (H:;HEHEDL;HJ"DIJHK9J?ED 
                2EK7=H;;J>7J7DO(H:;HEHEDL;HJ"DIJHK9J?EDH;9;?L;:EHKD:;HJ7A;DJ>HEK=>OEKH
                   99EKDJI>7BB8;:;;C;:JE8;<?D7B7D:9ED9BKI?L; 7D:J>7J-1-H7:?D=C7O79JKFED
                   IK9>(H:;HEHEDL;HJ"DIJHK9J?ED 0;I>7BBDEJ8;KD:;H7DOE8B?=7J?EDJEL;H?<OJ>;
                   ?:;DJ?JOEH7KJ>EH?JOE<7DOF;HIED=?L?D=7DO(H:;HEHEDL;HJ"DIJHK9J?EDEHJ>;
                   7KJ>;DJ?9?JOE<IK9>(H:;HEHEDL;HJ"DIJHK9J?ED 
                2EKH(H:;HI7D:EDL;HJ"DIJHK9J?EDII>7BB8;?HH;LE978B;7D:KD9ED:?J?ED7B7D:I>7BB8;
                   8?D:?D=EDOEK 7D:IK9>(H:;HI7D:EDL;HJ"DIJHK9J?EDIC7O8;79J;:EHH;B?;:KFED8O
                   KI?HH;IF;9J?L;E<7DOEJ>;H9?H9KCIJ7D9;I IIK9> ED9;OEK=?L;7DO(H:;HEHEDL;HJ
                   "DIJHK9J?ED OEK>7L;DEH?=>JJEH;I9?D:EHM?J>:H7MIK9>(H:;HEHEDL;HJ"DIJHK9J?ED
                   M?J>EKJEKHMH?JJ;D9EDI;DJ 
                79>E<OEKH(H:;HI7D:EDL;HJ"DIJHK9J?EDII>7BBDEJ8;9EDI?:;H;:JE8;H;9;?L;:8O
                   -1-H7:?D=KDB;II7D:KDJ?B?J>7I8;;DH;9;?L;:8O-1-H7:?D=TII;HL;H -1-H7:?D=I
                   H;9EH:IE<7BB(H:;HI7D:EDL;HJ"DIJHK9J?EDI>7BB8;9ED9BKI?L;7D:8?D:?D=EDOEK<EH7BB
                   FKHFEI;I 
                .D:;HDE9?H9KCIJ7D9;II>7BB7DOE<J>;"D:;CD?<?;:)7HJ?;I8;H;IFEDI?8B;EHB?78B;JEOEK
                   <EH7DO%EII;IIK<<;H;:EH?D9KHH;:8OOEKEH7DOEJ>;HF;HIED7H?I?D=<HEC7DOE<J>;
                   "D:;CD?<?;:)7HJ?;IH;BO?D=EH79J?D=KFED7DO(H:;HEHEDL;HJ"DIJHK9J?EDM>?9>?I=?L;D
                   EHFKHFEHJ;:JE8;=?L;D8OOEK H;=7H:B;IIE<J>;9?H9KCIJ7D9;IFH;L7?B?D=7JJ>;J?C;E<
                   IK9>(H:;HEHEDL;HJ"DIJHK9J?ED 
                2EK>;H;8O7KJ>EH?I;-1-H7:?D=JE9H;:?JEH:;8?JEHFHEL?:;I;JJB;C;DJ?D<EHC7J?EDJE
                   J>?H:F7HJ?;I<EHJ>;FKHFEI;IE<J>;J>?H:F7HJO9H;:?J?D=EH:;8?J?D=OEKHII;JI<HECOEKH
                   99EKDJ?D799EH:7D9;M?J>OEKH(H:;HI7D:EDL;HJ"DIJHK9J?EDI 0;H;I;HL;J>;H?=>JDEJ
                   JE;<<;9J7DOJH7DI79J?ED?<OEK>7L;?DIK<<?9?;DJII;JI?DOEKH99EKDJ 

                 #)"()""

                B;16;42;2?.9
                         "DEH:;HJE<KD:OEKH99EKDJ7D:8;=?DJH7DI79J?D=?D?=?J7BII;JIKI?D=J>;
                             )B7J<EHC OEKCKIJ<?HIJFHE9KH;?=?J7BII;JIEH:;FEI?J?=?J7BII;JIJ>7JOEK
                             7BH;7:OEMD?DJEOEKH99EKDJ7D: EHBE7:<?7J9KHH;D9O?DJEOEKH99EKDJ 
                         2EKI>EKB:8;7M7H;J>7J-1-H7:?D=?C7ODEJIKFFEHJJ>;BE7:?D=?DJE
                             7D: EHIJEH?D=E<<?7J9KHH;D9O?DOEKH99EKDJ?D7BB@KH?I:?9J?EDI7D:??:E;IDEJ
                             IKFFEHJJ>;KI;E<7BB<?7J9KHH;D9?;I F7HJ?7BB?IJE<<?7J9KHH;D9?;IIKFFEHJ;:8O
                             -1-H7:?D=97D8;<EKD:>;H; ->?IB?IJC7O8;7C;D:;:<HECJ?C;JEJ?C;8O
                             -1-H7:?D=7J?JIIEB;:?I9H;J?ED 
                         DO7L7?B78B;II;JI>;B:?DOEKH99EKDJ?I7L7?B78B;JE8;BE9A;:7D:KI;:7I
                             9EBB7J;H7B<EHC7H=?DJH7:?D= EHJE<KD:JH7:;I ?DH;B7J?EDJE7DO,;HL?9;IEHF7HJ
                             J>;H;E<E<<;H;:J>HEK=>J>;)B7J<EHC8O-1-H7:?D=EH?JI<<?B?7J;I 




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                646A.9@@2A@
                        ->;)B7J<EHCIKFFEHJI:;FEI?JI7D:M?J>:H7M7BIE<9;HJ7?D?=?J7BII;JI 
                            ?D9BK:?D=9;HJ7?D. , EBB7H F;==;:IJ78B;9E?DI;79>7)''A./920<6; 
                            2EKC7O:;FEI?J?=?J7BII;JIJ>7JOEK7BH;7:OEMD?DJEOEKH99EKDJ8O
                            =;D;H7J?D=7D7::H;IIM?J>?DOEKH99EKDJ7D:I;D:?D=OEKH?=?J7BII;JIJE
                            IK9>7::H;II 7<J;HM>?9>J>;OI>EKB:7FF;7H?DOEKH99EKDJ87B7D9;.,
                            ,J78B;9E?DIM?BB7FF;7H?DOEKH.,,J78B;9E?DI.,87B7D9; 
                        2EKC7OFKH9>7I;?=?J7BII;JI?D;N9>7D=;<EH9;HJ7?DIKFFEHJ;:<?7J
                            9KHH;D9?;I:;F;D:?D=EDOEKHBE97J?ED8OB?DA?D=7L7B?:F7OC;DJC;J>E:JE
                            OEKH99EKDJ "DIK9>9?H9KCIJ7D9;I OEK7KJ>EH?I;KIJE:;8?JJ>;H;B;L7DJ
                            7CEKDJE<<?7J9KHH;D9OKI?D=OEKHI;B;9J;:F7OC;DJC;J>E:IJE9ECFB;J;OEKH
                            FKH9>7I; 
                        ->;)B7J<EHC;D78B;IOEKJE;N9>7D=;ED;?=?J7BII;J<EH7DEJ>;H?=?J7BII;J 
                            I;D:?=?J7BII;JIJE7D:H;9;?L;?=?J7BII;JI<HECEJ>;H.I;HIE<J>;
                            ,;HL?9;I EHJ>?H:F7HJ?;IEKJI?:;E<J>;)B7J<EHCM>;H;F;HC?JJ;:8O-1-H7:?D=
                            ?D?JIIEB;:?I9H;J?ED 
                        2EKC7OI;BB?=?J7BII;JI?D;N9>7D=;<EH9;HJ7?DIKFFEHJ;:<?7J9KHH;D9?;I
                            :;F;D:?D=EDOEKHBE97J?ED "DIK9>9?H9KCIJ7D9;I OEK7KJ>EH?I;KIJE:;8?J
                            OEKH99EKDJ7D:JEI;D:?DIJHK9J?EDIJE9H;:?JOEKHI;B;9J;:F7OC;DJC;J>E:I
                            ?DI;JJB;C;DJE<I;BBJH7DI79J?EDI 
                        -1-H7:?D=C7A;IDEH;FH;I;DJ7J?EDIEHM7HH7DJ?;IH;=7H:?D=J>;7CEKDJE<
                            J?C; JH7DI79J?ED<;;IEHEJ>;HH;GK?H;C;DJIJ>7JC7O8;H;GK?H;:JE9ECFB;J;J>;
                            JH7DI<;HE<OEKH?=?J7BII;JIJEEH<HEC7J>?H:F7HJOM7BB;JEHEJ>;HIEKH9;7D:
                            <EHI7?:?=?J7BII;JIJE8;9EC;7L7?B78B;?DOEKH99EKDJ 
                        BB?=?J7BII;JI7H;>;B:?DOEKH99EKDJEDJ>;<EBBEM?D=87I?I
                                  -?JB;JEOEKH?=?J7BII;JII>7BB7J7BBJ?C;IH;C7?DM?J>OEK7D:I>7BBDEJ
                                      JH7DI<;HJE-1-H7:?D= IJ>;EMD;HE<?=?J7BII;JI?DOEKH99EKDJ 
                                      OEKI>7BB8;7H7BBH?IAE<BEIIE<IK9>?=?J7BII;JI -1-H7:?D=I>7BB
                                      >7L;DEB?78?B?JO<EH<BK9JK7J?EDI?DJ>;<?7J9KHH;D9OL7BK;E<?=?J7BII;JI
                                      >;B:?DOEKH99EKDJ 
                                  'ED;E<J>;?=?J7BII;JI?DOEKH99EKDJ7H;J>;FHEF;HJOE< EHI>7BBEH
                                      C7O8;BE7D;:JE -1-H7:?D=-1-H7:?D=:E;IDEJH;FH;I;DJEHJH;7J
                                      ?=?J7BII;JI?D.I;HTI99EKDJI7I8;BED=?D=JE-1-H7:?D= 
                                  2EK9EDJHEBJ>;?=?J7BII;JI>;B:?DOEKH99EKDJ J7DOJ?C; IK8@;9J
                                      JEEKJ7=;I :EMDJ?C; 7D:EJ>;H7FFB?978B;FEB?9?;I?D9BK:?D=J>;
                                      -;HCI OEKC7OM?J>:H7MOEKH?=?J7BII;JI8OI;D:?D=J>;CJE7
                                      :?<<;H;DJ8BE9A9>7?D7::H;II9EDJHEBB;:8OOEKEH7J>?H:F7HJO 
                        -1-H7:?D=?IKD:;HDEE8B?=7J?EDJE?IIK;7DOH;FB79;C;DJ?=?J7BII;J?DJ>;
                            ;L;DJJ>7J7DO?=?J7BII;J F7IIMEH:EHFH?L7J;A;O?IBEIJ IJEB;D 
                            C7B<KD9J?ED?D= :;IJHEO;:EHEJ>;HM?I;?D799;II?8B; 
                        "J?IOEKHH;IFEDI?8?B?JOJE;DIKH;J>7JOEKI;D:7BB?=?J7BII;JI JEJ>;9EHH;9J
                            7::H;IIFHEL?:;:<EHJ>7JF7HJ?9KB7H?=?J7BII;J ?D9BK:?D=M?J>H;IF;9JJE7DO
                            ?=?J7BII;JIJ>7JOEKI;D:JEJ>;)B7J<EHC "<OEKI;D:7?=?J7BII;JJE7D
                            7::H;IIJ>7J:E;IDEJ9EHH;IFED:JEJ>7J;N79J?=?J7BII;JIK9>7I7D7::H;II
                            DEJ7IIE9?7J;:M?J>OEKH99EKDJEHJ>;IF;9?<?9?=?J7BII;JI;DJ IK9>?=?J7B
                            II;JC7O8;BEIJ<EH;L;H OI;D:?D=7DO?=?J7BII;JIJEJ>;)B7J<EHC OEK
                            7JJ;IJJ>7JOEKM?BBEDBOI;D:7IKFFEHJ;:?=?J7BII;JJEJ>;)B7J<EHCM7BB;J
                            7::H;IIFHEL?:;:JEOEK EH;N7CFB; ?<OEKI;B;9J7DJ>;H;KC)B7J<EHCM7BB;J
                            7::H;IIJEH;9;?L;<KD:I OEK7JJ;IJJ>7JOEK7H;?D?J?7J?D=7D?D8EKD:JH7DI<;HE<
                            J>;H;KC7BED; 7D:DEJ7DOEJ>;H<EHCIE<?=?J7BII;JI 2EK7=H;;J>7J-1
                            -H7:?D=?D9KHIDEE8B?=7J?EDM>7JIE;L;HM?J>H;=7H:IJEI;D:?D=KDIKFFEHJ;:
                            ?=?J7BII;JIJE7D7::H;IIFHEL?:;:JEOEKEDJ>;)B7J<EHC ,?C?B7HBO ?<OEK




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                                      63




                             I;D:7?=?J7BII;J<HECOEKH99EKDJJE7D;NJ;HD7B7::H;IIJ>7J:E;IDEJ
                             9EHH;IFED:JEJ>7J;N79J?=?J7BII;J IK9>?=?J7BII;JC7O8;BEIJ<EH;L;H 
                         2EK7IIKC;7BBB?78?B?JO<EH7DO%EII;I?D9KHH;:7I7H;IKBJE<I;D:?D=?=?J7B
                             II;JIJE7D?D9EHH;9J7::H;IIIK9>7IJOFEI ;HHEHI 9EFO F7IJ;7JJ79AI EH7D
                             7::H;IIDEJ7IIE9?7J;:M?J>OEKH99EKDJ EH7D7::H;IIDEJ7IIE9?7J;:M?J>J>;
                             IF;9?<?9?=?J7BII;J 2EK7H;IEB;BOB?78B;<EHL;H?<O?D=J>;799KH79OE<7DO
                             ;NJ;HD7BM7BB;J7::H;II 7D:J>;?:;DJ?JOE<J>;H;9?F?;DJ BBEKJ8EKD:JH7DI<;HIE<
                             ?=?J7BII;JI97DDEJ8;H;L;HI;:ED9;J>;O7H;8HE7:97IJJEJ>;KD:;HBO?D=
                             8BE9A9>7?DD;JMEHA -1-H7:?D=:E;IDEJ9EDJHEB7DO8BE9A9>7?DD;JMEHA7D:
                             97DDEJ=K7H7DJ;;J>7J7DOJH7DI<;HM?BB8;9ED<?HC;:EHJH7DI<;HH;:IK99;II<KBBO
                             8OJ>;D;JMEHA -1-H7:?D=?IDEJH;IFEDI?8B;<EH7DOBEII;IEH<EHJ7A?D=7DO
                             79J?EDIJE7JJ;CFJJEH;9EL;H7DOBEIJ IJEB;D C?I:?H;9J;:EH?HH;9EL;H78B;?=?J7B
                             II;JI "<J>;?=?J7BII;JI7H;H;9EL;H78B; M;C7O?DEKHIEB;:?I9H;J?ED
                             7JJ;CFJJEH;9EL;HJ>;C 8KJIK9>H;9EL;HO;<<EHJI7H;?DDEM7O=K7H7DJ;;: 
                             )B;7I;8;7M7H;J>7J?<OEK7JJ;CFJJE:;FEI?J-!JEOEKH99EKDJ8OI;D:?D=?J
                             L?77IC7HJ9EDJH79J OEKH-!C7ODEJ8;7KJEC7J?97BBO9H;:?J;: 7D:C7OJ7A;
                             J?C;JEH;9EL;H 7D:C7ODEJ8;H;9EL;H;:7J7BB 
                         0>;DOEK;B;9JJEJH7DI<;H?=?J7BII;JI<HECOEKH99EKDJJE7J>?H:F7HJOM7BB;J
                             7::H;IIEHEJ>;HBE97J?ED ?J?I7BM7OIFEII?8B;J>7JJ>;F7HJO7:C?D?IJ;H?D=J>;
                             D;MBE97J?EDC7OH;@;9JOEKHJH7DI<;HEHJ>7JJ>;JH7DI<;HC7O<7?B:K;JEJ;9>D?97B
                             EHEJ>;H?IIK;I7<<;9J?D=J>;)B7J<EHC 2EK7=H;;J>7JOEKI>7BBDEJ>EB:-1
                             -H7:?D=B?78B;<EH7DO:7C7=;I7H?I?D=<HEC7H;@;9J;:EH<7?B;:JH7DI<;H 
                        2EK>;H;8OH;FH;I;DJ7D:M7HH7DJJEKIJ>7J7DO?=?J7BII;JIKI;:8OOEK?D
                             9EDD;9J?EDM?J>J>;,;HL?9;I?D9BK:?D=7DO?=?J7BII;JIKI;:JE<KD:OEKH
                             99EKDJ7H;;?J>;HEMD;:8OOEKEHJ>7JOEK7H;L7B?:BO7KJ>EH?I;:JE97HHOEKJ
                             JH7DI79J?EDIKI?D=IK9>?=?J7BII;JI 7D:J>7J7BBJH7DI79J?EDI?D?J?7J;:M?J>OEKH
                             99EKDJ7H;<EHOEKHEMD99EKDJ7D:DEJED8;>7B<E<7DOEJ>;HF;HIED 
                        "J?IOEKHH;IFEDI?8?B?JO;DJ?H;BOJEFHEL?:;KIM?J>9EHH;9J:;J7?BIE<7DOM?J>:H7M7B
                             7::H;II 0;799;FJDEB?78?B?JOH;IKBJ?D=?DOEKEH7DOJ>?H:F7HJODEJH;9;?L?D=
                             ?=?J7BII;JIM?J>:H7MD8OOEK:K;JEOEKFHEL?:?D=?D9EHH;9J ;HHED;EKI 
                             ?D9ECF7J?8B;EHEKJ E< :7J;:;J7?BI 

                6.A0B??2;0F
                         0>;H;IF;9?<?;:EDJ>;,?J;EH?D7,;HL?9;,9>;:KB; 7D::;F;D:?D=EDOEKH
                             BE97J?ED J>;)B7J<EHCC7OIKFFEHJL7H?EKI<?7J9KHH;D9?;I<EH:;FEI?J M?J>:H7M7B 
                             7D: EHJH7:?D= KI?D=M?H;JH7DI<;HI 9H;:?J97H:I EHEJ>;H7FFHEFH?7J;C;J>E:I 
                         (D9;M;H;9;?L;<?7J9KHH;D9OJ>7JOEKBE7:?DJEOEKH99EKDJ M;C7O?IIK;OEK
                             M?J>7D;GK?L7B;DJ7CEKDJE<;B;9JHED?9CED;O!<;2F :;DEC?D7J;:?DJ>;
                             H;B;L7DJ<?7J9KHH;D9O M>?9>H;FH;I;DJIJ>;<?7J9KHH;D9OJ>7JOEK>7L;BE7:;: 
                             ->?I7CEKDJM?BB8;:?IFB7O;:?DOEKH99EKDJ 
                          &('2",'(-% %-'+ -1-+"' ",'(-)(,"-(+2
                             "',-"-.-"(''2(.+ &('2",'(-)(,"-(+"'/,-&'-
                             (.'- 2(.+ &('2(.'-",'(-"',.+2'2).%"
                             (+)+"/-)(,"-"',.+' '2 
                          &ED;O>;B:?DOEKH99EKDJM?BBDEJ;7HD7DO?DJ;H;IJ 2EKH99EKDJC7O>EB:
                              &ED;O:;DEC?D7J;:?D:?<<;H;DJ9KHH;D9?;I7D:M;M?BBI>EMJ>; &ED;O
                             87B7D9;<EH;79>9KHH;D9OJ>7JOEK>EB: 
                         2EKC7OFKH9>7I;?=?J7BII;JI8OKI?D= &ED;O9H;:?J;:JEOEKH99EKDJ
                             :;F;D:?D=EDOEKHBE97J?ED -E97HHOEKJ7?=?J7BII;JFKH9>7I;KI?D=
                             &ED;O OEKCKIJ<EBBEMJ>;H;B;L7DJ?DIJHK9J?EDIEDJ>;,?J; 2EK7KJ>EH?I;KIJE
                             :;8?J &ED;O<HECOEKH99EKDJJE9ECFB;J;OEKHFKH9>7I; BJ>EK=>M;M?BB
                             7JJ;CFJJE:;B?L;H?=?J7BII;JIJEOEK7IFHECFJBO7IFEII?8B;  &ED;OC7O8;
                             :;8?J;:<HECOEKH99EKDJ8;<EH;?=?J7BII;JI7H;:;B?L;H;:JEOEKH99EKDJ 




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                                      63




                         2EKC7OI;BB?=?J7BII;JI?D;N9>7D=;<EH9;HJ7?D<?7J9KHH;D9?;I:;F;D:?D=ED
                             OEKHBE97J?ED -E97HHOEKJ7?=?J7BII;JI7B; OEKCKIJ<EBBEMJ>;H;B;L7DJ
                             ?DIJHK9J?EDIEDJ>;,?J; 2EK7KJ>EH?I;KIJE:;8?J?=?J7BII;JI<HECOEKH
                             99EKDJ7D:I;D:?DIJHK9J?EDIJE9H;:?JOEKH99EKDJM?J>J>;H;B;L7DJ7CEKDJE<
                             <?7J9KHH;D9O (D9;M;H;9;?L;J>;<?7J9KHH;D9O M;M?BB?IIK;OEKM?J>7D
                             ;GK?L7B;DJ7CEKDJE< &ED;O:;DEC?D7J;:?DJ>;H;B;L7DJ<?7J9KHH;D9O 
                         2EKC7OH;:;;C7BBEHF7HJE<7DO &ED;O>;B:?DOEKH99EKDJ7J7DOJ?C;
                             IK8@;9JJEEKJ7=;I :EMDJ?C; 7D:EJ>;H7FFB?978B;FEB?9?;I?D9BK:?D=J>;-;HCI 
                             8OI;B;9J?D=J>;H;B;L7DJEFJ?ED?DJ>;,?J;7D:<EBBEM?D=J>;?DIJHK9J?EDI .DB;II
                             7=H;;:EJ>;HM?I; <KD:IM?BB8;JH7DI<;HH;:JEJ>;87DA799EKDJOEK>7L;
                             H;=?IJ;H;:M?J>KI 2EK>;H;8OH;FH;I;DJ7D:M7HH7DJJ>7JJ>?I87DA799EKDJ?I
                             OEKHEMD 7D:J>7JOEK>7L;<KBB9EDJHEBEL;H?J "J?IOEKHH;IFEDI?8?B?JO;DJ?H;BOJE
                             FHEL?:;KIM?J>9EHH;9J:;J7?BIE<OEKHM?J>:H7M7B799EKDJ 0;799;FJDEB?78?B?JO
                             H;IKBJ?D=?DOEKDEJH;9;?L?D=7DO7CEKDJIM?J>:H7MD8OOEK:K;JEOEKFHEL?:?D=
                             ?D9EHH;9JEHEKJ E< :7J;:;J7?BI 
                         "<J>;-;HCI7H;J;HC?D7J;: M;C7OH;:;;C7DO &ED;OH;C7?D?D=?DOEKH
                             99EKDJ7D:7JJ;CFJJEJH7DI<;HJ>;;GK?L7B;DJ7CEKDJE<<?7J9KHH;D9OJEJ>;87DA
                             799EKDJOEK>7L;H;=?IJ;H;:M?J>KI )H?EHJEH;:;;C?D= &ED;O<HECOEKH
                             99EKDJ M;C7O9ED:K9J9>;9AI<EHJ>;FKHFEI;IE<FH;L;DJ?D=<H7K: CED;O
                             B7KD:;H?D= J;HHEH?IJ<?D7D9?D=7D:EJ>;H<?D7D9?7B9H?C;I 7D:7IH;GK?H;:8O
                             FFB?978B;%7M ->?IC7OC;7DOEK7H;FH;L;DJ;:EH:;B7O;:<HECM?J>:H7M?D=
                              &ED;OKDJ?BJ>EI;9>;9AI7H;9ECFB;J;:JEEKHH;7IED78B;I7J?I<79J?ED?DEH:;H
                             JE9ECFBOM?J>EKHH;=KB7JEHOH;GK?H;C;DJI 

                 )" !#&"#"$&#$&(-
                "<-1-H7:?D=?I>EB:?D=II;JI?DOEKH99EKDJ);09.6:21<?/.;1<;21$?<=2?AF 
                   7D:M;7H;KD78B;JE9EDJ79JOEK7D:>7L;DEH;9EH:E<OEKHKI;E<J>;,;HL?9;I<EH7
                   FHEBED=;:F;H?E:E<J?C;EHOEKH99EKDJ>7I8;;D9BEI;: FFB?978B;%7MIC7OH;GK?H;KI
                   JEH;FEHJIK9>.D9B7?C;:EH87D:ED;:)HEF;HJO7IKD9B7?C;:FHEF;HJOJEJ>;7FFB?978B;
                   @KH?I:?9J?ED "<J>?IE99KHI -1-H7:?D=M?BBJHOJEBE97J;OEKKI?D=J>;:;J7?BII>EMD?DEKH
                   H;9EH:I?DH;B7J?EDJEOEKH99EKDJ 8KJ?<-1-H7:?D=?IKD78B;JEBE97J;OEK M;C7O8;
                   H;GK?H;:JE:;B?L;H7DOIK9>.D9B7?C;:EH87D:ED;:)HEF;HJOJEJ>;7FFB?978B;
                   @KH?I:?9J?ED7IKD9B7?C;:FHEF;HJO -1-H7:?D=H;I;HL;IJ>;H?=>JJE:;:K9J7:EHC7D9O
                   <;;EHEJ>;H7:C?D?IJH7J?L;9>7H=;I<HECIK9>.D9B7?C;:EH87D:ED;:)HEF;HJO 7I
                   F;HC?JJ;:8OFFB?978B;%7MI 
                "<-1-H7:?D=?I>EB:?D=.D9B7?C;:EH87D:ED;:)HEF;HJO 7D:M;7H;KD78B;JE9EDJ79J
                   OEK7D:>7L;DEH;9EH:E<OEKHKI;E<J>;,;HL?9;I<EH7FHEBED=;:F;H?E:E<J?C;EHOEKH
                   99EKDJ>7I8;;D9BEI;: 7D:FFB?978B;%7MI:EDEJH;GK?H;KIJEH;FEHJIK9>.D9B7?C;:
                   EH87D:ED;:)HEF;HJO7IKD9B7?C;:FHEF;HJOJEJ>;7FFB?978B;@KH?I:?9J?ED J>;DOEK
                   79ADEMB;:=;7D:7=H;;J>7JOEKH99EKDJC7O8;JH7DI<;HH;:JE-1-H7:?D= EH7D
                   <<?B?7J;E<-1-H7:?D= 7I-HKIJ;;E<J>;.D9B7?C;:EH87D:ED;:)HEF;HJO -1-H7:?D=
                   EHJ>;<<?B?7J;E<-1-H7:?D=7I7FFB?978B; 7I-HKIJ;; M?BB>EB:J>;.D9B7?C;:EH
                   87D:ED;:)HEF;HJOEDOEKH8;>7B<7D:I>7BB ED:;C7D: H;F7OJEOEKJ>;.D9B7?C;:EH
                   87D:ED;:)HEF;HJOIK8@;9JJEOEKHF7OC;DJE<7DO:EHC7D9O<;;EHEJ>;H7:C?D?IJH7J?L;
                   9>7H=;IJ>7JJ>;-HKIJ;;C7O:;:K9J<HECJ>;.D9B7?C;:EH87D:ED;:)HEF;HJO "<DE
                   IK9>:;C7D:?IC7:;8OOEK J>;-HKIJ;;C7OF7OJ>;.D9B7?C;:EH87D:ED;:)HEF;HJO
                   ?DJE9EKHJ?DJ>;7FFB?978B;@KH?I:?9J?ED?D799EH:7D9;M?J>FFB?978B;%7MI 
                "<M;H;9;?L;B;=7B:E9KC;DJ7J?ED9ED<?HC?D=OEKH:;7J>EHEJ>;H?D<EHC7J?EDB;7:?D=KIJE
                   8;B?;L;OEK>7L;:?;: M;M?BB<H;;P;OEKH99EKDJ7D::KH?D=J>?IJ?C; DEJH7DI79J?EDI
                   C7O8;9ECFB;J;:KDJ?BOEKH:;I?=D7J;:<?:K9?7HO>7IEF;D;:7D;M99EKDJ 7I<KHJ>;H
                   :;I9H?8;:8;BEM 7D:J>;;DJ?H;JOE<OEKH99EKDJ>7I8;;DJH7DI<;HH;:JEIK9>D;M
                   799EKDJ EH??M;>7L;H;9;?L;:FHEE<?D7<EHCI7J?I<79JEHOJEKIJ>7JOEK>7L;DEJ:?;: "<
                   M;>7L;H;7IEDJE8;B?;L;OEKC7O>7L;:?;:8KJM;:EDEJ>7L;FHEE<E<OEKH:;7J>?D7
                   <EHCI7J?I<79JEHOJEKI OEK7KJ>EH?I;KIJEC7A;;DGK?H?;I M>;J>;H:?H;9JBOEHJ>HEK=>
                   J>?H:F7HJ?;I J>7JM;9EDI?:;HD;9;II7HOJE7I9;HJ7?DM>;J>;HOEK>7L;:?;: .FEDH;9;?FJ
                   8OKIE<FHEE<I7J?I<79JEHOJEKIJ>7JOEK>7L;:?;: J>;<?:K9?7HOOEK>7L;:;I?=D7J;:?D7




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                                      63




                   L7B?:M?BBEHI?C?B7HJ;IJ7C;DJ7HO:E9KC;DJM?BB8;H;GK?H;:JEEF;D7D;M99EKDJ "<OEK
                   >7L;DEJ:;I?=D7J;:7<?:K9?7HO J>;DM;H;I;HL;J>;H?=>JJEJH;7J7IOEKH<?:K9?7HO7DO
                   F;HIED;DJ?JB;:JE?D>;H?JOEKH99EKDJ 7I:;J;HC?D;:8OKIKFEDH;9;?FJ7D:H;L?;ME<J>;
                   :E9KC;DJ7J?EDM; ?DEKHIEB;7D:78IEBKJ;:?I9H;J?ED :;;CD;9;II7HOEH7FFHEFH?7J; 
                   ?D9BK:?D=8KJDEJB?C?J;:JE7M?BB 7B?L?D=JHKIJEHEJ>;HI?C?B7H:E9KC;DJ7J?ED EH??
                   H;GK?H;7DEH:;H:;I?=D7J?D=7<?:K9?7HO<HEC79EKHJ>7L?D=9ECF;J;DJ@KH?I:?9J?EDEL;H
                   OEKH;IJ7J; "DJ>;;L;DJM;:;J;HC?D; ?DEKHIEB;7D:78IEBKJ;:?I9H;J?ED J>7JJ>;H;?I
                   KD9;HJ7?DJOH;=7H:?D=J>;L7B?:?JOE<J>;<?:K9?7HO:;I?=D7J?ED M;H;I;HL;J>;H?=>JJE
                   H;GK?H;7DEH:;HH;IEBL?D=IK9>?IIK;<HEC79EKHJE<9ECF;J;DJ@KH?I:?9J?ED8;<EH;J7A?D=
                   7DO79J?EDH;B7J?D=JEOEKH99EKDJ )KHIK7DJJEJ>;78EL; J>;EF;D?D=E<7D;M99EKDJ
                   8O7:;I?=D7J;:<?:K9?7HO?IC7D:7JEHO<EBBEM?D=J>;:;7J>E<7D99EKDJEMD;H 7D:OEK
                   >;H;8O7=H;;J>7JOEKH<?:K9?7HOM?BB8;H;GK?H;:JEEF;D7D;M99EKDJ?DEH:;HJE=7?D
                   799;IIJEJ>;9EDJ;DJIE<OEKH99EKDJ 

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                   I;JEKJ?DJ>;;;,9>;:KB;??J>;JEJ7B:;8?J87B7D9;7D:???IK9>EJ>;H7CEKDJI
                   IF;9?<?;:?DJ>;-;HCI 
                "<OEK<7?BJEF7OIK9>7CEKDJI M;C7OIKIF;D:OEKH78?B?JOJEKI;J>;,;HL?9;IEH9BEI;
                   OEKH99EKDJ 0;7BIEH;I;HL;J>;H?=>JJE:;8?JOEKH99EKDJ799EH:?D=BO7D: EHJE
                   M?J>>EB:7CEKDJI<HEC<?7J9KHH;D9O7D:?=?J7BII;JIJ>7JOEKC7OJH7DI<;HJEOEKH
                   99EKDJ 
                "< 7<J;H7:;C7D:?IC7:;8O-1-H7:?D= OEK>7L;DEJC7:;F7OC;DJE<J>;EKJIJ7D:?D=
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                         OEK7KJ>EH?I;KIJEI;BB7DO?=?J7BII;JIEHH;:;;C7DO<?7J9KHH;D9OEH
                             &ED;O?DOEKH99EKDJJEH;9EL;HJ>;EKJIJ7D:?D=:;8?J87B7D9;
                         OEK7=H;;JE?D:;CD?<OKI7D:;79>EJ>;H"D:;CD?<?;:)7HJO7=7?DIJ7BB%EII;I
                             J>7JM;IK<<;HEH?D9KH7I7H;IKBJE<OEKHDEJF7O?D=J>;EKJIJ7D:?D=:;8?J
                             87B7D9;7D:
                         OEKM?BB8;B?78B;<EH7BB9EIJIM>?9>M;?D9KH?DH;B7J?EDJE?DIJHK9J?D=79EBB;9J?ED
                             7=;D9O B7M<?HCEHEJ>;HJ>?H:F7HJOJE7II?IJM?J>7D:7:L?I;EDJ>;9EBB;9J?EDE<
                             IK9>EKJIJ7D:?D=:;8?J87B7D9;M>;H;7FFB?978B; 

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                   "<OEK=H7DJ;NFH;IIF;HC?II?EDJE7J>?H:F7HJOJE9EDD;9JJEOEKH99EKDJ ;?J>;HJ>HEK=>
                   J>;J>?H:F7HJOIFHE:K9JEHJ>HEK=>J>;)B7J<EHC OEK79ADEMB;:=;J>7J=H7DJ?D=F;HC?II?ED
                   JE7J>?H:F7HJOJEJ7A;IF;9?<?979J?EDIEDOEKH8;>7B<:E;IDEJH;B?;L;OEKE<7DOE<OEKH
                   H;IFEDI?8?B?J?;IKD:;HJ>;-;HCI KHJ>;H OEK79ADEMB;:=;7D:7=H;;J>7JOEKM?BBDEJ>EB:
                   -1-H7:?D=H;IFEDI?8B;<EH 7D:M?BB?D:;CD?<O-1-H7:?D=<HEC 7DOB?78?B?JO7H?I?D=<HEC
                   J>;79J?EDIEH?D79J?EDIE<IK9>J>?H:F7HJO?D9EDD;9J?EDM?J>J>;F;HC?II?EDIOEK=H7DJ 

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               -1-H7:?D=C7O ?D?JIIEB;7D:78IEBKJ;:?I9H;J?ED7D:7J7DOJ?C; M?J>EKJB?78?B?JOJEOEK
                   EH7DOJ>?H:F7HJO
                        H;<KI;JEB;JOEKEF;D7D99EKDJ IKIF;D:OEKH99EKDJ EHJ;HC?D7J;OEKH
                             99EKDJ
                        :;9B?D;JEFHE9;II7DO?DIJHK9J?EDEH(H:;HIK8C?JJ;:8OOEK7D: EH
                        B?C?J IKIF;D:EHJ;HC?D7J;OEKHKI;E<ED;EHCEH; EHF7HJE< J>;,;HL?9;I 
               ,K9>79J?EDIM?BBDEJH;B?;L;OEK<HECOEKHE8B?=7J?EDIFKHIK7DJJEJ>;-;HCI 
               ,K9>79J?EDIC7O8;J7A;D7I7H;IKBJE<7DKC8;HE<<79JEHI ?D9BK:?D=M?J>EKJB?C?J7J?ED




                                                                                                              
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                                      63




                        7I7H;IKBJE<799EKDJ?D79J?L?JO OEKH<7?BKH;JEH;IFED:JE9KIJEC;HIKFFEHJ
                             H;GK;IJI EKH<7?BKH;EH?D78?B?JOJEFEI?J?L;BO?:;DJ?<OOEK
                        7I7H;IKBJE<79EKHJEH:;HEHOEKHL?EB7J?EDE<FFB?978B;%7MIEHJ>;-;HCIEH
                        M>;H;M;8;B?;L;J>7J7JH7DI79J?ED?IIKIF?9?EKIEHC7O?DLEBL;<H7K: CED;O
                             B7KD:;H?D= J;HHEH?IJ<?D7D9?D=EHEJ>;HC?I9ED:K9J 
               "<OEK:EDEJ7=H;;M?J>7DO79J?EDIJ7A;D8OKIKD:;H,;9J?ED  J>;DOEKHIEB;7D:
                   ;N9BKI?L;H;C;:O?IJEJ;HC?D7J;OEKHKI;E<J>;,;HL?9;I7D:9BEI;OEKH99EKDJ 2EK
                   7=H;;J>7JD;?J>;HM;DEH7DOEJ>;H"D:;CD?<?;:)7HJOI>7BB8;B?78B;JEOEKEH7DOJ>?H:
                   F7HJO<EH7DO%EII;IIK<<;H;:7I7H;IKBJE<7DO79J?EDIJ7A;D8OKIKD:;H,;9J?ED  
               0?J>EKJB?C?J7J?EDJEJ>;<EH;=E?D= M;C7OJ;CFEH7H?BOIKIF;D:799;IIJEOEKH99EKDJ?D
                   J>;;L;DJJ>7J7J;9>D?97BFHE8B;C97KI;I7IOIJ;CEKJ7=;EH99EKDJ;HHEHIKDJ?BJ>;
                   FHE8B;C?IH;IEBL;: 
               0>;H;H;GK?H;:8OFFB?978B;%7MI M;M?BBDEJ?<OOEKFHECFJBO?<M;>7L;IKIF;D:;:
                   FHE9;II?D=OEKH(H:;HIEHEDL;HJ"DIJHK9J?EDI7D: ?<FEII?8B; FHEL?:;EKHH;7IEDI<EH
                   :E?D=IE7D:7DOJ>?D=OEK97D:EJE9EHH;9JEHH;C;:OJ>;C7JJ;HI=?L?D=H?I;JEIK9>
                   IKIF;DI?ED 
               2EKC7O9BEI;OEKH99EKDJEHJ;HC?D7J;OEKH799;IIJE7D:KI;E<J>;,;HL?9;I7J7DO
                   J?C;KFEDH;GK;IJJE-1-H7:?D= ?D799EH:7D9;M?J>J>;-;HCI "DEH:;HJE9BEI;OEKH
                   99EKDJEHJ;HC?D7J;OEKH799;IIJE7D:KI;E<J>;,;HL?9;I OEKI>EKB:9EDJ79JKI<EH
                   7II?IJ7D9; 2EKC7ODEJ9BEI;7D99EKDJ?<M;:;J;HC?D; ?DEKHIEB;:?I9H;J?ED J>7JIK9>
                   9BEIKH;?I8;?D=F;H<EHC;:?D7D;<<EHJJE;L7:;7B;=7BEHH;=KB7JEHO?DL;IJ?=7J?EDEHJE
                   7LE?:F7O?D=7DO7CEKDJIEJ>;HM?I;:K;JE-1-H7:?D=EH?JI<<?B?7J;I 
               0;;D9EKH7=;OEKJEM?J>:H7M7DOH;C7?D?D=87B7D9;E<II;JIFH?EHJE?IIK?D=7H;GK;IJ
                   JE9BEI;OEKH99EKDJ 0;H;I;HL;J>;H?=>JJEH;IJH?9JEHH;<KI;JEF;HC?JM?J>:H7M7BI<HEC
                   OEKH99EKDJ?<
                        OEKH99EKDJ>7IEJ>;HM?I;8;;DIKIF;D:;:EH9BEI;:8OKI?D799EH:7D9;M?J>
                             J>;-;HCI
                        JE:EIEMEKB:8;FHE>?8?J;:8OFFB?978B;%7MIEH9EKHJEH:;H EHM;>7L;
                             :;J;HC?D;:J>7JJ>;II;JI?DOEKH99EKDJM;H;E8J7?D;:<H7K:KB;DJBOEH
                        OEK>7L;DEJ9ECFB;J;:J>;H;GK?H;:?:;DJ?JOL;H?<?97J?EDFHE9;:KH; 2EK97D
                             9>;9AM>;J>;HEHDEJOEKH?:;DJ?JO>7I8;;DL;H?<?;:8OH;L?;M?D=OEKHL;H?<?97J?ED
                             IJ7JKIKD:;HJ>;,;JJ?D=II;9J?EDE<OEKH99EKDJ 
               .FED9BEIKH;EHIKIF;DI?EDE<OEKH99EKDJ OEK7KJ>EH?I;-1-H7:?D=JE97D9;BEH
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             'EJM?J>IJ7D:?D=J>7JOEKEH-1-H7:?D=9BEI;IEH:;79J?L7J;IOEKH99EKDJEHJ;HC?D7J;I
                 EHIKIF;D:IOEKH799;IIJE7D:KI;E<7DO,;HL?9;I EHJ>;J;HC?D7J?EDEH;NF?HOE<J>;
                 -;HCI OEKI>7BBH;C7?DB?78B;<EH7BB79J?L?JO9ED:K9J;:M?J>EH?D9EDD;9J?EDM?J>OEKH
                 99EKDJM>?B;?JM7IEF;D 7D:<EH7BB7CEKDJI:K;?D9EDD;9J?EDM?J>IK9>79J?L?JO 

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                   "D9EDD;9J?EDM?J>OEKHKI;E<J>;,;HL?9;I OEK7=H;;J>7JOEKM?BBDEJ
                        L?EB7J;EH7II?IJ7DOF7HJO?DL?EB7J?D=7DOFFB?978B;%7MIEH7DOHKB;E<7DOI;B<
                             H;=KB7JEHOEHI?C?B7HEH=7D?I7J?EDE<M>?9>OEK7H;EH7H;H;GK?H;:JE8;7
                             C;C8;HJ>HEK=>OEKHKI;E<J>;,;HL?9;I
                        FHEL?:;<7BI; ?D799KH7J; ?D9ECFB;J; EKJ E< :7J;EHC?IB;7:?D=?D<EHC7J?ED
                        ?D<H?D=;KFED-1-H7:?D=IEH7DOJ>?H:F7HJOI9EFOH?=>JI F7J;DJI JH7:;C7HAI 
                             EHEJ>;H?DJ;BB;9JK7BFHEF;HJOH?=>JI
                        ;D=7=;?D7DO?BB;=7B79J?L?JO ?D9BK:?D=M?J>EKJB?C?J7J?ED?BB;=7B=7C8B?D= CED;O
                             B7KD:;H?D= <H7K: 8B79AC7?B ;NJEHJ?ED H7DIEC?D=:7J7 J>;<?D7D9?D=E<J;HHEH?IC 
                             EJ>;HL?EB;DJ79J?L?J?;IEH7DOFHE>?8?J;:C7HA;JFH79J?9;I




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                        :?IJH?8KJ;KDIEB?9?J;:EHKD7KJ>EH?I;:7:L;HJ?I?D=EHFHECEJ?ED7BC7J;H?7B MH?JJ;D
                             C;:?7H;B;7I;I FK8B?97DDEKD9;C;DJI7D:FK8B?9:?I9BEIKH;I @KDAC7?B IF7CEH
                             9>7?DB;JJ;HI
                        KI;7M;89H7MB;HEHI?C?B7HJ;9>D?GK;JE799;IIEKH,;HL?9;IEHJE;NJH79J:7J7
                        H;L;HI;;D=?D;;HEH:?I7II;C8B;7DO7IF;9JE<J>;,?J; J>;)" EHJ>;,;HL?9;I
                             ?D7D;<<EHJJE799;II7DOIEKH9;9E:; KD:;HBO?D=?:;7I7D:9ED9;FJI7D:
                             7B=EH?J>CI
                        F;H<EHC7DOKD7KJ>EH?I;:LKBD;H78?B?JO F;D;JH7J?EDEHI?C?B7HJ;IJ?D=EDJ>;)"
                             EH,;HL?9;I
                        J7A;7DO79J?EDJ>7J?CFEI;I7DKDH;7IED78B;EH:?IFHEFEHJ?ED7J;BOB7H=;BE7:ED
                             EKH?D<H7IJHK9JKH; EH:;JH?C;DJ7BBO?DJ;H<;H;M?J> ?DJ;H9;FJ EH;NFHEFH?7J;7DO
                             IOIJ;C :7J7EH?D<EHC7J?ED
                       JH7DIC?JEHKFBE7:7DOC7J;H?7BJEJ>;,?J;J>7J9EDJ7?DIL?HKI;I -HE@7D>EHI;I 
                            MEHCI EH7DOEJ>;H>7HC<KBEH:;B;J;H?EKIFHE=H7CI
                      EJ>;HM?I;7JJ;CFJJE=7?DKD7KJ>EH?I;:799;IIJEEHKI;E<J>;,?J; J>;)" 
                            EJ>;H-199EKDJI 9ECFKJ;HIOIJ;CI EHD;JMEHAI9EDD;9J;:JEJ>;,?J; 
                            J>HEK=>F7IIMEH:C?D?D=EH7DOEJ>;HC;7DI
                      JH7DI<;H7DOH?=>JI=H7DJ;:JEOEKKD:;HJ>;-;HCI
                      ;D=7=;?D7DO79J?L?JOM>?9> ?DEKHH;7IED78B;EF?D?ED 7CEKDJIJEEHC7O
                            7CEKDJJEC7HA;J78KI;?D9BK:?D=M?J>EKJB?C?J7J?EDJ>;97HHO?D=EKJE<<?9J?J?EKI
                            JH7DI79J?EDIEHM7I>JH7:;I <HEDJHKDD?D=EH;D=7=?D=?D:?IEH:;HBOC7HA;J
                            9ED:K9J
                      ;D=7=;?D7DO8;>7L?EKHM>?9>?IKDB7M<KB L?EB7J;IJ>;-;HCI EH?IEJ>;HM?I;
                            :;;C;:KD799;FJ78B;8O-1-H7:?D=?D?JIIEB;:?I9H;J?EDEH
                      7II?IJ <79?B?J7J;EH;D9EKH7=;7DOJ>?H:F7HJO?DKD:;HJ7A?D=7DO79J?L?JOEJ>;HM?I;
                            FHE>?8?J;:8OJ>;-;HCI 

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               -1-H7:?D=C7O ?D?JIIEB;:?I9H;J?ED 9>EEI;JE:?I9EDJ?DK;IKFFEHJ<EH79KHH;DJBOB?IJ;:
                   EHIKFFEHJ;:?=?J7BII;J7J7DOJ?C; ?D9BK:?D=M?J>EKJB?C?J7J?EDM>;H;J>;H;7H;9>7D=;I
                   ?DJ>;9>7H79J;H?IJ?9IE<IK9>?=?J7BII;J 
               JH7DI79J?EDEDJ>;)B7J<EHCC7O<7?B<EHI;L;H7BH;7IEDI?D9BK:?D= M?J>EKJB?C?J7J?ED 7I7
                   H;IKBJE<79>7D=;?DFH?9;I ?DIK<<?9?;DJC7H=?D EHKD7DJ?9?F7J;:J;9>D?97B:?<<?9KBJ?;I -1
                   -H7:?D=C7A;IDEH;FH;I;DJ7J?EDEHM7HH7DJOJ>7J7DOJH7DI79J?EDM?BB8;;N;9KJ;:
                   FHEF;HBO .D:;HDE9?H9KCIJ7D9;I7H;M;B?78B;<EH7DOBEIIEH?D@KHOIK<<;H;:8O7<7?BKH;E<
                   7JH7DI79J?EDJE9ECFB;J;FHEF;HBOEH?D7J?C;BOC7DD;H KHJ>;H M;7H;?DDEM7O
                   H;IFEDI?8B;<EHDEJ?<O?D=OEKE<7JH7DI79J?ED<7?BKH; 7BJ>EK=>OEK7H;78B;JEI;;7DOIK9>
                   <7?BKH;IL?7OEKH99EKDJ 2EK>7L;<KBBH;IFEDI?8?B?JO<EH:;J;HC?D?D=7D:?DGK?H?D=?DJEJ>;
                   <7?BKH;E<7DOJH7DI79J?EDM>?9>OEK?D?J?7J; 
               "DJ>;;L;DJJ>7JOEKH;9;?L;7DO:7J7 ?D<EHC7J?ED EHIE<JM7H;J>HEK=>EKH,;HL?9;IEJ>;H
                   J>7DJ>7JM>?9>OEK7H;;DJ?JB;:JEH;9;?L;FKHIK7DJJEJ>;-;HCI OEKM?BB?CC;:?7J;BO
                   DEJ?<OKI7D:M?BBDEJKI; ?D7DOM7OM>7JIE;L;H IK9>:7J7 ?D<EHC7J?EDEHIE<JM7H; "<OEK
                   H;GK;IJ7M?J>:H7M7BE<?=?J7BII;JI7D:M;97DDEJ9ECFBOM?J>?JM?J>EKJ9BEI?D=IEC;
                   F7HJE<OEKHEF;DFEI?J?EDI M;M?BBDEJ9ECFBOM?J>J>;H;GK;IJKDJ?BOEK>7L;9BEI;:
                   IK<<?9?;DJFEI?J?EDIJE7BBEMOEKJEC7A;J>;M?J>:H7M7B 
               0;C7OH;<KI;JE;N;9KJ;7JH7:;EH?CFEI;JH7:;7CEKDJB?C?JIEHH;IJH?9J?EDI7J7DOJ?C; 
                   ?DEKHIEB;:?I9H;J?EDM?J>EKJDEJ?9; ,F;9?<?97BBO M;H;I;HL;J>;H?=>JJEH;<KI;JEFHE9;II 
                   7D:J>;H?=>JJE97D9;BEHH;L;HI; 7DOJH7DI79J?ED 7IM;BB7IJEH;LEA;799;IIJE7.I;HI
                   :;FEI?J7::H;IIEDJ>;)B7J<EHC M>;H;M;IKIF;9JJ>;JH7DI79J?ED?DLEBL;ICED;O
                   B7KD:;H?D= J;HHEH?IJ<?D7D9?D= <H7K: EH7DOEJ>;HJOF;E<9H?C;EH?<M;IKIF;9JJ>;
                   JH7DI79J?EDH;B7J;IJE7FHE>?8?J;:KI;7IIJ7J;:?DJ>;-;HCI -1-H7:?D=H;I;HL;IJ>;




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                   H?=>JJE>7BJ:;FEI?J79J?L?JO7JEKHIEB;:?I9H;J?ED .I;HC7ODEJ9>7D=; M?J>:H7M EH
                   97D9;B?JI7KJ>EH?I7J?EDJEC7A;7JH7DI79J?ED ;N9;FJM?J>H;IF;9JJEF7HJ?7BBO<?BB;:(H:;HI 
               -1-H7:?D=C7O9EHH;9J H;L;HI; EH97D9;B7DOJH7:;?CF79J;:8O7D;HHEH?DFHE9;II?D=
                   7.I;HIJH7DI79J?EDEHEJ>;HM?I; ->;.I;HIH;C;:O?DJ>;;L;DJE<7D;HHEHM?BB8;B?C?J;:
                   JEI;;A?D=JE97D9;B7D(H:;HEHEDL;HJ"DIJHK9J?EDEHE8J7?D?D=7H;<KD:E<7DO7CEKDJI
                   9>7H=;:JEJ>;.I;H -1-H7:?D=97DDEJ=K7H7DJ;;IK9>97D9;BB7J?EDIEHH;<KD:IM?BB
                   7BM7OI8;FEII?8B; 
               (H:;HIFB79;:EDJ>;(H:;HEEAC7O8;F7HJ?7BBO<?BB;:EHC7O8;<?BB;:8OED;EHCEH;
                   (H:;HIFB79;:EDJ>;(H:;HEEA8OEJ>;H.I;HI :;F;D:?D=EDJ>;JH7:?D=79J?L?JOEDJ>;
                   (H:;HEEA7JJ>;J?C;7D(H:;H?IFB79;: 
               ->;?=?J7BII;JI7L7?B78B;<EHFKH9>7I;J>HEK=>J>;)B7J<EHCC7O8;IK8@;9JJE>?=>EH
                   BEMJH7DI79J?EDLEBKC; B?GK?:?JO 7D:LEB7J?B?JO7J7DOJ?C;<EHFEJ;DJ?7BBO;NJ;D:;:F;H?E:I 
                   2EK79ADEMB;:=;J>7JM>?B;-1-H7:?D=KI;I9ECC;H9?7BBOH;7IED78B;C;J>E:IJE
                   FHEL?:;N9>7D=;+7J;?D<EHC7J?EDJEOEKJ>HEK=>J>;)B7J<EHC J>;N9>7D=;+7J;
                   ?D<EHC7J?EDM;FHEL?:;C7O:?<<;H<HECFH;L7?B?D=;N9>7D=;H7J;IC7:;7L7?B78B;8OJ>?H:
                   F7HJ?;I ,?C?B7HBO J>;79JK7BC7HA;JH7J;7JJ>;J?C;E<OEKHJH7:;C7O8;:?<<;H;DJ<HECJ>;
                   ?D:?97J;:N9>7D=;+7J; 2EK7=H;;J>7JOEK7IIKC;7BBH?IAI7D:FEJ;DJ?7BBEII;I
                   7IIE9?7J;:M?J>FH?9;<BK9JK7J?EDIEH:?<<;H;D9;I?D7DO79JK7BL;HIKI?D:?97J;:N9>7D=;
                   +7J;I 

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               0>;DOEK>EB:?=?J7BII;JIEDJ>;)B7J<EHCOEKC7O8;=?L;DJ>;EFJ?EDJEIJ7A;J>;I;
                   7II;JIL?7IJ7A?D=I;HL?9;IFHEL?:;:8O-1-H7:?D=EH?JI<<?B?7J;I 2EK7H;DEJH;GK?H;:
                   JEIJ7A;7DO?=?J7BII;JI7D:OEK97DEFJEKJE<7DOIJ7A?D=I;HL?9;IIK8@;9JJE
                   7FFB?978B;;7HBOM?J>:H7M7BB?C?JIEHF;D7BJ?;I7IIF;9?<?;:EDJ>;IJ7A?D=F7=;<EHIK9>
                   ?=?J7BII;J "<OEKIJ7A;OEKH?=?J7BII;JI -1-H7:?D=EH?JI<<?B?7J;M?BB<79?B?J7J;J>;
                   IJ7A?D=E<IK9>?=?J7BII;JIEDOEKH8;>7B< 2EK7=H;;7D:79ADEMB;:=;J>7JOEK>7L;
                   DEH?=>JJE7DOIJ7A?D=H;M7H:IM>7JIE;L;H -1-+"' (,'(- .+'-
                   -!-2(.0"%%+"/'2,-$"' +0+,(/+-"& "'%."' -!
                   ",)%2,-$"' +0+,+-, 
               ->;J7NJH;7JC;DJE<IJ7A?D=?=?J7BII;JI?IKD9;HJ7?D 7D:?J?IOEKHH;IFEDI?8?B?JOJE
                   :;J;HC?D;M>7JJ7N;I ?<7DO 7H?I;<HECJ>;JH7DI79J?EDI 2EK7H;IEB;BOH;IFEDI?8B;<EH
                   H;FEHJ?D=7D:F7O?D=7DO7FFB?978B;J7N;I7H?I?D=<HECIJ7A?D=I;HL?9;I7D:7BBH;B7J;:
                   JH7DI79J?EDI 7D:79ADEMB;:=;J>7J-1-H7:?D=:E;IDEJFHEL?:;?DL;IJC;DJ B;=7B EHJ7N
                   7:L?9;JEOEK?D9EDD;9J?EDM?J>IK9>;B;9J?EDJEF7HJ?9?F7J; 2EKI>EKB:9ED:K9JOEKHEMD
                   :K;:?B?=;D9;7D:9EDIKBJOEKH7:L?IEHI8;<EH;C7A?D=7DO?DL;IJC;DJ:;9?I?ED?D9BK:?D=
                   M>;J>;HJEF7HJ?9?F7J;?DIJ7A?D=7D:H;B7J;:JH7DI79J?EDI 

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               ->?I,;9J?ED7FFB?;IEDBOJEJ>;;NJ;DJOEK7H;F;HC?JJ;:JE;D=7=;?DC7H=?DJH7:?D=ED
                   J>;)B7J<EHC &7H=?DJH7:?D=?IFHE>?8?J;:?D9;HJ7?D@KH?I:?9J?EDI 7D:OEKC7ODEJ8;78B;
                   JE;D=7=;?DC7H=?DJH7:?D=EDJ>;)B7J<EHC 0;H;I;HL;J>;H?=>JJE7C;D:7D: EHH;CEL;
                   C7H=?DJH7:?D=<KD9J?ED7B?JO7J7DOJ?C; 
               &7H=?DJH7:?D=?I!" !+",$ I78EHHEM;H OEKC7OIKIJ7?D7JEJ7BBEIIE<II;JIEHEM;
                   II;JI8;OED:M>7JOEK>7L;:;FEI?J;:JEOEKH99EKDJ ->;>?=>LEB7J?B?JO7D:
                   IK8IJ7DJ?7BH?IAE<?BB?GK?:?JO?DC7HA;JIC;7DIJ>7JOEKC7ODEJ7BM7OI8;78B;JEB?GK?:7J;
                   OEKHFEI?J?ED 2EK7=H;;JEC7?DJ7?D7IK<<?9?;DJ7CEKDJE<II;JI7J7BBJ?C;IJEC;;JEKH
                   C7H=?DH;GK?H;C;DJI 7IIK9>H;GK?H;C;DJIC7O8;CE:?<?;:<HECJ?C;JEJ?C; "<J>;L7BK;
                   E<J>;II;JI?DOEKH99EKDJ<7BBI8;BEMJ>;C7H=?DC7?DJ;D7D9;H;GK?H;C;DJEHM;
                   :;J;HC?D; ?DEKHIEB;:?I9H;J?ED J>7JOEKH99EKDJ7FF;7HIJE8;?D:7D=;HE<:;<7KBJ?D=
                   ED7BE7D M;C7OI;?P;7D: EHB?GK?:7J;7DOEH7BBE<OEKHFEI?J?EDI7D:II;JIED7DO
                   87B7D9;?DOEKH99EKDJ?DEH:;HJEH;:K9;OEKHB;L;H7=;EHI;JJB;OEKH:;8JJEEJ>;H.I;HI 
                   ?DM>?9>97I; OEKC7OIKIJ7?D7JEJ7BBEIIE<7BBII;JI?DOEKH99EKDJ (KHB?GK?:7J?ED
                   C;9>7D?IC?I:;I9H?8;:7J>JJFI >;BF <JN 9EC >9 ;D KI 7HJ?9B;I  
                   %?GK?:7J?EDI "< 7<J;HOEKHFEI?J?EDI7D:II;JI7H;B?GK?:7J;: OEKH99EKDJIJ?BB9EDJ7?DI




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                   ?DIK<<?9?;DJII;JIJEI;JJB;OEKH:;8JIJEEJ>;H.I;HI OEKM?BB8;H;IFEDI?8B;<EH7DO
                   7::?J?ED7BII;JIEM;: "DJ;DJ?ED7BBO:;<7KBJ?D=ED7BE7DC7OH;IKBJ?DEKHH;FEHJ?D=OEKH
                   79J?L?J?;IJE7KJ>EH?J?;I7D: EH?DB;=7BFHEI;9KJ?ED 
               0>;DOEKB;D:II;JIJEEJ>;H.I;HI OEKH?IAJ>;BEIIE<7DKDF7?:FH?D9?F7B?<J>;
                   8EHHEM;H:;<7KBJIED7BE7D7D:B?GK?:7J?EDE<J>;8EHHEM;HTI99EKDJ<7?BIJEH7?I;IK<<?9?;DJ
                   II;JIJE9EL;HJ>;8EHHEM;HTI:;8J BJ>EK=>M;J7A;FH;97KJ?EDIJEFH;L;DJ8EHHEM?D=
                   .I;HI<HEC:;<7KBJ?D=EDBE7DI J>;>?=>LEB7J?B?JO7D:IK8IJ7DJ?7BH?IAE<?BB?GK?:?JO?D
                   C7HA;JIC;7DIJ>7JM;97DDEJC7A;7DO=K7H7DJ;;IJE7DO.I;HIKI?D=J>;,;HL?9;I
                   7=7?DIJ:;<7KBJ 
               .D:;H9;HJ7?DC7HA;J9ED:?J?EDI ?JC7O8;9EC;:?<<?9KBJEH?CFEII?8B;JEB?GK?:7J;7
                   FEI?J?ED ->?I97DE99KH <EH;N7CFB; ?<J>;H;?I?DIK<<?9?;DJB?GK?:?JO?DJ>;C7HA;JEH:K;JE
                   J;9>D?97B?IIK;IEDJ>;)B7J<EHC )B79?D=9EDJ?D=;DJ(H:;HI IK9>7IIJEF BEIIEHIJEF
                   B?C?J(H:;HI M?BBDEJD;9;II7H?BOB?C?JOEKHBEII;IJEJ>;?DJ;D:;:7CEKDJI I?D9;C7HA;J
                   9ED:?J?EDIC7OC7A;?J?CFEII?8B;JE;N;9KJ;IK9>(H:;HI "DIK9>7D;L;DJ EKH879AIJEF
                   B?GK?:?JOFHEL?:;HFHE=H7CC7O9EC;?DJEFB7O 8KJJ>;H;?IDE7IIKH7D9;EH=K7H7DJ;;J>7J
                   7DOIK9>FHE=H7C79J?L?J?;IM?BB8;IK<<?9?;DJEH;<<;9J?L;?DB?GK?:7J?D=OEKHFEI?J?ED I7
                   H;IKBJ OEKC7OBEI;7BBE<OEKHII;JIEH?D9KH7D;=7J?L;87B7D9;?DOEKH99EKDJ "D
                   7::?J?ED ;L;D?<OEK>7L;DEJIK<<;H;:7DOB?GK?:7J?EDIEHBEII;I OEKH99EKDJ87B7D9;
                   C7O8;IK8@;9JJE9B7M879A:K;JEBEII;IIK<<;H;:8OEJ>;H.I;HI 
               ->;KI;E<B;L;H7=;97DMEHA7=7?DIJOEK7IM;BB7I<EHOEK7D:97DB;7:JEB7H=;BEII;I
                   7IM;BB7I=7?DI .I;HI9ED:K9J7BBJH7:?D= C7H=?DJH7:?D= B;D:?D= 7D: EH8EHHEM?D=ED
                   J>;?HEMD799EKDJ7D:M;:EDEJJ7A;7DOH;IFEDI?8?B?JO<EH7DOBEIIEH:7C7=;?D9KHH;:7I
                   7H;IKBJE<OEKHKI;E<7DO,;HL?9;IEHOEKH<7?BKH;JEKD:;HIJ7D:J>;H?IAI7IIE9?7J;:M?J>
                   C7H=?DJH7:?D=EDJ>;)B7J<EHC 

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               I7H;IKBJE<J>;:;9;DJH7B?I;:7D:EF;DIEKH9;D7JKH;E<?=?J7BII;JI?J?IFEII?8B;J>7J
                   IK::;D KD;NF;9J;: 9EDJHEL;HI?7BEHEJ>;H9>7D=;I<?8@97D8;C7:;JE7DO?=?J7B
                   II;JJ>7JC7O9>7D=;J>;KI78?B?JO <KD9J?EDI 9ECF7J?8?B?JO L7BK;EH;L;DD7C;E<7=?L;D
                   ?=?J7BII;J ,K9>EHAIC7OH;IKBJ?DCKBJ?FB;L;HI?EDIE<7?=?J7BII;J7D:9EKB:B;7:
                   JEJ>;:EC?D7D9;E<ED;EHCEH;IK9>L;HI?EDIE<7?=?J7BII;J;79>7<:6;.;A
                   646A.9@@2A7D:J>;F7HJ?7BEHJEJ7B787D:EDC;DJEHBEIIE<L7BK;E<7DOEJ>;HL;HI?EDI
                   E<IK9>?=?J7BII;J;79>7"<;<:6;.;A646A.9@@2A 
               -1-H7:?D=?IKD:;HDEE8B?=7J?EDJEIKFFEHJ7EHAE<7?=?J7BII;JJ>7JOEK>EB:?DOEKH
                   99EKDJ M>;J>;HEHDEJ7DOH;IKBJ?D=L;HI?EDE<IK9><EHA;:?=?J7BII;J?I7EC?D7DJ
                   ?=?J7BII;JEH'ED EC?D7DJ?=?J7BII;JEH>EB:IL7BK;7JEH<EBBEM?D=IK9>EHA EHAI
                   E<?=?J7BII;JI97D8;<H;GK;DJ 9EDJ;DJ?EKI7D:KDFH;:?9J78B; 7D:J>;H;<EH;97DDEJ8;
                   9EDI?IJ;DJBOIKFFEHJ;:EDJ>;)B7J<EHC 0>;DJH7:?D=EH>EB:?D=?=?J7BII;JIKI?D=OEKH
                   99EKDJ OEKI>EKB:EF;H7J;KD:;HJ>;7IIKCFJ?EDJ>7JJ>;)B7J<EHCM?BBD;L;HIKFFEHJ7DO
                   EHAE<IK9>?=?J7BII;J 
               "<-1-H7:?D=;B;9JI ?D?JIIEB;:?I9H;J?ED JEIKFFEHJ7EHAE<7?=?J7BII;J ?JC7O
                   9>EEI;JE:EIE8OC7A?D=7FK8B?97DDEKD9;C;DJJ>HEK=>?JI,?J;EHEJ>;HM?I;DEJ?<O?D=
                   9KIJEC;HI7D:I>7BB8;7HDEB?78?B?JO<EH7DOH;7BEHFEJ;DJ?7BBEII;IJ>7JC7OH;IKBJ87I;:
                   EDJ>;:;9?I?EDJEIKFFEHJIK9>EHAEHJ>;J?C?D=E<?CFB;C;DJ7J?EDE<IKFFEHJ "<-1
                   -H7:?D= ?D?JIIEB;:?I9H;J?ED :E;IDEJ;B;9JJEIKFFEHJ7EHAE<7=?L;D?=?J7BII;J 
                   ?D9BK:?D=J>;:;J;HC?D7J?EDJEIKFFEHJ 9EDJ?DK;JEIKFFEHJ EH9;7I;JEIKFFEHJ7DO
                   EC?D7DJ?=?J7BII;JEH'ED EC?D7DJ?=?J7BII;J -1-H7:?D=7IIKC;IDE
                   H;IFEDI?8?B?JOEHB?78?B?JOM>7JIE;L;H<EH7DOBEII;IEHEJ>;H?IIK;IJ>7JC?=>J7H?I;<HEC7D
                   KDIKFFEHJ;:EHAE<7?=?J7BII;J 
               ->;)B7J<EHC:E;IDEJ=;D;H7BBOE<<;HIKFFEHJ<EHJ>;:?IJH?8KJ?EDE<?=?J7BII;JI87I;:ED
                   7JH?==;H?D=<79JEH;L;DJ IK9>7IJ>;FEII;II?EDE<7DEJ>;H?=?J7BII;J;79>7D
                   6?1?<= J>;FHEL?I?EDE<H;M7H:IEHEJ>;HI?C?B7HF7OC;DJ<EHF7HJ?9?F7J?ED?D7?=?J7B
                   II;JIFHEJE9EB'A.86;4&2D.?1@ EH7DOEJ>;H:?IJH?8KJ?EDIEH:?L?:;D:IJ>7J.I;HI
                   C?=>JEJ>;HM?I;8;;DJ?JB;:JE9B7?C87I;:EDJ>;?HKI;EHFEII;II?EDE<7?=?J7BII;J
                   EKJI?:;E<J>;)B7J<EHC9EBB;9J?L;BO 646A.9@@2A6@A?6/BA6<;@ -1-H7:?D=C7O ?D




                                                                                                             
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                                      63




                   ?JIIEB;:?I9H;J?ED ;B;9JJEIKFFEHJ7DO?=?J7BII;J?IJH?8KJ?ED 8KJ?IKD:;HDEE8B?=7J?ED
                   JE:EIE7D:I>7BB8;7HDEB?78?B?JOJE.I;HI<EH<7?B?D=JE:EIE EH<EH?D?J?7J?D=7D:
                   IK8I;GK;DJBOJ;HC?D7J?D=IK9>IKFFEHJ 
               "DJ>;;L;DJE<7EHAE<7?=?J7BII;J M;C7O8;<EH9;:JEIKIF;D:7BB79J?L?J?;IH;B7J?D=
                   JEIK9>?=?J7BII;J?D9BK:?D=JH7:;I :;FEI?JI 7D:M?J>:H7M7BIEDJ>;)B7J<EHC<EH7D
                   ;NJ;D:;:F;H?E:E<J?C; KDJ?B-1-H7:?D=>7I:;J;HC?D;:?D?JIIEB;:?I9H;J?EDJ>7JIK9>
                   <KD9J?ED7B?JO97D8;H;IJEH;:<D;A6:2 ->?IEMDJ?C;C7OE99KH7JJ>;J?C;J>7J7
                   EHAE<7=?L;D?=?J7BII;JE99KHI FEJ;DJ?7BBOM?J>B?JJB;JEDEM7HD?D= KH?D=IK9>
                   EMDJ?C; OEKKD:;HIJ7D:J>7JOEKC7ODEJ8;78B;JEJH7:; :;FEI?J EHM?J>:H7MJ>;
                   ?=?J7BII;JIK8@;9JJEIK9>EHA -1-H7:?D=:E;IDEJ8;7H7DOB?78?B?JO<EHBEII;I
                   ?D9KHH;::KH?D=7DOEMDJ?C;:K;JEJ>;?D78?B?JOJEJH7:;EHEJ>;HM?I;JH7DI<;H?=?J7B
                   II;JI 

                (('#" #""(+#&'
               -1-H7:?D=97DDEJFH;L;DJEHC?J?=7J;7JJ79AIED8BE9A9>7?DD;JMEHAI7D:>7IDE
                   E8B?=7J?EDJE;D=7=;?D79J?L?JO?DH;B7J?EDJEIK9>7JJ79AI "DJ>;;L;DJE<7D7JJ79A -1
                   -H7:?D=H;I;HL;IJ>;H?=>JJEJ7A;EHJEDEJJ7A;79J?EDI ?D9BK:?D= 8KJDEJB?C?J;:JE 
                   ?CC;:?7J;BO>7BJ?D=JH7:?D= :;FEI?JI7D:M?J>:H7M7BI<EH7?=?J7BII;J?<M;8;B?;L;J>7J
                   J>;?=?J7BII;JID;JMEHA?I9ECFHEC?I;:EHKD:;H7JJ79A "<IK9>7D7JJ79A97KI;:J>;
                   ?=?J7BII;JJE=H;7JBO:;9H;7I;?DL7BK; M;C7O:?I9EDJ?DK;JH7:?D=?DIK9>?=?J7BII;J
                   ;DJ?H;BO 
               +;IEBKJ?EDI9ED9;HD?D=:;FEI?JI M?J>:H7M7BI7D:.I;H87B7D9;I<EH7?=?J7BII;JJ>7J
                   >7I>7:?JID;JMEHA7JJ79A;:M?BB8;:;J;HC?D;:ED797I; 8O 97I;87I?I8O-1-H7:?D=?D
                   ?JIIEB;:?I9H;J?ED -1-H7:?D=C7A;IDEH;FH;I;DJ7J?ED7D::E;IDEJM7HH7DJJ>;I7<;JO
                   E<J>;,;HL?9;I7D:OEK7IIKC;7BBB?78?B?JO<EH7DOBEIJL7BK;EHIJEB;DFHEF;HJO 

                '((&$&(-#"("(
               -1-H7:?D=IJH?L;IJEFHEL?:;799KH7J;7D:H;B?78B;?D<EHC7J?ED7D:9EDJ;DJEDJ>;,?J; 
                   8KJIK9>?D<EHC7J?EDC7ODEJ7BM7OI8;9EHH;9J 9ECFB;J; EHKFJE:7J; 2EKI>EKB:
                   7BM7OI97HHOEKJOEKHEMD?D:;F;D:;DJ7FFH7?I7B7D:?DL;IJ?=7J?EDI?DH;B7J?EDJEIK9>
                   ?D<EHC7J?ED7D:DEJH;BOED?J?D7DOM7O 
               ->;,?J;C7O7BIE9EDJ7?DB?DAIJEJ>?H:F7HJOM;8I?J;I 7FFB?97J?EDI ;L;DJIEHEJ>;H
                   C7J;H?7BI(56?1$.?AF<;A2;A ,K9>?D<EHC7J?ED?IFHEL?:;:<EHOEKH9EDL;D?;D9;7D:
                   B?DAIEHH;<;H;D9;IJE->?H:)7HJOEDJ;DJ:EDEJ9EDIJ?JKJ;7D;D:EHI;C;DJ8O-1
                   -H7:?D=E<7DOFHE:K9JIEHI;HL?9;I -1-H7:?D=C7A;IDEH;FH;I;DJ7J?ED7IJEJ>;
                   GK7B?JO IK?J78?B?JO <KD9J?ED7B?JOEHB;=7B?JOE<->?H:)7HJOEDJ;DJ EHJE7DO=EE:I7D:
                   I;HL?9;I7L7?B78B;<HECJ>?H:F7HJOM;8I?J;I 7D:-1-H7:?D=I>7BB>7L;DEB?78?B?JO<EH7DO
                   BEII;I?D9KHH;:7I7H;IKBJE<79J?EDIJ7A;D?DH;B?7D9;EDJ>;?D<EHC7J?ED9EDJ7?D;:EDJ>;
                   ,?J;EH?D7DO->?H:)7HJOEDJ;DJ 
               0;>7L;DE9EDJHEBEL;H EHB?78?B?JO<EH J>;:;B?L;HO GK7B?JO I7<;JO B;=7B?JOEH7DOEJ>;H
                   7IF;9JE<7DO=EE:IEHI;HL?9;IJ>7JOEKC7OFKH9>7I;<HEC7J>?H:F7HJO?D9BK:?D=EJ>;H
                   .I;HIE<J>;)B7J<EHC 0;7H;DEJH;IFEDI?8B;<EH;DIKH?D=J>7J7J>?H:F7HJO8KO;HEHI;BB;H
                   OEKJH7DI79JM?J>M?BB9ECFB;J;J>;JH7DI79J?EDEH?I7KJ>EH?I;:JE:EIE "<OEK;NF;H?;D9;7
                   FHE8B;CM?J>7DO=EE:IEHI;HL?9;IFKH9>7I;:<HEC EHIEB:JE 7J>?H:F7HJOFKH9>7I;:
                   KI?D=?=?J7BII;JI?D9EDD;9J?EDM?J>J>;,;HL?9;I OEKCKIJH;IEBL;J>;:?IFKJ;:?H;9JBO
                   M?J>J>7JJ>?H:F7HJO 

                 *  (-
                0;:EDEJH;FH;I;DJJ>7JOEKM?BB8;78B;JE799;IIOEKH99EKDJEHJ>;,;HL?9;I E<
                   J>;J?C; 2EKH99EKDJ7D:J>;,;HL?9;I7H;C7:;7L7?B78B;JEOEKM?J>EKJM7HH7DJOE<7DO
                   A?D: ;?J>;H;NFH;IIEH?CFB?;: ->;H;7H;DE=K7H7DJ;;IJ>7J799;IIM?BBDEJ8;?DJ;HHKFJ;: 
                   EHJ>7JJ>;H;M?BB8;DE:;B7OI <7?BKH;I ;HHEHI EC?II?EDIEHBEIIE<JH7DIC?JJ;:?D<EHC7J?ED 
                   ->?I9EKB:H;IKBJ?DJ>;?D78?B?JOJEJH7:;EDJ>;)B7J<EHC<EH7F;H?E:E<J?C;7D:C7O7BIE
                   B;7:JEJ?C;:;B7OI 0;C7O <HECJ?C;JEJ?C; IKIF;D:799;IIJEOEKH99EKDJ7D:J>;
                   ,;HL?9;I <EH8EJ>I9>;:KB;:7D:;C;H=;D9OC7?DJ;D7D9; 




                                                                                                            
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                                      63




                2EK79ADEMB;:=;7D:7=H;;J>7JD;?J>;H-1-H7:?D=DEH7DOEJ>;H"D:;CD?<?;:)7HJOI>7BB
                   >7L;7DOB?78?B?JOJEOEKEH7DOJ>?H:F7HJO<EHJ>;9EHH;9JD;II GK7B?JO 799KH79O I;9KH?JO 
                   9ECFB;J;D;II H;B?78?B?JO F;H<EHC7D9; J?C;B?D;II FH?9?D=EH9EDJ?DK;:7L7?B78?B?JOE<J>;
                   ,;HL?9;IEH<EH:;B7OIEHEC?II?EDIE<J>;,;HL?9;I EH<EHJ>;<7?BKH;E<7DO9EDD;9J?EDEH
                   9ECCKD?97J?EDI;HL?9;JEFHEL?:;EHC7?DJ7?DOEKH799;IIJEJ>;,;HL?9;I EH<EH7DO
                   ?DJ;HHKFJ?ED?DEH:?IHKFJ?EDE<OEKH799;IIEH7DO;HHED;EKI9ECCKD?97J?EDI8;JM;;D-1
                   -H7:?D=EH7DOEJ>;H"D:;CD?<?;:)7HJO7D:OEK H;=7H:B;IIE<97KI; 
                -1-H7:?D=C7O:;J;HC?D;DEJJEC7A;J>;,;HL?9;I ?DM>EB;EH?DF7HJ 7L7?B78B;?D
                   ;L;HOC7HA;J ;?J>;H?D?JIIEB;:?I9H;J?EDEH:K;JEB;=7BEHH;=KB7JEHOH;GK?H;C;DJI "D
                   7::?J?ED -1-H7:?D=C7O:;J;HC?D;DEJJEC7A;J>;,;HL?9;I ?DM>EB;EH?DF7HJ 
                   7L7?B78B;JEOEK :;F;D:?D=EDOEKHBE97J?ED "<OEKJH7L;BJE7+;IJH?9J;:-;HH?JEHO EKH
                   ,;HL?9;IC7ODEJ8;7L7?B78B;7D:OEKH799;IIJEEKH,;HL?9;IC7O8;8BE9A;: 2EK
                   79ADEMB;:=;J>7JJ>?IC7O?CF79JOEKH78?B?JOJEJH7:;EDJ>;)B7J<EHC7D: EHCED?JEH7DO
                   ;N?IJ?D=(H:;HIEHEF;DFEI?J?EDIEHEJ>;HM?I;KI;J>;,;HL?9;I 2EKCKIJDEJ7JJ;CFJ?D
                   7DOM7OJE9?H9KCL;DJ7DOIK9>H;IJH?9J?ED ?D9BK:?D=8OKI;E<7DOL?HJK7BFH?L7J;D;JMEHA
                   JECE:?<OOEKH?DJ;HD;JFHEJE9EB7::H;II 

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               0;H;I;HL;J>;H?=>JJE9>7D=; IKIF;D: EH:?I9EDJ?DK;7DO7IF;9JE<J>;,;HL?9;I7J7DO
                   J?C;7D:?D7DO@KH?I:?9J?ED ?D9BK:?D=>EKHIE<EF;H7J?EDEH7L7?B78?B?JOE<7DO<;7JKH; 
                   M?J>EKJDEJ?9;7D:M?J>EKJB?78?B?JO 0;C7O7:L?I;OEKE<7DOIK9>9>7D=;I IKIF;DI?EDI
                   EH:?I9EDJ?DK7J?EDIL?7OEKH99EKDJEHJ>;EJ>;H9EDJ79J:;J7?BIJ>7JOEK>7L;FHEL?:;:JE
                   KI8KJI>7BB>7L;DEE8B?=7J?EDJE:EIE 
               "<OEK:EDEJ7=H;;M?J>7DO9>7D=; IKIF;DI?ED EH:?I9EDJ?DK7D9;E<7DO7IF;9JE<J>;
                   ,;HL?9;I J>;DOEKHIEB;7D:;N9BKI?L;H;C;:O?IJEJ;HC?D7J;OEKHKI;E<J>;,;HL?9;I7D:
                   9BEI;OEKH99EKDJ 2EK7=H;;J>7JD;?J>;HM;DEH7DOEJ>;H"D:;CD?<?;:)7HJOI>7BB8;
                   B?78B;JEOEKEH7DOJ>?H:F7HJO<EH7DO%EII;IIK<<;H;:7I7H;IKBJE<7DOIK9>9>7D=;I 
                   IKIF;DI?EDI :?I9EDJ?DK7J?EDIEH:;9?I?EDI 

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               0;H;I;HL;J>;H?=>JJE7C;D:7DOF7HJE<J>;-;HCI 7J7DOJ?C; 8OFEIJ?D=J>;H;L?I;:
                   L;HI?EDE<J>;-;HCIEDJ>;,?J; M?J>7DKF:7J;:H;L?I?ED:7J; ->;9>7D=;IM?BB8;9EC;
                   ;<<;9J?L; 7D:I>7BB8;:;;C;:799;FJ;:8OOEK J>;<?HIJJ?C;OEKKI;J>;,;HL?9;I7<J;H
                   J>;?D?J?7BFEIJ?D=E<J>;H;L?I;:-;HCI7D:I>7BB7FFBOED7=E?D= <EHM7H:87I?IM?J>
                   H;IF;9JJEJH7DI79J?EDI?D?J?7J;:7<J;HJ>;FEIJ?D=:7J; 2EK79ADEMB;:=;J>7J?J?IOEKH
                   H;IFEDI?8?B?JOJE9>;9AJ>;-;HCIF;H?E:?97BBO<EH9>7D=;I 
               "<OEK:EDEJ7=H;;M?J>7DO7C;D:C;DJIJEJ>;-;HCI OEKHIEB;7D:;N9BKI?L;H;C;:O?I
                   JEJ;HC?D7J;OEKHKI;E<J>;,;HL?9;I7D:9BEI;OEKH99EKDJ 2EK7=H;;J>7JD;?J>;HM;
                   DEH7DOEJ>;H"D:;CD?<?;:)7HJOI>7BB8;B?78B;JEOEKEH7DOJ>?H:F7HJO<EH7DO%EII;I
                   IK<<;H;:7I7H;IKBJE<7DO7C;D:C;DJE<J>;-;HCI 

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                   7FFHEFH?7J;<;;I 7II;J<EHJ>?DEKH;;,9>;:KB;:?IFB7O;:EDJ>;,?J;22'0521B92 
                   M>?9>-1-H7:?D=C7OH;L?I;EHKF:7J;?D?JIIEB;:?I9H;J?ED<HECJ?C;JEJ?C; "<OEK:E
                   DEJ7=H;;M?J>7DO7C;D:C;DJIJEJ>;;;,9>;:KB; OEKHIEB;7D:;N9BKI?L;H;C;:O?IJE
                   J;HC?D7J;OEKHKI;E<J>;,;HL?9;I7D:9BEI;OEKH99EKDJ 
               (DH;GK;IJ -1-H7:?D=C7OC7A;7L7?B78B;7D7BJ;HD7J?L;<;;I9>;:KB;9A2?;.A6C2
                   22'0521B92JE.I;HIM>EI7J?I<O9;HJ7?D9H?J;H?7IK9>7I?DH;B7J?EDJEJH7:?D=LEBKC; 
                   M>?9>7H;:;J;HC?D;:8O-1-H7:?D=?D?JIIEB;:?I9H;J?ED<HECJ?C;JEJ?C; 
               2EK7KJ>EH?I;-1-H7:?D=JE:;:K9J7DO7FFB?978B;<;;I<HECOEKH99EKDJ7JJ>;J?C;
                   OEKC7A;7=?L;DJH7DI79J?ED >7D=;IJEJ>;;;,9>;:KB;EHBJ;HD7J?L;;;,9>;:KB;
                   7H;;<<;9J?L;7IE<J>;:7J;I;J<EHJ>?D7DOH;L?I?ED7D:M?BB7FFBOFHEIF;9J?L;BO<HECJ>7J
                   :7J;<EHM7H: 




                                                                                                          
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               2EKM?BB8;78B;JEI;;7H;9EH:E<OEKHJH7DI79J?EDIL?7OEKH99EKDJM>?9>OEKC7OM?I>
                   JEKI;<EHJ>;FKHFEI;IE<C7A?D=7DOH;GK?H;:J7N<?B?D=IEHF7OC;DJI "J?IOEKH
                   H;IFEDI?8?B?JOJE:;J;HC?D;M>7J ?<7DO J7N;I7FFBOJEOEKH79J?L?J?;IEDJ>;)B7J<EHC 7D:
                   JE9EBB;9J H;FEHJ 7D:H;C?JJ>;9EHH;9JJ7NJEJ>;7FFHEFH?7J;J7N7KJ>EH?JO 
               -1-H7:?D=?IDEJH;IFEDI?8B;<EH:;J;HC?D?D=M>;J>;HJ7N;I7FFBOJEOEKHJH7DI79J?ED EH
                   <EH9EBB;9J?D= H;FEHJ?D= EHH;C?JJ?D=7DOJ7N;I7H?I?D=<HEC7DOJH7DI79J?ED 

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                         -1-H7:?D==H7DJIOEK7B?C?J;: DED ;N9BKI?L; DED IK8B?9;DI78B; 7D:DED
                              JH7DI<;H78B;B?9;DI; IK8@;9JJEJ>;-;HCI JE799;II7D:KI;J>;,;HL?9;IIEB;BO
                              <EH7FFHEL;:FKHFEI;I7I:;J;HC?D;:8O-1-H7:?D= DOEJ>;HKI;E<J>;
                              ,;HL?9;I?I;NFH;IIBOFHE>?8?J;: -1-H7:?D=7D:?JIB?9;DIEHIH;I;HL;7BBH?=>JI
                              ?DJ>;,;HL?9;I 7D:OEK7=H;;J>7JJ>;-;HCI:EDEJ=H7DJOEK7DOH?=>JI?D EH
                              B?9;DI;IJE J>;,;HL?9;I;N9;FJ<EHJ>;B?C?J;:B?9;DI;I;J<EHJ>78EL; 
                         N9;FJ7I;NFH;IIBO7KJ>EH?I;:8O-1-H7:?D= OEK7=H;;DEJJECE:?<O H;L;HI;
                              ;D=?D;;H 9EFO <H7C; I9H7F; H;DJ B;7I; BE7D I;BB :?IJH?8KJ; EH9H;7J;
                              :;H?L7J?L;MEHAI87I;:EDJ>;,;HL?9;I ?DM>EB;EH?DF7HJ "<OEKL?EB7J;7DO
                              FEHJ?EDE<J>;-;HCI OEKHF;HC?II?EDJE799;II7D:KI;J>;,;HL?9;IC7O8;
                              J;HC?D7J;:FKHIK7DJJEJ>;-;HCI 
                         -1 9EC -17D:7BBBE=EIH;B7J;:JEJ>;,;HL?9;I7H;;?J>;HJH7:;C7HAI EH
                              H;=?IJ;H;:C7HAIE<-1-H7:?D=EH?JIB?9;DIEHI 2EKC7ODEJ9EFO ?C?J7J; EH
                              KI;J>;CM?J>EKJ-1-H7:?D=IFH?EHMH?JJ;D9EDI;DJ BBH?=>J J?JB; 7D:?DJ;H;IJ
                              ?D7D:JEJ>;,?J;7D:7DO&E8?B;FFB?97J?ED 7DO9EDJ;DJJ>;H;ED J>;,;HL?9;I 
                              7D:7DO7D:7BBJ;9>DEBE=OEH9EDJ;DJ9H;7J;:EH:;H?L;:<HEC7DOE<J>;
                              <EH;=E?D=?IJ>;;N9BKI?L;FHEF;HJOE<-1-H7:?D=7D:?JIB?9;DIEHI 

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                         ,K8@;9JJEOEKH9ECFB?7D9;M?J>J>;-;HCI7D:7DOEJ>;H7=H;;C;DJM>?9>C7O
                              8;?DFB79;8;JM;;DOEK7D:-1-H7:?D=H;B7J?D=JEOEKHKI;E<J>;)" -1
                              -H7:?D==H7DJIOEK7B?C?J;: H;LE978B; DED ;N9BKI?L; DED JH7DI<;H78B; DED
                              IK8B?9;DI78B;B?9;DI; JEKI;J>;)"IEB;BO<EHJ>;FKHFEI;IE<JH7:?D=EDJ>;
                              )B7J<EHC 2EK7=H;;JEDEJKI;J>;)"EH:7J7FHEL?:;:J>HEK=>J>;)"<EH7DO
                              EJ>;HFKHFEI; 2EK7=H;;OEKH799;II7D:KI;E<J>;)"I>7BB8;;DJ?H;BO7JOEKH
                              EMDH?IA 7D:J>7J-1-H7:?D=M?BBDEJ8;H;IFEDI?8B;<EH7DOB?78?B?J?;IJ>7JOEK
                              ?D9KH7I7H;IKBJE<J>;KI;E<J>;)"EH79J?EDIOEKJ7A;87I;:EDJ>;)" 
                         -1-H7:?D=C7O 7J?JIIEB;:?I9H;J?ED I;JB?C?JIEDJ>;DKC8;HE<)"97BBIJ>7J
                              OEK97DC7A; <EH;N7CFB; JEC7?DJ7?DC7HA;JIJ78?B?JO7D:?DJ;=H?JO 2EK
                              79ADEMB;:=;7D:7=H;;J>7J?<OEK;N9;;:J>;I;B?C?JI -1-H7:?D=C7O
                              CE:;H7J;OEKH79J?L?JOEH9;7I;E<<;H?D=OEK799;IIJEJ>;)"EH7DOEJ>;H)"
                              E<<;H;:8O-1-H7:?D= ;79>?D?JIIEB;:?I9H;J?ED 
                         -1-H7:?D=C7O?CC;:?7J;BOIKIF;D:EHJ;HC?D7J;OEKH799;IIJEJ>;)"
                              M?J>EKJDEJ?9;?<M;8;B?;L;OEK7H;?DL?EB7J?EDE<J>;-;HCIEH7DOEJ>;H
                              7=H;;C;DJM>?9>C7O8;?DFB79;8;JM;;DOEK7D:-1-H7:?D=H;B7J;:JEOEKH
                              KI;E<J>;)" 

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                              FB7J<EHCI 7FFB?97J?EDI7D:EJ>;H799;IIFEHJ7BI9EBB;9J?L;BO Q(56?1$.?AF
                              $<?A.9@R "<OEK7H;799;II?D=J>;I;-;HCIL?77->?H:)7HJO)EHJ7B OEK7=H;;
                              7JE9ECFBOM?J>7BB7FFB?978B;J;HCIE<I;HL?9;E<IK9>->?H:)7HJO)EHJ7B 8
                              J>7JOEK7H;IEB;BOH;IFEDI?8B;<EHF7OC;DJE<7DO7D:7BB9EIJI7D:<;;I




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                             7IIE9?7J;:M?J>IK9>->?H:)7HJO)EHJ7BI 7D:9M;:EDEJEM;OEK7DO:KJOE<
                             97H;M?J>H;IF;9JJEIK9>->?H:)7HJO)EHJ7BI DEH:EM;799;FJ7DOH;IFEDI?8?B?JO
                             <EHJ>;C 
                        "<OEK=H7DJ;NFH;IIF;HC?II?EDJE7J>?H:F7HJOJE9EDD;9JJEOEKH99EKDJ ;?J>;H
                             J>HEK=>J>;J>?H:F7HJOTIFHE:K9JEHJ>HEK=>J>;,;HL?9;I OEK79ADEMB;:=;J>7J
                             =H7DJ?D=F;HC?II?EDJE7J>?H:F7HJOJEJ7A;IF;9?<?979J?EDIEDOEKH8;>7B<:E;I
                             DEJH;B?;L;OEKE<7DOE<OEKHH;IFEDI?8?B?J?;IKD:;HJ>;I;-;HCI  
                        2EK79ADEMB;:=;7D:7=H;;J>7JOEKM?BBDEJ>EB:KIH;IFEDI?8B;<EH 7D:M?BB
                             ?D:;CD?<OKI<HEC 7DOB?78?B?JO7H?I?D=<HECJ>;79J?EDIEH?D79J?EDIE<IK9>J>?H:
                             F7HJO?D9EDD;9J?EDM?J>J>;F;HC?II?EDIOEK=H7DJ 2EK;NFH;IIBO7=H;;J>7JOEKH
                             KI;E<7DO->?H:)7HJO)EHJ7B?I7JOEKHEMDH?IA7D:M;M?BBDEJ8;B?78B;JEOEK
                             <EH7DO?D799KH79?;I ;HHEHI EC?II?EDI :;B7OI :7C7=;I 9B7?CI B?78?B?J?;IEH
                             BEII;I 7H?I?D=EKJE<EH?D9EDD;9J?EDM?J>OEKHKI;E<->?H:)7HJO)EHJ7BI 
                        "DJ>;;L;DJJ>7J799;IIJEJ>;,;HL?9;IL?77DO->?H:)7HJO)EHJ7B?IIKIF;D:;: 
                             J;HC?D7J;:EH97D9;BB;:<EH7DOH;7IED OEK7=H;;J>7JOEKI>7BBH;C7?D8EKD:8O
                             J>;I;-;HCI7D:EKH)H?L79O)EB?9O7I7KI;HE<J>;,;HL?9;I 

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                   0;7H;9ECC?JJ;:JEFHEJ;9J?D=OEKHF;HIED7B?D<EHC7J?ED7D:JE>;BF?D=OEKKD:;HIJ7D:
                   ;N79JBO>EMOEKHF;HIED7B?D<EHC7J?ED?I8;?D=KI;: 2EKI>EKB:97H;<KBBOH;7:EKH)H?L79O
                   )EB?9O M>?9>FHEL?:;I:;J7?BIED>EMOEKHF;HIED7B?D<EHC7J?ED?I9EBB;9J;: IJEH;: 
                   FHEJ;9J;: 7D:KI;: 

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                   I>7BBDEJ?<OKI?DMH?J?D=E<IK9>H;GK?H;C;DJ =?L?D=:;J7?BIE<J>;C7J;H?7BIM>?9>>7L;DEJ
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                   "<OEK7H;7H;I?:;DJE<KIJH7B?7 #7F7D EH,EKJ><H?97 7::?J?ED7BJ;HCI7D:9ED:?J?EDI
                   M?BB7FFBOJEOEKHKI;E<J>;,;HL?9;I7II;J<EHJ>?DJ>;,9>;:KB;I7JJ79>;:>;H;JE 

                #!!)"(#"'"" '
                   ->;-;HCI7H;FHEL?:;:JEOEK7D:9ED9BK:;:?DD=B?I> 0;M?BB9ECCKD?97J;M?J>OEK?D
                   D=B?I><EH7BBC7JJ;HIH;B7J;:JEOEKHKI;E<EKH,;HL?9;IKDB;IIM;;B;9J ?DEKHIEB;
                   :?I9H;J?ED JEFHEL?:;IKFFEHJ<EHEJ>;HB7D=K7=;I 

                
                   2EK79ADEMB;:=;7D:7=H;;J>7J7DOC7J;H?7BI ?D9BK:?D=M?J>EKJB?C?J7J?EDGK;IJ?EDI 
                   9ECC;DJI <;;:879A IK==;IJ?EDI ?:;7I FB7DI DEJ;I :H7M?D=I EH?=?D7BEH9H;7J?L;
                   C7J;H?7BIEHEJ>;H?D<EHC7J?EDEH9ECC;DJ7HOOEKFHEL?:;JEKIEHED;E<EKHIE9?7BC;:?7
                   799EKDJI H;=7H:?D=J>;,;HL?9;I9EBB;9J?L;BO 221/.08J>7J7H;FHEL?:;:8OOEK 
                   M>;J>;H8O;C7?B FEIJ?D=JEJ>;,?J;EHIE9?7B9>7DD;BI EHEJ>;HM?I; 7H;DED 9ED<?:;DJ?7B
                   7D:M?BB8;9EC;J>;IEB;FHEF;HJOE<-1-H7:?D= -1-H7:?D=M?BBEMD;N9BKI?L;H?=>JI 
                   ?D9BK:?D=7BB?DJ;BB;9JK7BFHEF;HJOH?=>JI ?D7D:JEIK9>;;:879A 7D:M?BB8;;DJ?JB;:JEJ>;
                   KDH;IJH?9J;:KI;7D::?II;C?D7J?EDE<IK9>;;:879A<EH7DOFKHFEI; 9ECC;H9?7BEH
                   EJ>;HM?I; M?J>EKJ79ADEMB;:=C;DJEH9ECF;DI7J?EDJEOEK 

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               0;E<J;DFEIJDEJ?9;I7D:H;B;L7DJ,;HL?9;I?D<EHC7J?ED?DEKH-;B;=H7C9>7DD;B7D:ED
                   EKH-M?JJ;H799EKDJ IEM;7:L?I;2EKJE9>;9AJ>EI;9>7DD;BI8;<EH;9EDJ79J?D=IKFFEHJ 
                   -;B;=H7C>JJFI J C; -16(<<?9?7B
                   -M?JJ;H>JJFI JM?JJ;H 9EC -16(<<?9?7B
                   0;>7J<J;N9>7D=;
                   BE=>JJFI 8BE= <JN 9EC 
               -E9EDJ79JKI FB;7I;L?I?JED;E<J>;B?DAIEH9>7DD;BI78EL; EHIKFFEHJM?J>OEKH
                   99EKDJ OEKC7OIK8C?J7IKFFEHJJ?9A;J7J>JJFI <JN 9EC IKFFEHJ EHB;=7B7D:C;:?7
                   ?DGK?H?;I FB;7I;9EDJ79JB;=7B<JN 9EC7D:C;:?7<JN 9EC H;IF;9J?L;BO )B;7I;FHEL?:;
                   7BBH;B;L7DJ?D<EHC7J?ED ?D9BK:?D=OEKH99EKDJKI;HD7C;7D:JH7DI79J?ED"IE<7DO
                   H;B7J;::;FEI?JI BJ>EK=>M;C7A;DEH;FH;I;DJ7J?EDIEHFHEL?:;DEM7HH7DJ?;I7IJEJ>;
                   IF;;:E<H;IFEDI; M;M?BB;D:;7LEKHJE=;J879AJEOEK7IIEED7IFEII?8B; 

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                   -1-H7:?D=:E;IDEJ 7I7=;D;H7BHKB; F7HJ?9?F7J;?DFHECEJ?EDIM?J>EKJ7DE<<?9?7B
                   FHEDEKD9;C;DJ ;?J>;HEDJ>;,?J;EH;BI;M>;H; 2EKI>7BBE8J7?DFH?EHMH?JJ;D7FFHEL7B
                   FH?EHJEH;B;7I?D=7DOIJ7J;C;DJI MH?JJ;DC;:?7H;B;7I;I FK8B?97DDEKD9;C;DJI7D:
                   FK8B?9:?I9BEIKH;I ?D9BK:?D=FHECEJ?ED7BEHC7HA;J?D=C7J;H?7BI H;B7J?D=JEJ>;)B7J<EHC 




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               -1-H7:?D=I>7BBDEJ8;H;IFEDI?8B;7D:I>7BB>7L;DEB?78?B?JO<EH7DO<7?BKH; ?DJ;HHKFJ?ED
                   EH:;B7O?DH;B7J?EDJEJ>;F;H<EHC7D9;E<J>;,;HL?9;IEH?JIE8B?=7J?EDIKD:;HJ>;-;HCI
                   J>7JH;IKBJI<HEC7DO78DEHC7BEHKD<EH;I;;78B;9?H9KCIJ7D9;IEKJI?:;EKHH;7IED78B;
                   9EDJHEB ?D9BK:?D=M?J>EKJB?C?J7J?ED
                          7DOEH9;&7@;KH;L;DJEH
                          7DO<7?BKH;8OOEKJE9ECFBOM?J>OEKHE8B?=7J?EDIKD:;HJ>;-;HCIEHFFB?978B;
                               %7MI&29623C2;A 

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               2EKC7ODEJ7II?=D DEL7J; EHEJ>;HM?I;JH7DI<;H 7DOE<OEKHH?=>JIEHE8B?=7J?EDIKD:;H
                   J>;-;HCI EHIK8 9EDJH79JJ>;F;H<EHC7D9;E<7DOE<OEKHE8B?=7J?EDIKD:;HJ>;-;HCI 
                   M?J>EKJJ>;FH?EHMH?JJ;D9EDI;DJE<-1-H7:?D= DO7JJ;CFJ;:7II?=DC;DJ DEL7J?ED 
                   JH7DI<;HEHIK8 9EDJH79J?D=M?J>EKJEKH9EDI;DJI>7BB8;LE?: 
               -1-H7:?D=C7O7II?=D DEL7J; EHEJ>;HM?I;JH7DI<;H7DOE<?JIH?=>JIEHE8B?=7J?EDIKD:;H
                   J>;-;HCIJE7DOEJ>;HF;HIED EHIK8 9EDJH79JJ>;F;H<EHC7D9;E<7DOE<?JIE8B?=7J?EDI
                   KD:;HJ>;-;HCI?D9BK:?D=J>;F;H<EHC7D9;E<J>;,;HL?9;I 7J7DOJ?C;7D:M?J>EKJOEKH
                   9EDI;DJ 7D:OEK>;H;8O9EDI;DJJEIK9>7II?=DC;DJ DEL7J?ED JH7DI<;HEHIK89EDJH79J?D= 
                   7D:7=H;;JEJ7A;7BB79J?EDI?D9BK:?D=8OM7OE<;N;9KJ?D=:E9KC;DJI7D:EJ>;H
                   7II?IJ7D9;H;GK?H;:8O-1-H7:?D=JE;DIKH;J>7J7DOIK9>7II?=DC;DJ DEL7J?ED JH7DI<;H
                   EHIK89EDJH79J?D=?I;<<;9J?L;7D:;D<EH9;78B; "<OEKE8@;9JJEIK9>7II?=DC;DJ DEL7J?ED 
                   JH7DI<;HEHIK8 9EDJH79J?D=OEKC7OIJEFKI?D=EKH,;HL?9;I7D:J;HC?D7J;J>;-;HCI8O
                   9EDJ79J?D=KI7D:H;GK;IJ?D=KIJE9BEI;OEKH99EKDJ 

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                          2EK7=H;;J>7JJ>;-;HCI9EDIJ?JKJ;J>;;DJ?H;7=H;;C;DJ8;JM;;DOEK7D:-1
                               -H7:?D=M?J>H;IF;9JJEJ>;KI;E<J>;,;HL?9;I 
                          2EK7=H;;J>7J?D7=H;;?D=JE7D:;DJ;H?D=?DJEJ>;-;HCIOEK>7L;DEJ8;;D
                               ?D:K9;:JE:EIE8O 7D:>7L;DEJH;B?;:ED 7DOIJ7J;C;DJ H;FH;I;DJ7J?ED 
                               M7HH7DJO 7IIKH7D9; 9EL;D7DJ ?D:;CD?JO KD:;HJ7A?D=EH9ECC?JC;DJ
                               &2=?2@2;A.A6<;M>?9>?IDEJ;NFH;IIBOI;JEKJ?DJ>;-;HCI 
                          2EK7=H;;J>7JOEKHEDBOH?=>JE<79J?ED?DH;B7J?EDJE7DO?DDE9;DJEHD;=B?=;DJ
                               +;FH;I;DJ7J?EDI;JEKJ?DJ>;-;HCIEH=?L;D?D9EDD;9J?EDM?J>J>;-;HCII>7BB
                               8;<EH8H;79>E<9EDJH79J BBEJ>;HH?=>JI7D:H;C;:?;I?DH;B7J?EDJE7DOIK9>
                               +;FH;I;DJ7J?ED?D9BK:?D=J>EI;?DJEHJEH7H?I?D=KD:;HIJ7JKJ;7H;;N9BK:;: 

               'B?C6C.9
                   .FEDJ>;B7J;HE<J>;9BEIKH;E<OEKH99EKDJ7D:J>;J;HC?D7J?EDE<OEKH799;IIJE7D:KI;
                   E<J>;,;HL?9;IJ>;-;HCII>7BBJ;HC?D7J; BBH?=>JI7D:E8B?=7J?EDIE<J>;F7HJ?;IJ>7J8O
                   J>;?HD7JKH;7H;9EDJ?DK?D=M?BBIKHL?L;J>;J;HC?D7J?EDE<J>;-;HCI 

               '2C2?./696AF
                   "<7DOFHEL?I?EDEHF7HJE<J>;-;HCI?ILE?:EHKD;D<EH9;78B;:K;JE7DOFFB?978B;%7MI ?J
                   I>7BB8;:;;C;:JE8;:;B;J;:7D:J>;H;C7?D?D=FHEL?I?EDIE<J>;-;HCII>7BB9EDJ?DK;?D
                   <KBB<EH9;7D:;<<;9J "<7DO?DL7B?: KD;D<EH9;78B;EH?BB;=7BFHEL?I?EDE<J>;-;HCIMEKB:8;
                   L7B?: ;D<EH9;78B;7D:B;=7B?<IEC;F7HJE<?JM;H;:;B;J;: J>;FHEL?I?EDI>7BB7FFBOM?J>
                   J>;C?D?CKC:;B;J?EDD;9;II7HOJEC7A;?JL7B?: B;=7B7D:;D<EH9;78B; 

               'B002@@<?@.;1.@@64;@
                   ->;-;HCII>7BB8;8?D:?D=ED 7D:;DKH;JEJ>;8;D;<?JE< J>;F7HJ?;IJEJ>;-;HCI7D:J>;?H
                   H;IF;9J?L;F;HIED7BH;FH;I;DJ7J?L;I IK99;IIEHI7D:F;HC?JJ;:7II?=DI 7D:H;<;H;D9;IJE
                   7DO F7HJO I>7BB ?D9BK:; J>7J F7HJOI F;HIED7B H;FH;I;DJ7J?L;I  IK99;IIEHI 7D: F;HC?JJ;:




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                   7II?=DI 

               *.?6.A6<;.;1D.6C2?
                          ,K8@;9JJE,;9J?ED DEL7H?7J?EDE<J>;-;HCII>7BB8;;<<;9J?L;KDB;II?J?I?D
                               MH?J?D=M>?9><EHJ>?IFKHFEI; :E;IDEJ?D9BK:;;C7?B7D:I?=D;:8O EHED
                               8;>7B<E< ;79>E<J>;F7HJ?;I ->;;NFH;II?EDL7H?7J?ED?D9BK:;I7DOL7H?7J?ED 
                               IKFFB;C;DJ :;B;J?EDEHH;FB79;C;DJ>EM;L;H;<<;9J;: 
                          'EM7?L;H8O-1-H7:?D=E<7DOH?=>JEHH;C;:OFHEL?:;:8OJ>;-;HCIEH8OB7M
                               I>7BB8;;<<;9J?L;KDB;II?J?I?DMH?J?D=M>?9><EHJ>?IFKHFEI; :E;IDEJ?D9BK:;
                               ;C7?B7D:I?=D;:8O EHED8;>7B<E< -1-H7:?D= ->;<7?BKH;8O-1-H7:?D=JE
                               ;N;H9?I; EH:;B7O?D;N;H9?I?D= 7DOH?=>JEHH;C;:OFHEL?:;:8OJ>;-;HCIEH8O
                               B7M:E;IDEJ?9EDIJ?JKJ;7M7?L;HE<J>7JH?=>JEHH;C;:O??H;IJH?9J7DO<KHJ>;H
                               ;N;H9?I;E<J>7JH?=>JEHH;C;:OEH???7<<;9J7DOEJ>;HH?=>JIEHH;C;:?;I 
                               I?D=B;EHF7HJ?7B;N;H9?I;8O-1-H7:?D=E<7DOH?=>JEHH;C;:O:E;IDEJFH;L;DJ
                               7DO<KHJ>;HEHEJ>;H;N;H9?I;E<J>7JH?=>JEHH;C;:OEHJ>;;N;H9?I;E<7DOEJ>;H
                               H?=>JEHH;C;:O 

               "<=.?A;2?@56=<?.42;0F
                   'EJ>?D=?DJ>;-;HCIEH?D7DOC7JJ;HEH7DO7HH7D=;C;DJ9EDJ;CFB7J;:8O?J?I?DJ;D:;:JE
                   9EDIJ?JKJ;7F7HJD;HI>?F 7IIE9?7J?ED @E?DJL;DJKH; <?:K9?7HOH;B7J?EDI>?FEHEJ>;H9E
                   EF;H7J?L;;DJ?JO8;JM;;DJ>;F7HJ?;I<EH7DOFKHFEI;M>7JIE;L;H N9;FJ7I;NFH;IIBO
                   FHEL?:;:?DJ>;-;HCI D;?J>;HF7HJO>7I7DOFEM;HEH7KJ>EH?JOJE8?D:J>;EJ>;HF7HJOEH
                   ?CFEI;7DOE8B?=7J?EDIED?J7D:D;?J>;HF7HJOI>7BBFKHFEHJJE:EIEEH>EB:?JI;B<EKJ7I
                   97F78B;E<:E?D=IE 79>F7HJO9ED<?HCI?J?I79J?D=ED?JIEMD8;>7B<7D:DEJ<EHJ>;
                   8;D;<?JE<7DOEJ>;HF;HIED 

               '2A<33
                          'EJM?J>IJ7D:?D=J>7J7DO7CEKDJ?I<HECJ?C;JEJ?C;F7O78B;8O-1-H7:?D=JE
                               OEKKD:;HEH8OL?HJK;E<J>;-;HCIEHEJ>;HM?I; OEKI>7BBDEJI;JE<<IK9>
                               7CEKDJ7=7?DIJ7DO7CEKDJF7O78B;8OOEKJE-1-H7:?D=KD:;HJ>;-;HCI 
                          -1-H7:?D=C7OI;JE<<7DO7CEKDJIM>?9><HECJ?C;JEJ?C;7H;F7O78B;8O
                               -1-H7:?D=JEOEKKD:;HEH8OL?HJK;E<J>;-;HCIEHEJ>;HM?I;7=7?DIJ7DO
                               7CEKDJIF7O78B;8OOEKJE-1-H7:?D=KD:;HJ>;-;HCI 

               >B6A./92?2:2162@
                   0?J>EKJFH;@K:?9;JE7DOEJ>;HH?=>JIEHH;C;:?;IJ>7J-1-H7:?D=C7O>7L; OEK
                   79ADEMB;:=;7D:7=H;;J>7J:7C7=;I7BED;C7ODEJ8;7D7:;GK7J;H;C;:O<EHOEKH
                   8H;79>E<J>;-;HCI ->;H;C;:?;IE<?D@KD9J?ED7D:IF;9?<?9F;H<EHC7D9;7IM;BB7I7DO
                   EJ>;H;GK?J78B;H;B?;<<EH7DOJ>H;7J;D;:EH79JK7B8H;79>E<IK9>FHEL?I?EDIE<J>;-;HCI
                   C7O8;CEH;7FFHEFH?7J;H;C;:?;I 

               (56?1=.?AF?645A@
                   ,7L;7IEJ>;HM?I;;NFH;IIBOFHEL?:;:?DJ>;-;HCIIK9>7I?D,;9J?EDI  7D:
                     
                          J>;-;HCI7H;DEJ?DJ;D:;:7D:I>7BBDEJ8;9EDIJHK;:JE9H;7J;7DOH?=>JIEH
                               H;C;:?;I?D7DOF7HJ?;IEJ>;HJ>7DOEK7D:-1-H7:?D=7D:?JI<<?B?7J;I M>?9>
                               ;79>I>7BB8;7J>?H:F7HJO8;D;<?9?7HOE<J>;-;HCI7D:
                          DEEJ>;HF;HIEDI>7BB7II;HJ7DOH?=>JI7I7J>?H:F7HJO8;D;<?9?7HO>;H;KD:;H
                               DEJM?J>IJ7D:?D=7DOB;=?IB7J?EDJEJ>;9EDJH7HO7DOM>;H;?DJ>;MEHB: 

             920A?<;60@64;.AB?2
                   ->;-;HCIC7O8;;DJ;H;:?DJE8O;B;9JHED?9C;7DI 




                                                                                                                
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            <C2?;6;49.D
                   ->;-;HCI7D:7DO?IFKJ;I>7BB8;=EL;HD;:8O 7D:9EDIJHK;:?D799EH:7D9;M?J> 
                   D=B?I>B7M 

            ?/6A?.A6<;
                      ,K8@;9JJE,;9J?ED 8;BEM 7DO?IFKJ;I>7BB8;H;<;HH;:JE7D:<?D7BBO
                            :;J;HC?D;:8O7H8?JH7J?ED7:C?D?IJ;H;:8OJ>;,?D=7FEH;"DJ;HD7J?ED7BH8?JH7J?ED
                            ;DJH;'?D799EH:7D9;M?J>J>;H8?JH7J?ED+KB;IE<J>;,"'
                            &B92@<EHJ>;J?C;8;?D=?D<EH9; 
                      ->?I7H8?JH7J?ED7=H;;C;DJI>7BB8;=EL;HD;:8OD=B?I>B7M 
                      ->;I;7JE<J>;7H8?JH7J?EDI>7BB8;,?D=7FEH; 
                      ->;B7D=K7=;E<J>;7H8?JH7J?EDI>7BB8;D=B?I> 
                      ->;DKC8;HE<7H8?JH7JEHII>7BB8;ED; 
                      79>F7HJO7=H;;IJ>7J
                                 7DO?IFKJ;I>7BB8;H;<;HH;:JE7H8?JH7J?ED?D799EH:7D9;M?J>J>?IB7KI;
                                      ED7D?D:?L?:K7B87I?IEDBO7D:DEJ7I79B7?C7DJEH9B7IIC;C8;H
                                     ?D7FKHFEHJ;:9B7IIEHH;FH;I;DJ7J?L;79J?ED
                                 9EC8?D?D=EH9EDIEB?:7J?D=?D:?L?:K7B7H8?JH7J?EDI?DJE7I?D=B;7H8?JH7J?ED
                                     ?IDEJF;HC?JJ;:M?J>EKJJ>;9EDI;DJE<7BBF7HJ?;I 
                      ->?I7=H;;C;DJJE7H8?JH7J;I>7BB
                                 8;8?D:?D=KFEDJ>;F7HJ?;I J>;?HIK99;IIEHI7D:7II?=DI
                                 IKHL?L;J>;J;HC?D7J?EDE<J>;I;-;HCI 
                      0>;H;7.I;H7BB;=;IEH9B7?CIJ>7J7?IFKJ;>7I7H?I;D8;JM;;D?J7D:7DOE<
                            J>;"D:;CD?<?;:)7HJ?;IM>E?IDEJEJ>;HM?I;7F7HJOJEJ>;I;-;HCI J>7J
                            "D:;CD?<?;:)7HJOC7OH;GK?H;J>7JJ>;?IFKJ;8;<?D7BBOI;JJB;:8O7H8?JH7J?ED?D
                            799EH:7D9;M?J>J>?I,;9J?ED M?J>EKJFH;@K:?9;JEJ>7J"D:;CD?<?;:)7HJOI
                            H?=>JJEC7A;7@KH?I:?9J?ED7B9>7BB;D=; FHEL?:;:J>7JIK9>"D:;CD?<?;:)7HJO
                            ;N;H9?I;I?JIH?=>JJE7H8?JH7J?EDKD:;HJ>?I,;9J?ED 8ODEJ?9;?DMH?J?D=JE7BB
                            F7HJ?;IJEJ>;-;HCIM?J>?D:7OIE<8;?D=DEJ?<?;:?DMH?J?D=E<J>;?IFKJ; EH
                            J>;7LE?:7D9;E<:EK8J J>;.I;HFHEL?:;I;NFH;II9EDI;DJJEJ>;@E?D:;HE<IK9>
                            "D:;CD?<?;:)7HJOJE7D7H8?JH7J?ED9ECC;D9;:FKHIK7DJJEJ>?I,;9J?ED  
            E02=A6<;A<.?/6A?.A6<;
                   "<OEK7H;7H;I?:;DJE<7@KH?I:?9J?EDM>;H;J>;B7MFHE>?8?JI7H8?JH7J?EDE<?IFKJ;I ,;9J?ED
                    78EL;M?BBDEJ7FFBOJEOEK "DIJ;7: ;79>F7HJO?HH;LE978BO7=H;;IJ>7JJ>;EKHJIE<
                   D=B7D:7D:07B;IBE97J;:?D%ED:ED D=B7D:I>7BB>7L;;N9BKI?L;@KH?I:?9J?ED?DH;B7J?ED
                   JE7DO?IFKJ;7D:;79>F7HJO?HH;LE978BOM7?L;I7DOH?=>JJ>7J?JC7O>7L;JEE8@;9JJE7D
                   79J?ED8;?D=8HEK=>J?DJ>EI;EKHJI JE9B7?CJ>7JJ>;79J?ED>7I8;;D8HEK=>J?D7D
                   ?D9EDL;D?;DJ<EHKC EHJE9B7?CJ>7JJ>EI;EKHJI:EDEJ>7L;@KH?I:?9J?ED 

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                                            




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                 "(#"'
                IKI;:J>HEK=>EKJJ>;-;HCIKDB;IIJ>;9EDJ;NJH;GK?H;IEJ>;HM?I;
                   33696.A2C;7DI ?DH;B7J?EDJE7F7HJO 7DOF;HIEDJ>7J:?H;9JBO EH?D:?H;9JBOJ>HEK=>ED;
                   EHCEH;?DJ;HC;:?7H?;I 9EDJHEBI ?I9EDJHEBB;:8O EH?IKD:;H9ECCED9EDJHEBM?J> IK9>
                   F7HJO F;HIEDI>7BB8;:;;C;:JE9EDJHEB7DEJ>;HF;HIED?<IK9>F;HIEDFEII;II;I 
                   :?H;9JBOEH?D:?H;9JBO J>;FEM;HJE:?H;9J EH97KI;J>;:?H;9J?EDE< J>;C7D7=;C;DJ7D:
                   FEB?9?;IE<IK9>EJ>;HF;HIED M>;J>;HJ>HEK=>J>;EMD;HI>?FE<LEJ?D=I;9KH?J?;I 8O
                   9EDJH79JEHEJ>;HM?I; 
                   ==960./92 .D@C;7DI7BBB7MI ?D9BK:?D=HKB;IE<9ECCEDB7M FH?D9?FB;IE<;GK?JO 
                   IJ7JKJ;I H;=KB7J?EDI :?H;9J?L;I FHE9B7C7J?EDI EH:?D7D9;I 8O B7MI HKB;I H;=KB7JEHO
                   FH?D9?FB;I7D:H;GK?H;C;DJI C7D:7JEHO9E:;IE<9ED:K9J MH?JI EH:;HI ?D@KD9J?EDI 
                   @K:=C;DJI7D:7DO7M7H:IE<EJ>;H?D:KIJH?7B?DIJHKC;DJI M>?9>7H;7FFB?978B;JEJ>;
                   FHEL?I?ED H;9;?FJEHKI;E<J>;,;HL?9;IEH7DOFHE:K9JIEHEJ>;H:;B?L;H78B;IFHEL?:;: 
                   KI;:EHH;9;?L;:?D9EDD;9J?EDM?J>J>;,;HL?9;I 
                   @@2A@C;7DIJ>;?=?J7BII;JI <?7J9KHH;D9O7D: &ED;O>;B:?DOEKH99EKDJ 
                   (C;7DIJ>;9HOFJE9KHH;D9O?J9E?D 
                   646A.9@@2A@C;7DI- -! --7D:7DOEJ>;H:?=?J7B7II;J 9HOFJE9KHH;D9O L?HJK7B
                   9KHH;D9O JEA;D B;L;H7=;:JEA;D IJ78B;9E?D JEA;D?I;:IJE9A LEB7J?B?JOJEA;D JEA;D?I;:
                   <KJKH;I9EDJH79J JEA;D?I;:EFJ?EDEHEJ>;HJEA;D?I;::;H?L7J?L;IFHE:K9JJ>7J?IIKFFEHJ;:
                   8O7D:C7:;7L7?B78B;<HECJ?C;JEJ?C;JEJH7DI79J?DKI?D=J>;)B7J<EHC 
                   6@=BA2C;7DI7DO:?IFKJ; 9B7?C 9EDJHEL;HIOEH:?<<;H;D9;7H?I?D=EKJE<EH?D
                   9EDD;9J?EDM?J>J>;-;HCI ?D9BK:?D=7DOGK;IJ?EDH;=7H:?D=?JI;N?IJ;D9; L7B?:?JO IK8@;9J
                   C7JJ;H ?DJ;HFH;J7J?ED D;=EJ?7J?ED J;HC?D7J?EDEH;D<EH9;78?B?JO 7D:7DO:?IFKJ; 9B7?C 
                   9EDJHEL;HIOEH:?<<;H;D9;H;=7H:?D=7DODED 9EDJH79JK7BE8B?=7J?EDI7H?I?D=EKJE<EH?D
                   9EDD;9J?EDM?J>J>;,;HL?9;I 
                   (C;7DIJ>;9HOFJE9KHH;D9OJ>;H;KC 
                   E05.;42C;7DIJ>;JH7:?D=FB7J<EHCEF;H7J;:8O-1-H7:?D=EH?JI<<?B?7J;IJ>HEK=>
                   M>?9>J>;,;HL?9;IC7O8;E<<;H;:JE.I;HIJEJH7DI79J?D?=?J7BII;JIM?J>EJ>;H.I;HI 
                   36.A0B??2;0FC;7DI7DO=EL;HDC;DJ?IIK;:D7J?ED7B9KHH;D9O 
                   <?02!.72B?2C2;AC;7DI7DO9?H9KCIJ7D9;DEJM?J>?D7F7HJOIH;7IED78B;9EDJHEB
                   ?D9BK:?D=
                   ?     79JIE< E: <BEE: :HEK=>J ;7HJ>GK7A;EHEJ>;HD7JKH7B:?I7IJ;H
                   ??    ;F?:;C?9EHF7D:;C?9
                   ???   J;HHEH?IJ7JJ79A 9?L?BM7H 9?L?B9ECCEJ?EDEHH?EJI M7H J>H;7JE<EHFH;F7H7J?ED<EH
                            M7H 7HC;:9ED<B?9J ?CFEI?J?EDE<I7D9J?EDI ;C87H=E EH8H;7A?D=E<<E<:?FBEC7J?9
                            H;B7J?EDI
                   ?L    DK9B;7H 9>;C?97BEH8?EBE=?97B9EDJ7C?D7J?EDEHIED?98EEC
                   L     7DOB7MEH7DO79J?EDJ7A;D8O7+;=KB7JEHOKJ>EH?JO ?D9BK:?D=J>;?CFEI?J?EDE<
                            7D;NFEHJEH?CFEHJH;IJH?9J?ED GKEJ7EHFHE>?8?J?ED
                   L?    9EBB7FI;E<8K?B:?D=I <?H; ;NFBEI?EDEH799?:;DJ7D:
                   L??   7DOB78EKHEHJH7:;:?IFKJ; IJH?A;I ?D:KIJH?7B79J?EDEHBE9AEKJIEJ>;HJ>7D?D;79>
                            97I;8OJ>;F7HJOEH?JI<<?B?7J;II;;A?D=JEH;BOEDJ>?I9B7KI; 
                   ((?IJ>;;N9>7D=;JEA;DE<J>;N9>7D=;;9EIOIJ;C7D:?IDEJE<<;H;:?DJ>;.D?J;:
                   ,J7J;IEHJE. , F;HIEDI 




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                   !</692==960.A6<;C;7DI7DOCE8?B;7FFB?97J?ED:;L;BEF;:EHFHEL?:;:8O-1
                   -H7:?D=7D: EH7DOE<?JI<<?B?7J;IJ>HEK=>M>?9>.I;HI97D799;IIJ>;)B7J<EHC 
                   #?12? C;7DI ;79> ?DIJHK9J?ED FB79;: 8O OEK ED J>; (H:;H EEA JE FKH9>7I; EH I;BB 7
                   IF;9?<?;:GK7DJ?JOE<7?=?J7BII;J7J7IF;9?<?;:FH?9;?DJ>;?=?J7BII;J?DM>?9>JH7:?D=
                   ?I:;DEC?D7J;:EDJ>;(H:;HEEAJ>;I;9ED:?=?J7BII;J?D7JH7:?D=F7?H; = .,?D
                   J>;- .,JH7:?D=F7?H 
                   #?12?<<8C;7DIJ>;9;DJH7BB?C?JEH:;H8EEAEF;H7J;:8O-1-H7:?D=EDJ>;)B7J<EHC 
                   =.?A62@C;7DIJ>;F7HJ?;IJEJ>;-;HCI 8;?D=OEK7D:-1-H7:?D=EH M>;H;7FFB?978B; 
                   J>;,;HL?9;)HEL?:;HH;IFEDI?8B;<EHFHEL?:?D=7,F;9?<?;:,;HL?9;JEOEK7IIF;9?<?;:?D7
                   ,;HL?9;,9>;:KB; ?DIE<7H7IJ>7J,F;9?<?;:,;HL?9;?I9ED9;HD;: 7D:=.?AFI>7BBC;7D
                   7DOED;E<J>;<EH;=E?D=7IJ>;9EDJ;NJH;GK?H;I 
                   $2?@<;;29 C;7DI J>; :?H;9JEHI  E<<?9;HI  ;CFBEO;;I  7=;DJI  @E?DJ L;DJKH;HI  7D:
                   9EDJH79JEHIEHIK89EDJH79JEHIE<7F;HIED 
                   &24B9.A<?FBA5<?6AFC;7DI7DO<EH;?=D :EC;IJ?9 IJ7J; <;:;H7B 97DJED7B CKD?9?F7B
                   EHBE97B=EL;HDC;DJ7B ;N;9KJ?L; B;=?IB7J?L; @K:?9?7B 7:C?D?IJH7J?L; IKF;HL?IEHOEH
                   H;=KB7JEHO7KJ>EH?JO 7=;D9O GK7I? =EL;HDC;DJ7B7KJ>EH?JO 9EKHJ 9ECC?II?ED =EL;HDC;DJ
                   EH=7D?I7J?ED I;B< H;=KB7JEHOEH=7D?I7J?ED>7L?D=H;=KB7JEHO7KJ>EH?JO JH?8KD7B 7H8?JH7J?ED
                   JH?8KD7BEHF7D;BEHIKFH7 D7J?ED7BEH=7D?I7J?ED EH7DO:?L?I?EDEH?DIJHKC;DJ7B?JOJ>;H;E< 
                   ?D9BK:?D=7DOJ7N7KJ>EH?JO 
                   '2?C602$?<C612?C;7DIJ>;;DJ?JOIF;9?<?;:?D7,;HL?9;,9>;:KB;7IH;IFEDI?8B;<EH
                   FHEL?:?D=J>;,F;9?<?;:,;HL?9;H;<;HH;:JE?DJ>7J,;HL?9;,9>;:KB; 
                   '2?C602'0521B92C;7DIJ>;,;HL?9;,9>;:KB;II;JEKJ?DJ>;,9>;:KB;IEJ>;HJ>7D
                   J>?I,9>;:KB;JEJ>; ;D;H7B-;HCI 
                   '=2063621'2?C602C;7DI7DOI;HL?9;IF;9?<?;:?D7,;HL?9;,9>;:KB; 
                   A?.;@.0A6<;EHA?.12C;7DI;79>JH7DI79J?EDEHJH7:;97HH?;:EKJEHJE8;97HH?;:EKJ
                   L?7J>;)B7J<EHCH;B7J?D=JE8KO?D= I;BB?D= ;N9>7D=?D= >EB:?D= IJ7A?D= B;D:?D= 
                   8EHHEM?D= I;D:?D= H;9;?L?D=EHEJ>;HM?I;JH7DI79J?D=?D7?=?J7BII;J 
                   )@2?C;7DI7KI;HE<J>;,;HL?9;I ?D9BK:?D=OEK 

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                &232?2;02@A<A52(2?:@.;1<A52?.4?22:2;A@
                   "DJ>;-;HCI ;N9;FJM>;H;J>;9EDJ;NJEJ>;HM?I;H;GK?H;I
                         7H;<;H;D9;JEJ>;-;HCI?D9BK:;I7H;<;H;D9;JEJ>;,;HL?9;,9>;:KB;I7D:7DO
                             EJ>;H,9>;:KB;IJE?J ;79>E<M>?9><EHCIF7HJE<J>;-;HCI
                         7H;<;H;D9;JE7,;9J?EDEH,9>;:KB;EJ>;HJ>7DJE7I9>;:KB;JE7IJ7JKJEHO
                             FHEL?I?ED?I7H;<;H;D9;JE7,;9J?EDEH,9>;:KB;7IJ>;97I;C7O8;E< EHJE 
                             J>;-;HCI7D:H;<;H;D9;JE7F7H7=H7F>?IJE7F7H7=H7F>E<J>;H;B;L7DJ
                             ,9>;:KB;
                         J>;>;7:?D=I7H;<EH9EDL;D?;D9;EDBO7D:I>7BBDEJ7<<;9JJ>;?DJ;HFH;J7J?EDE<J>;
                             -;HCI
                         7H;<;H;D9;JEJ>;-;HCI?D9BK:;IJ>;-;HCI7I7C;D:;:EHIKFFB;C;DJ;:?D
                             799EH:7D9;M?J>?JIJ;HCI7D:
                         7H;<;H;D9;JE7DO7=H;;C;DJEHEJ>;H?DIJHKC;DJEJ>;HJ>7D7D;D79JC;DJEH
                             IJ7JKJEHOFHEL?I?ED?IJEJ>7J7=H;;C;DJEH?DIJHKC;DJ7I<HECJ?C;JEJ?C;
                             7C;D:;: L7H?;: IKFFB;C;DJ;: IK8IJ?JKJ;: DEL7J;:EH7II?=D;:EJ>;HM?I;J>7D
                             ?D8H;79>E<J>;-;HCI 

                '6;4B9.?=9B?.9.;142;12?
                   0EH:I?DJ>;I?D=KB7H?D9BK:;J>;FBKH7B7D:L?9;L;HI77D:7H;<;H;D9;JEED;=;D:;H
                   ?D9BK:;IEJ>;H=;D:;HI 




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                                      63




                &232?2;02@A<=2?@<;@.;10<:=.;62@
                   "DJ>;-;HCI ;N9;FJM>;H;J>;9EDJ;NJEJ>;HM?I;H;GK?H;I
                          7H;<;H;D9;JE7F;HIED?D9BK:;I7H;<;H;D9;JE7DO?D:?L?:K7B <?HC 9ECF7DO 
                              =EL;HDC;DJ IJ7J;EH7=;D9OE<7IJ7J; BE97BEHCKD?9?F7B7KJ>EH?JOEH
                              =EL;HDC;DJ8E:OEH7DO@E?DJL;DJKH; 7IIE9?7J?EDEHF7HJD;HI>?FM>;J>;HEHDEJ
                              >7L?D=I;F7H7J;B;=7BF;HIED7B?JO
                          7H;<;H;D9;JE79ECF7DO?D9BK:;I7DO9ECF7DO 9EHFEH7J?EDEHEJ>;H8E:O
                              9EHFEH7J;M>;H;L;H7D:>EM;L;H?D9EHFEH7J;:EH;IJ78B?I>;:7D:
                          7H;<;H;D9;JE7D?D:?L?:K7B?D9BK:;IJ>7J?D:?L?:K7BI;IJ7J;7D:F;HIED7B
                              H;FH;I;DJ7J?L;I 

                &232?2;02@A<A6:2=2?6<1@
                   "DJ>;-;HCI ;N9;FJM>;H;J>;9EDJ;NJEJ>;HM?I;H;GK?H;I 7DOH;<;H;D9;JE7:7J;EHJ?C;
                   ?I7H;<;H;D9;JEJ>7J:7J;EHJ?C;?DJ>;FH?D9?F7B<?D7D9?7B9;DJH;E<J>;9EKDJHO?DM>?9>J>;
                   H;=?IJ;H;:E<<?9;E<-1-H7:?D=EHJ>;H;B;L7DJ<<?B?7J;E<-1-H7:?D=?IBE97J;: KDB;II
                   EJ>;HM?I;7=H;;:?DMH?J?D= H;<;H;D9;JE7:7OC;7DI7F;H?E:E<>EKHI;D:?D=7J
                   C?:D?=>J DOF;H?E:E<J?C;I>7BB8;97B9KB7J;:;N9BKI?L;E<J>;:7O<HECM>?9>J>;J?C;
                   F;H?E:?I;NFH;II;:JEHKDEHJ>;:7OKFEDM>?9>J>;;L;DJE99KHIM>?9>97KI;IJ>;F;H?E:
                   JEIJ7HJHKDD?D= 

                &232?2;02@A<9246@9.A6<;.;1924.9A2?:@
                   "DJ>;-;HCI ;N9;FJM>;H;J>;9EDJ;NJEJ>;HM?I;H;GK?H;I 7H;<;H;D9;JE7D;D79JC;DJEH
                   IJ7JKJEHOFHEL?I?EDI>7BB?D9BK:;7H;<;H;D9;JE7DOIK8EH:?D7J;B;=?IB7J?EDC7:;KD:;HJ>;
                   H;B;L7DJ;D79JC;DJEHIJ7JKJEHOFHEL?I?ED 7D:?I7H;<;H;D9;JEJ>7J;D79JC;DJ IJ7JKJEHO
                   FHEL?I?EDEHIK8EH:?D7J;B;=?IB7J?ED7I<HECJ?C;JEJ?C;7C;D:;: CE:?<?;: ?D9EHFEH7J;:
                   EHH;FHE:K9;:7D:JE7DO;D79JC;DJ IJ7JKJEHOFHEL?I?EDEHIK8EH:?D7J;B;=?IB7J?EDJ>7J
                   <HECJ?C;JEJ?C;M?J>EHM?J>EKJCE:?<?97J?EDIH; ;D79JI H;FB79;I 9EDIEB?:7J;I 
                   ?D9EHFEH7J;IEHH;FHE:K9;I?J 

                ;09B12@.;16;09B16;4
                   "DJ>;-;HCI ;N9;FJM>;H;J>;9EDJ;NJEJ>;HM?I;H;GK?H;I
                          J>;MEH:I7D:F>H7I;I?D9BK:;I ?D9BK:?D= ?DF7HJ?9KB7HEH7DOJ;HCIE<
                              I?C?B7H;<<;9JI>7BBDEJ8;9EDIJHK;:7I?CFBO?D=7DOB?C?J7J?ED7D:
                          =;D;H7BMEH:II>7BBDEJ8;=?L;D7H;IJH?9J?L;C;7D?D=8;97KI;J>;O7H;
                              FH;9;:;:EH<EBBEM;:8OF7HJ?9KB7H;N7CFB;I 

                (<A522EA2;AA5.A
                   "DJ>;-;HCI ;N9;FJM>;H;J>;9EDJ;NJEJ>;HM?I;H;GK?H;I J>;F>H7I;JEJ>;;NJ;DJJ>7J
                   ?IKI;:JE?D:?97J;7D;B;C;DJE<:;=H;;7D:I>7BBC;7DJEJ>;;NJ;DJJ>7J7D:DEJIEB;BO
                   ?< 7D:I?C?B7H;NFH;II?EDII>7BB8;9EDIJHK;:?DJ>;I7C;M7O 

                +?6A6;4
                   H;<;H;D9;JEMH?J?D=?D9BK:;I7DOCE:;IE<H;FHE:K9?D=MEH:I?D7DOB;=?8B;<EHC7D: 
                   ;N9;FJM>;H;;NFH;IIBOIJ7J;:EJ>;HM?I; I>7BB?D9BK:;;C7?B 
                                                    




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                                                   '&*') 
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              '=2063621'2?C602    '=<A!.?82A


              '=2063621'2?C602    ->;,FEJ&7HA;J?I7JH7:?D=FB7J<EHCJ>HEK=>M>?9>OEK97DIFEJJH7:;
              12@0?6=A6<;          9;HJ7?D?=?J7BII;JIM?J>EJ>;H.I;HI?D;N9>7D=;<EH<?7J9KHH;D9O
                                    :;F;D:?D=EDOEKHBE97J?EDEH?=?J7BII;JI 


              '2?C602$?<C612?     ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O(,
                                    646A.9!.?82A@ A1 7D"DJ;HD7J?ED7BKI?D;IIECF7DO?D9EHFEH7J;:?D
                                    ->;7>7C7I9ECF7DOH;=?IJH7J?EDDKC8;H  JE7BB;B?=?8B;
                                    .I;HIEJ>;HJ>7DF;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<
                                    H;I?:;D9;?DJ>;.D?J;:,J7J;IE<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 


              '=2063621'2?C602    ->;?=?J7BII;JIJ>7J7H;7L7?B78B;<EHIFEJJH7:?D=EDJ>;,FEJ&7HA;J
              @=206360A2?:@6;   7H;B?IJ;:EDJ>;,?J; ->?IB?IJC7O8;7C;D:;:<HECJ?C;JEJ?C;8OJ>;
              .116A6<;A<A52      ,;HL?9;)HEL?:;H7J?JIIEB;:?I9H;J?ED 
              2;2?.9(2?:@
                                    ->;,;HL?9;)HEL?:;HH;I;HL;IJ>;H?=>JJE<?D7B?DJ;HFH;J7J?EDE<J>?I
                                    ,F;9?<?;:,;HL?9; 

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                                                  '&*') 
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              '=2063621'2?C602    '=<A!.?46;(?.16;4


              '=2063621'2?C602    ,FEJ&7H=?D-H7:?D=;D78B;IOEKJEIFEJJH7:;9;HJ7?D?=?J7BII;JIJ>7J
              12@0?6=A6<;          OEK:EDEJ>7L;8OFEIJ?D=9EBB7J;H7B?DJ>;<EHCE<<?7J9KHH;D9O
                                    :;F;D:?D=EDOEKHBE97J?EDEH?=?J7BII;JI>;B:?DOEKH99EKDJ7D:
                                    8EHHEM?D=J>;H;GK?H;:?=?J7BII;JI<HECEJ>;H.I;HI 2EK97DJ>;DIFEJ
                                    JH7:;J>;8EHHEM;:?=?J7BII;JIJ>HEK=>J>;,FEJ&7HA;JEDJ>;
                                    )B7J<EHC 
                                    2EKC7O7BIEB;D:OEKH?=?J7BII;JIJEEJ>;H.I;HIM>ED;;:J>;CJE
                                    IFEJJH7:; 
                                    ?=?J7BII;J8EHHEM;HIF7O7B;D:?D=<;;JE?=?J7BII;JB;D:;HI 

                                    ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O(,
              '2?C602$?<C612?
                                    646A.9!.?82A@ A1 7D"DJ;HD7J?ED7BKI?D;IIECF7DO?D9EHFEH7J;:?D
                                    ->;7>7C7I9ECF7DOH;=?IJH7J?EDDKC8;H  JE7BB;B?=?8B;
                                    .I;HIEJ>;HJ>7DF;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<
                                    H;I?:;D9;?DJ>;.D?J;:,J7J;IE<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 

              '=2063621'2?C602    !$#&("(,;9J?EDE<J>; ;D;H7B-;HCI7FFB?;IJEJ>?II;HL?9; 
              @=206360A2?:@6;
                                    2EKC7O8;7IA;:JEI?=DEJ>;H:E9KC;DJI?DIEC;97I;I?DH;B7J?EDJE
              .116A6<;A<A52
                                    ,FEJ&7H=?D-H7:?D= ?D9BK:?D=8KJDEJB?C?J;:JEJ>;-1"DIJ?JKJ?ED7B
              2;2?.9(2?:@
                                    KIJEC;H&7H=?D7D:%?D;E<H;:?J=H;;C;DJ 
                                    ->;,;HL?9;)HEL?:;H7D:?JI<<?B?7J;IC7O ?D?JIIEB;:?I9H;J?ED F;H<EHC
                                    C;7IKH;IJEC?J?=7J;FEJ;DJ?7BBEII;IJEOEKEDOEKH8;>7B< EHJEEJ>;H
                                    .I;HI ,K9>C;7IKH;I?D9BK:;7JJ;CFJI8OJ>;)B7J<EHCIH?IA;D=?D;JE
                                    B?GK?:7J;7DO.I;HI8;<EH;J>;O9EKB:=;J7D;=7J?L;D;J99EKDJ87B7D9; 
                                    .I?D=IFEJC7H=?DJH7:?D=J>;H;<EH;EF;DIOEKKFJEB?GK?:7J?EDH?IA 
                                    ->;,;HL?9;)HEL?:;HC7O?CFEI;C7H=?DFEI?J?EDB?C?JIEH:;9H;7I?D=
                                    9EBB7J;H7BEDB7H=;FEI?J?EDIE<?BB?GK?:9E?DI 
                                    ->;?=?J7BII;JIJ>7J7H;7L7?B78B;<EH8EHHEM?D= B;D:?D=7H;B?IJ;:ED
                                    J>;,?J; ->?IB?IJC7O8;7C;D:;:<HECJ?C;JEJ?C;8OJ>;,;HL?9;
                                    )HEL?:;H7J?JIIEB;:?I9H;J?ED 
                                    ?=?J7BII;JIJ>7J7H;B;DJJEEJ>;H.I;HI7H;;<<;9J?L;BOBE9A;: 7D:
                                    97DDEJ8;M?J>:H7MD IEB: KI;:7I9EBB7J;H7B IJ7A;: ;J9 !EM;L;H J>;O
                                    97D8;KI;:7IC7?DJ;D7D9;C7H=?DJEFH;L;DJB?GK?:7J?EDI 
                                    ->;,;HL?9;)HEL?:;HH;I;HL;IJ>;H?=>JJE<?D7B?DJ;HFH;J7J?EDE<J>?I
                                    ,F;9?<?;:,;HL?9; 




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                                      63




              &6@816@09<@B?2@   &7H=?DJH7:?D=C7ODEJ8;IK?J78B;<EH7BB.I;HI7D:I>EKB:EDBO8;KI;:
                                   8OJ>EI;M>EKD:;HIJ7D:J>;H?IAI BIEI;;,;9J?ED E<J>; ;D;H7B
                                   -;HCI 
                                   -!,+/")+(/"+'"-,"%"-,('(--$'2
                                   +,)(',""%"-20!-,(/+(+'2%(,,,(+& 
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                                   ,+/",(+('-!)%-(+&(+2(.+"%.+-(
                                   .'+,-'-!+",$,,,("-0"-!&+ "'-+"' 

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              '=2063621'2?C602    #(#332E05.;42$<?A.9#$$<?A.9


              '=2063621'2?C602    ->;())EHJ7B;D78B;IOEKJE9EDD;9JM?J>EJ>;H.I;HIJEH;GK;IJ
              12@0?6=A6<;          GKEJ;I<EHIFEJ?=?J7BII;JI "DH;IFEDI;JE7H;GK;IJ<EH7GKEJ; EJ>;H
                                    .I;HIM?BBH;JKHDFH?9;IE<<;H;:8OJ>;C?DH;IF;9JE<J>;?=?J7BII;JI
                                    7D:OEKC7O:;9?:;M>;J>;HEHDEJOEKM?I>JEJH7:;7JJ>;FH?9;E<<;H;:
                                    8OJ>;EJ>;H.I;H <<?B?7J;IE<-1-H7:?D=C7OF7HJ?9?F7J;EDJ>;()
                                    )EHJ7B7I.I;HI7D:;N;9KJ;JH7:;I7IFH?D9?F7BM?J>EJ>;H.I;HI ED
                                    J;HCIDECEH;<7LEKH78B;JEIK9><<?B?7J;J>7DJ;HCIE<<;H;:JEEJ>;H
                                    I?C?B7HBOI?JK7J;:.I;HI "<OEK7=H;; J>;JH7:;?I9ED<?HC;: 7D:OEKM?BB
                                    JH7:;:?H;9JBOM?J>J>;EJ>;H.I;H ->;,;HL?9;)HEL?:;HM?BB97HHOEKJFEIJ
                                    JH7:;9B;7H?D=7D:I;JJB;C;DJE<J>;JH7:;8;JM;;DOEK7D:J>;EJ>;H
                                    .I;H 

                                    ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O(,
              '2?C602$?<C612?
                                    646A.9!.?82A@ A1 7D"DJ;HD7J?ED7BKI?D;IIECF7DO?D9EHFEH7J;:?D
                                    ->;7>7C7I9ECF7DOH;=?IJH7J?EDDKC8;H  JE7BB;B?=?8B;
                                    .I;HIEJ>;HJ>7DF;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<
                                    H;I?:;D9;?DJ>;.D?J;:,J7J;IE<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 

              '=2063621'2?C602    ->;,;HL?9;)HEL?:;HI>7BB>7L;DEB?78?B?JO?DH;B7J?EDJEOEKHKI;E<J>;
              @=206360A2?:@6;   ())EHJ7BEH<EH7DOJH7:;IJ>7JOEK;DJ;H?DJEM?J>EJ>;H.I;HIJ>7JOEK
              .116A6<;A<A52      9EDD;9JM?J>J>HEK=>J>;())EHJ7B 
              2;2?.9(2?:@
                                    ->;,;HL?9;)HEL?:;HH;I;HL;IJ>;H?=>JJE<?D7B?DJ;HFH;J7J?EDE<J>?I
                                    ,F;9?<?;:,;HL?9; 

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            '=2063621'2?C602    BAB?2@!.?82A


            '=2063621'2?C602    ->;KJKH;I&7HA;J?I7JH7:?D=FB7J<EHCEDM>?9>OEK97DJH7:;*K7HJ;HBO
            12@0?6=A6<;          KJKH;IEDJH79JI7D:);HF;JK7BKJKH;IEDJH79JI9EBB;9J?L;BO BAB?2@
                                  <;A?.0A@ED9;HJ7?D?=?J7BII;JI7D:?=?J7BII;J?D:;N;IM?J>EJ>;H
                                  .I;HI M?J>EHM?J>EKJB;L;H7=; 

                                  ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O(,
            '2?C602$?<C612?
                                  646A.9!.?82A@ A1 7D"DJ;HD7J?ED7BKI?D;IIECF7DO?D9EHFEH7J;:?D
                                  ->;7>7C7I9ECF7DOH;=?IJH7J?EDDKC8;H  JE7BB;B?=?8B;
                                  .I;HIEJ>;HJ>7DF;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<
                                  H;I?:;D9;?DJ>;.D?J;:,J7J;IE<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 

            '=2063621'2?C602    *K7HJ;HBOKJKH;IEDJH79JIH;FH;I;DJE8B?=7J?EDIJE8KOEHI;BB7?=?J7B
            @=206360A2?:@6;   II;J7J7IF;9?<?9FH?9; ED7IF;9?<?;:<KJKH;:7J; *K7HJ;HBOKJKH;I
            .116A6<;A<A52      EDJH79JI;NF?H;JE7J?C; M;?=>J;:7L;H7=;FH?9;(+$E<J>;?H
            2;2?.9(2?:@       7IIE9?7J;:?D:;NEDJ>;B7IJH?:7OE<;L;HOGK7HJ;H8;JM;;D7C7D:
                                  7C.- "<OEK>EB:7D;NF?H?D=FEI?J?ED OEKM?BB8;9H;:?J;:M?J>.,
                                  FHE<?J7D:BEII;GK7BJEJ>;;NF?H7J?EDFH?9;I>EHJBO7<J;H 
                                  );HF;JK7BKJKH;IEDJH79JIH;FH;I;DJE8B?=7J?EDIJE8KOEHI;BB7?=?J7B
                                  II;J7J7IF;9?<?9FH?9; 7J7DOJ?C;M>?B;J>;9EDJH79JH;C7?DIEF;D 
                                  );HF;JK7BKJKH;IEDJH79JI:EDEJ>7L;7D;NF?HO:7J;8KJ?DIJ;7: 
                                  9EDJ?DKEKIBOHEBBEL;H ? ; ;L;HO>EKH ;79>F;HF;JK7B<KJKH;I9EDJH79J>7I
                                  7<KD:?D=F7OC;DJM>;H;BED=IF7OI>EHJI;GK7BJE>EKH-0)E<
                                  )H;C?KC  
                                  2EK97DJH7:;KJKH;IEDJH79JIEDJ>;KJKH;I&7HA;J8OFEIJ?D=
                                  9EBB7J;H7B?DJ>;<EHCE<<?7J9KHH;D9O:;F;D:?D=EDOEKH@KH?I:?9J?ED7D:
                                  ?=?J7BII;JIJE9EL;H?D?J?7B7D:C7?DJ;D7D9;C7H=?D 
                                  "DIJ;7:E<:;B?L;HOE<J>;KD:;HBO?D=?=?J7BII;J OEKHFHE<?JEHBEII?I
                                  I;JJB;:?DIJ78B;9E?DI 
                                  !$#&("(,;9J?EDE<J>; ;D;H7B-;HCI7FFB?;IJEJ>?II;HL?9; 
                                  KJKH;IEDJH79JI7H;ECFB;N)HE:K9JI7D:J>;JH7:?D=E<KJKH;I
                                  EDJH79JI?I>?=>H?IA ->;C7HA;JFH?9;E<7DOKJKH;IEDJH79JC7ODEJ
                                  H;<B;9JJ>;FH?9;E<IFEJC7HA;JI?DJ>;7FFB?978B;KD:;HBO?D=?=?J7BII;JI
                                  7D:C7O<BK9JK7J;I?=D?<?97DJBO?DH;IFEDI;JEJ>;L7BK;E<J>;KD:;HBO?D=
                                  ?=?J7BII;JTIIFH?9; IKFFBO7D::;C7D: 7D:EJ>;HC7HA;J<79JEHI 
                                  "DEH:;HJEJH7:;KJKH;IEDJH79JIEDJ>;KJKH;I&7HA;J OEKCKIJFEIJ
                                  9EBB7J;H7B ;F;D:?D=EDC7HA;JCEL;C;DJI OEKHFEI?J?EDIC7O8;
                                  B?GK?:7J;: 7D:OEKC7OIKIJ7?D7JEJ7BBEIIE<J>;II;JI?DOEKH99EKDJ 
                                  ->?I?I8;97KI;KJKH;IEDJH79JJH7:?D=97D8;>?=>BOB;L;H7=;: M?J>7
                                  H;B7J?L;BOIC7BB7CEKDJE<<KD:IKI;:JE;IJ78B?I>7FEI?J?ED?D7?=?J7B
                                  II;JEH?D:;N>7L?D=7CK9>=H;7J;HL7BK; EH?DIJ7D9; 7IC7BBFH?9;
                                  :;9H;7I;ED7 NB;L;H7=;:KJKH;IEDJ79JTIKD:;HBO?D=?=?J7BII;J
                                  9EKB:H;IKBJ?D NBEII?DOEKHB;L;H7=;:FEI?J?ED?DJ>;KJKH;IEDJH79J 
                                  KHJ>;H I>EHJFEI?J?EDIM?BBBEI;CED;OM>;DJ>;FH?9;E<J>;KD:;HBO?D=




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                                      63




                                 ?=?J7BII;JH?I;I 7H;IKBJJ>7J?IEFFEI?J;<HEC>EB:?D=J>;KD:;HBO?D=
                                 ?=?J7BII;J 
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                                 OJH7:?D=?DKJKH;IEDJH79JIEDJ>;KJKH;I&7HA;JEDJ>;)B7J<EHC 
                                 OEK79ADEMB;:=;7D:7=H;;J>7JOEK>7L;IK<<?9?;DJ?DL;IJC;DJ
                                 ADEMB;:=; <?D7D9?7B;NF;HJ?I; 7D:;NF;H?;D9;7D:J>;97F79?JOJEJ7A;
                                 EDJ>;?D9H;7I;:H?IAI7H?I?D=<HECKJKH;IEDJH79JJH7:?D= 2EK<KHJ>;H
                                 7=H;;JE?D:;F;D:;DJBO7IIKC;7BBJ>;H?IAI7H?I?D=<HEC9ED:K9J?D=
                                 KJKH;IEDJH79JJH7:?D=EDOEKHEMD799EKDJ "<OEK7H;KD9EC<EHJ78B;
                                 M?J>J>?IB;L;BE<H?IA OEKI>EKB:DEJJH7:;KJKH;IEDJH79JI 
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                                 ->;,;HL?9;)HEL?:;HH;I;HL;IJ>;H?=>JJE<?D7B?DJ;HFH;J7J?EDE<J>?I
                                 ,F;9?<?;:,;HL?9; 


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            '=2063621'2?C602    ->;/EB7J?B?JO&7HA;J?I7JH7:?D=FB7J<EHCEDM>?9>OEK97DJH7:;7BB
            12@0?6=A6<;          (FJ?EDIEH)KJ(FJ?EDI9EBB;9J?L;BO #=A6<;@<;A?.0A@ED9;HJ7?D
                                  ?=?J7BII;JIM?J>EJ>;H.I;HI M?J>EHM?J>EKJB;L;H7=; 

                                  ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O(,
            '2?C602$?<C612?
                                  646A.9!.?82A@ A1 7D"DJ;HD7J?ED7BKI?D;IIECF7DO?D9EHFEH7J;:?D
                                  ->;7>7C7I9ECF7DOH;=?IJH7J?EDDKC8;H  JE7BB;B?=?8B;
                                  .I;HIEJ>;HJ>7DF;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<
                                  H;I?:;D9;?DJ>;.D?J;:,J7J;IE<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 

            '=2063621'2?C602    (FJ?EDIEDJH79JI=?L;OEKJ>;EFJ?ED? ; J>;H?=>J 8KJDEJJ>;
            @=206360A2?:@6;   E8B?=7J?ED JE;?J>;H8KO7BB(FJ?EDEHI;BB)KJ(FJ?ED?=?J7BII;JI
            .116A6<;A<A52      <EH7IF;9?<?9FH?9;J>;IJH?A;EH;N;H9?I;FH?9;ED7IF;9?<?;:;NF?HO:7J; 
            2;2?.9(2?:@
                                  "< 7JJ>;;NF?H7J?EDE<77BB(FJ?ED J>;C7HA;JFH?9;E<J>;KD:;HBO?D=
                                  ?=?J7BII;J?I>?=>;HJ>7DJ>;IJH?A;FH?9; J>;,;HL?9;)HEL?:;HM?BB
                                  7KJEC7J?97BBO;N;H9?I;J>;EFJ?ED7D:9H;:?JOEKH99EKDJM?J>J>;
                                  :?<<;H;D9;8;JM;;DJ>;C7HA;JFH?9;7D:J>;IJH?A;FH?9; "<J>;C7HA;J
                                  FH?9;?IBEM;H J>;EFJ?ED;NF?H;IJE.,        "DJ>;97I;E<)KJ(FJ?EDI 
                                  J>;H;L;HI;7FFB?;I 
                                  2EK97DJH7:;(FJ?EDIEDJH79JIEDJ>;/EB7J?B?JO&7HA;J8OFEIJ?D=
                                  9EBB7J;H7B?D<?7J9KHH;D9O:;F;D:?D=EDOEKHBE97J?ED7D:?=?J7BII;JI 
                                  JE9EL;H?D?J?7B7D:C7?DJ;D7D9;C7H=?D 
                                  "DIJ;7:E<:;B?L;HOE<J>;KD:;HBO?D=?=?J7BII;JEDJ>;IF;9?<?;:;NF?HO
                                  :7J; OEKHFHE<?JEHBEII?II;JJB;:?DIJ78B;9E?DI 
                                  !$#&("(,;9J?EDE<J>; ;D;H7B-;HCI7FFB?;IJEJ>?II;HL?9; 
                                  ->;(FJ?EDIEDJH79JIEDJ>;/EB7J?B?JO&7HA;J7H;KHEF;7DIJOB; ->?I
                                  C;7DIJ>7JOEKM?BBDEJ8;78B;JE;N;H9?I;J>;EFJ?ED8;<EH;J>;IF;9?<?;:
                                  ;NF?HO:7J; 
                                  ->;(FJ?EDIEDJH79JI7KJE ;NF?H; M>?9>C;7DIJ>7JJ>;,;HL?9;
                                  )HEL?:;HM?BB7KJEC7J?97BBO;N;H9?I;7BBEFJ?EDI?DJ>;CED;O7D:DE
                                  EFJ?EDIEKJE<J>;CED;O 
                                  ->;(FJ?EDIEDJH79JI;NF?H;EDJ>;?HIF;9?<?;:;NF?HO:7J;7J  &
                                  .- ->;;NF?H7J?EDFH?9;E<J>;KD:;HBO?D=?=?J7BII;J?I87I;:ED7
                                  >EKH-0)E<J>;KD:;HBO?D=?D:;NJ>;>EKH8;<EH;;NF?H7J?ED 
                                  (FJ?EDIEDJH79JI7H;ECFB;N)HE:K9JI7D:J>;JH7:?D=E<(FJ?EDI
                                  EDJH79JI?I>?=>H?IA "DEH:;HJEJH7:;(FJ?EDIEDJH79JIEDJ>;/EB7J?B?JO
                                  &7HA;J OEKCKIJFEIJ9EBB7J;H7B ;F;D:?D=EDC7HA;JCEL;C;DJI OEKH
                                  FEI?J?EDIC7O8;B?GK?:7J;: 7D:OEKC7OIKIJ7?D7JEJ7BBEIIE<J>;
                                  II;JI?DOEKH99EKDJ ->?I?I8;97KI;(FJ?EDIEDJH79JJH7:?D=?I>?=>BO
                                  B;L;H7=;: M?J>7H;B7J?L;BOIC7BB7CEKDJE<<KD:IKI;:JE;IJ78B?I>7
                                  FEI?J?ED?D7?=?J7BII;J>7L?D=7CK9>=H;7J;HL7BK; 
                                  "<OEK7H;KD9EC<EHJ78B;M?J>J>?IB;L;BE<H?IA OEKI>EKB:DEJJH7:;
                                  (FJ?EDIEDJH79JI 




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                                   ->;,;HL?9;)HEL?:;HH;I;HL;IJ>;H?=>JJE<?D7B?DJ;HFH;J7J?EDE<J>?I
                                   ,F;9?<?;:,;HL?9; 


              &6@816@09<@B?2@   ,;;,;9J?EDE<J>; ;D;H7B-;HCI 

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                                                '&*') 
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            '=2063621'2?C602    *<9.A696AF!.?82A!#**<9.A696AF<;A?.0A@


            '=2063621'2?C602    ->;/EB7J?B?JO&7HA;J?I7JH7:?D=FB7J<EHCEDM>?9>OEK97DJH7:;7?BO
            12@0?6=A6<;          &(//EB7J?B?JOEDJH79JI 0;;ABO&(//EB7J?B?JOEDJH79JI7D:
                                  *K7HJ;HBO&(//EB7J?B?JOEDJH79JI9EBB;9J?L;BO !#**<9.A696AF
                                  <;A?.0A@M?J>EJ>;H.I;HI M?J>EHM?J>EKJB;L;H7=; 

                                  ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O(,
            '2?C602$?<C612?
                                  646A.9!.?82A@ A1 7D"DJ;HD7J?ED7BKI?D;IIECF7DO?D9EHFEH7J;:?D
                                  ->;7>7C7I9ECF7DOH;=?IJH7J?EDDKC8;H  JE7BB;B?=?8B;
                                  .I;HIEJ>;HJ>7DF;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<
                                  H;I?:;D9;?DJ>;.D?J;:,J7J;IE<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 

            '=2063621'2?C602    &(//EB7J?B?JOEDJH79JIH;FH;I;DJJ>;78IEBKJ;L7BK;E<J>;7CEKDJ7
            @=206360A2?:@6;   ?=?J7BII;JCEL;I?D7F;H?E:E<J?C; ? ; 7:7O M;;AEHGK7HJ;H 
            .116A6<;A<A52
                                  &(//EB7J?B?JOEDJH79JI;NF?H;JEJ>;78IEBKJ;L7BK;E<J>;:?<<;H;D9;
            2;2?.9(2?:@
                                  8;JM;;DJ>;-0)FH?9;E<J>;KD:;HBO?D=?=?J7BII;JEL;HJ>;<?HIJ>EKH
                                  7D:J>;-0)FH?9;E<J>;KD:;HBO?D=?=?J7BII;JEL;HJ>;B7IJ>EKHE<
                                  J>;?H;NF?H7J?EDJ?C; C;7IKH;:?D.- 
                                      7?BO&(//EB7J?B?JOEDJH79JI;NF?H;JEJ>;CEL;C;DJE<-
                                        EL;H7I?D=B;:7OIF;H?E: ->;?HJ?9A;H?I4KD:;HBO?D=5 &(/
                                        4;NF?H7J?ED:7J;5; = - &(/ ?IJ>;- &(//EB7J?B?JO
                                        EDJH79J;NF?H?D=7JJ>;;D:E<'EL;C8;H.- 
                                      0;;ABO&(//EB7J?B?JOEDJH79JI;NF?H;JEJ>;CEL;C;DJE<-
                                        EL;H7:7OF;H?E: ->;?HJ?9A;H?I4KD:;HBO?D=5 &(/ 0$
                                        4;NF?H7J?ED:7J;5; = - &(/ 0$ ;NF?H;IJEJ>;7CEKDJ
                                        J>7J-CEL;I8;JM;;DJ>;IJ7HJE<'EL;C8;H7D:J>;;D:E<
                                        'EL;C8;H 
                                      *K7HJ;HBO&(//EB7J?B?JOEDJH79JI;NF?H;JEJ>;CEL;E<-
                                        EL;H7HEK=>BOCEDJ>F;H?E: ->;?HJ?9A;H?I4KD:;HBO?D=5 &(/
                                        4;NF?H7J?EDO;7H5*4GK7HJ;HDKC8;H5; = - &(/   *
                                        ;NF?H;IJEJ>;7CEKDJJ>7J-CEL;I:KH?D=*  <HEC
                                        &7H9>  JE#KD;  
                                  2EK97DJH7:;&EL;/EB7J?B?JOEDJH79JIEDJ>;/EB7J?B?JO&7HA;J8OFEIJ?D=
                                  9EBB7J;H7B?DJ>;<EHCE<<?7J9KHH;D9O:;F;D:?D=EDOEKHBE97J?ED7D:
                                  ?=?J7BII;JIJE9EL;H?D?J?7B7D:C7?DJ;D7D9;C7H=?D 
                                  !$#&("(,;9J?EDE<J>; ;D;H7B-;HCI7FFB?;IJEJ>?II;HL?9; 
                                  &(//EB7J?B?JOEDJH79JI7H;ECFB;N)HE:K9JI7D:J>;JH7:?D=E<
                                  &(//EB7J?B?JOEDJH79JI?I>?=>H?IA "DEH:;HJEJH7:;&(//EB7J?B?JO
                                  EDJH79JIEDJ>;/EB7J?B?JO&7HA;J OEKCKIJFEIJ9EBB7J;H7B ;F;D:?D=ED
                                  C7HA;JCEL;C;DJI OEKHFEI?J?EDIC7O8;B?GK?:7J;: 7D:OEKC7O
                                  IKIJ7?D7JEJ7BBEIIE<J>;II;JI?DOEKH99EKDJ ->?I?I8;97KI;&(/
                                  /EB7J?B?JOEDJH79JJH7:?D=?I>?=>BOB;L;H7=;: M?J>7H;B7J?L;BOIC7BB
                                  7CEKDJE<<KD:IKI;:JE;IJ78B?I>7FEI?J?ED?D7?=?J7BII;J>7L?D=7
                                  CK9>=H;7J;HL7BK; 




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                                  "<OEK7H;KD9EC<EHJ78B;M?J>J>?IB;L;BE<H?IA OEKI>EKB:DEJJH7:;
                                  &(//EB7J?B?JOEDJH79JI 
                                  -!,+/")+(/"+'"-,"%"-,('(--$'2
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                                  .'+,-'-!+",$,,,("-0"-!&(//(%-"%"-2
                                  ('-+-,-+"' 
                                  ->;,;HL?9;)HEL?:;HH;I;HL;IJ>;H?=>JJE<?D7B?DJ;HFH;J7J?EDE<J>?I
                                  ,F;9?<?9,;HL?9; 


            &6@816@09<@B?2@   ,;;,;9J?EDE<J>; ;D;H7B-;HCI 

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            '=2063621'2?C602     2C2?.421(<82;@'=<A!.?82A


            '=2063621'2?C602    ->;%;L;H7=;:-EA;DI&7HA;J?I7JH7:?D=FB7J<EHCEDM>?9>OEK97D
            12@0?6=A6<;          IFEJJH7:;%;L;H7=;:-EA;DIED9;HJ7?D?=?J7BII;JIM?J>EJ>;H.I;HI 


            '2?C602$?<C612?     ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O(,
                                  (?.16;4 A1 79ECF7DO?D9EHFEH7J;:7D:H;=?IJ;H;:?DDJ?=K77D:
                                  7H8K:79ECF7DODKC8;H  JE7BB;B?=?8B;.I;HIEJ>;HJ>7D
                                  F;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<H;I?:;D9;?DJ>;
                                  .D?J;:,J7J;IE<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 


            '=2063621'2?C602    %;L;H7=;:-EA;DI7H;+  :?=?J7BJEA;DI?IIK;:8O%-7IA;JI%J: 
            @=206360A2?:@6;   7D<<?B?7J;E<-1-H7:?D= 79>%;L;H7=;:-EA;D>7I7D7IIE9?7J;:
            .116A6<;A<A52      799EKDJEDJ>;)B7J<EHCJ>7JJ7A;IB;L;H7=;:FEI?J?EDIED);HF;JK7B
            2;2?.9(2?:@       KJKH;IEDJH79JIED7DKD:;HBO?D=?=?J7BII;JEH?=?J7BII;J?D:;N
                                  9EBB;9J?L;BO);12?9F6;47D:97D8;9H;7J;:EHH;:;;C;:<EH?JII>7H;
                                  E<J>;?=?J7BII;JIE<J>7J799EKDJ 
                                  %;L;H7=;:-EA;DII;;A8KJKD:;HDE9?H9KCIJ7D9;I=K7H7DJ;;:7?BO
                                  H;IKBJI 8;<EH;<;;I7D:;NF;DI;I J>7J9EHH;IFED:JE EHN
                                  .%%   EH N!  EH  EH N+E<J>;:7?BO
                                  H;JKHDE<J>;.D:;HBO?D=?D. , EBB7HI<EH7I?D=B;:7O DEJ<EH7DOEJ>;H
                                  F;H?E: %;L;H7=;:-EA;DIH;JKHDI<EH7F;H?E:BED=;HJ>7D7I?D=B;:7O
                                  M?BB8;J>;H;IKBJE<?JIH;JKHD<EH;79>:7O 9ECFEKD:;:EL;HJ>7JF;H?E: 
                                  7D:9EKB::?<<;H?D7CEKDJ7D::?H;9J?ED<HECJ>;H;JKHDE<J>;.D:;HBO?D=
                                  EL;HJ>;I7C;F;H?E: 
                                  %;L;H7=;:-EA;DIH;JKHDIC7O7BIE:;L?7J;<HEC;NF;9J;:H;JKHDI?D7
                                  F;H?E:I>EHJ;HJ>7D7I?D=B;:7O<EHH;7IEDI?D9BK:?D= 8KJDEJB?C?J;:JE 
                                  I9>;:KB;:EHKDI9>;:KB;:H;87B7D9?D= ,9>;:KB;:H;87B7D9?D=E99KHI
                                  ED9;:7?BO?DEH:;HJEC7?DJ7?DJ>;%;L;H7=;:-EA;DI?DJ;D:;:;NFEIKH;
                                  JEJ>;C7HA;JFH?9;E<J>;.D:;HBO?D= .DI9>;:KB;:H;87B7D9?D=C7O
                                  E99KH <EH;N7CFB; ?<J>;C7HA;JFH?9;E<J>;.D:;HBO?D=CEL;ICEH;J>7D
                                   ?D;?J>;H:?H;9J?EDM?J>?D7I?D=B;:7O?DEH:;HJEC7?DJ7?DJ>;
                                  %;L;H7=;:-EA;DI?DJ;D:;:H;JKHDI 
                                  %;L;H7=;-EA;DI7H;ECFB;N)HE:K9JI 7D:J>;JH7:?D=E<%;L;H7=;:
                                  -EA;DI?I>?=>H?IA ->;C7HA;JFH?9;E<7DO%;L;H7=;:-EA;DC7ODEJ
                                  H;<B;9JJ>;FH?9;E<IFEJC7HA;JI?DJ>;7FFB?978B;.D:;HBO?D=7D:C7O
                                  <BK9JK7J;I?=D?<?97DJBO?DH;IFEDI;JEJ>;L7BK;E<J>;.D:;HBO?D=TIFH?9; 
                                  IKFFBO7D::;C7D: 7D:EJ>;HC7HA;J<79JEHI 
                                  %;L;H7=;:-EA;DIH;:K9;J>;H?IAE<B?GK?:7J?ED7I9ECF7H;:JEKJKH;I
                                  EDJH79JI<EH;N7CFB;8KJ?J?IIJ?BBFEII?8B;J>7JB?GK?:7J?EDC7OE99KH?<
                                  C7HA;JI?DIJ7DJ7D;EKIBO=7F:EMD  J>;H;?IDEJ>?D=J>7J97DIJEF7
                                  NB;L;H7=;:FEI?J?ED<HEC=;JJ?D=B?GK?:7J;: 
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                                 OJH7:?D=?D%;L;H7=;:-EA;DIEDJ>;)B7J<EHC OEK79ADEMB;:=;7D:
                                 7=H;;J>7JOEK>7L;IK<<?9?;DJ?DL;IJC;DJADEMB;:=; <?D7D9?7B;NF;HJ?I; 
                                 7D:;NF;H?;D9;7D:J>;97F79?JOJEJ7A;EDJ>;?D9H;7I;:H?IAI7H?I?D=
                                 <HEC%;L;H7=;:-EA;DIJH7:?D= 2EK<KHJ>;H7=H;;JE?D:;F;D:;DJBO
                                 7IIKC;7BBJ>;H?IAI7H?I?D=<HEC9ED:K9J?D=%;L;H7=;:-EA;DIJH7:?D=ED
                                 OEKHEMD799EKDJ 

                                 "<OEK7H;KD9EC<EHJ78B;M?J>J>?IB;L;BE<H?IA OEKI>EKB:DEJJH7:;
                                 %;L;H7=;:-EA;DI 

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                                 ->;,;HL?9;)HEL?:;HH;I;HL;IJ>;H?=>JJE<?D7B?DJ;HFH;J7J?EDE<J>?I
                                 ,F;9?<?9,;HL?9; 

                                 %;L;H7=;:-EA;DI:EDEJH;GK?H;.I;HIJEJH7:;EDC7H=?D !EM;L;H 
            +?IA:?I9BEIKH;I
                                 J>;OH;C7?DIK8@;9JJE9;HJ7?DH?IAIJ>7JOEKI>EKB:KD:;HIJ7D:8;<EH;
                                 JH7:?D=%;L;H7=;:-EA;DI ?D9BK:?D=8KJDEJB?C?J;:JE

                                 x   !.?82A=?602C.?6.;02?6@8!EB:;HI8KO7D:I;BB%;L;H7=;:-EA;DI
                                      ?DJ>;I;9ED:7HOC7HA;J7JC7HA;JFH?9;I M>?9>C7O8;:?<<;H;DJ<HEC
                                      J>;L7BK;E<J>;.D:;HBO?D= ->;C7HA;JFH?9;<EH7%;L;H7=;:-EA;D
                                      M?BB<BK9JK7J;?DH;IFEDI;JE9>7D=;I?DJ>;L7BK;E<J>;%;L;H7=;:
                                      -EA;DTI>EB:?D=I IKFFBO7D::;C7D:<EHJ>;%;L;H7=;:-EA;D7D:
                                      EJ>;HC7HA;J<79JEHI 

                                 x   ;C2?@20<??29.A6<;?6@8!EB:;HIE<%;L;H7=;:-EA;DIJ>7JJ7H=;J7D
                                      ?DL;HI;H;JKHDM?BBBEI;CED;OM>;DJ>;FH?9;E<J>;.D:;HBO?D=H?I;I 
                                      7H;IKBJJ>7J?IEFFEI?J;<HEC>EB:?D=J>;.D:;HBO?D= 

                                 x   $<?A3<96<AB?;<C2??6@8%;L;H7=;:-EA;DIC7O?D9KH>?=>FEHJ<EB?E
                                      JKHDEL;HJEC7D7=;J>;;NFEIKH;JEJ>;.D:;HBO?D= ::?J?ED7BBO 
                                      79J?L;C7HA;JJH7:?D=E<7%;L;H7=;:-EA;DTI>EB:?D=C7O97KI;
                                      CEH;<H;GK;DJ9H;7J?EDEHH;:;CFJ?ED79J?L?J?;IJ>7J9EKB: ?D9;HJ7?D
                                      9?H9KCIJ7D9;I ?D9H;7I;J>;DKC8;HE<FEHJ<EB?EJH7DI79J?EDI !?=>
                                      B;L;BIE<JH7DI79J?EDI?D9H;7I;JH7DI79J?ED9EIJI 79>E<J>;I;
                                      <79JEHI9EKB:>7L;7D;=7J?L;?CF79JEDJ>;F;H<EHC7D9;E<7
                                      %;L;H7=;:-EA;D 

                                 x   ;A2?2@A?.A2@%;L;H7=;:-EA;DIJ7A;FEI?J?EDI?D);HF;JK7BKJKH;I
                                      EDJH79JIJE79>?;L;J>;?H:;I?H;:B;L;H7=; ->;I;);HF;JK7BKJKH;I
                                      EDJH79JIC?=>JJH7:;7J7FH;C?KCEH:?I9EKDJJEIFEJC7HA;JI?DJ>;
                                      7FFB?978B;.D:;HBO?D=7I7H;<B;9J?EDE<FH;L7?B?D=?DJ;H;IJH7J;I?D
                                      9HOFJE9KHH;D9OC7HA;JI ->KI 7%;L;H7=;:-EA;D9EKB:EKJF;H<EHC
                                      EHKD:;HF;H<EHCJ>;.D:;HBO?D=TIIFEJC7HA;JH;JKHDI:K;JE7
                                      :?L;H=;D9;8;JM;;DJ>;JMEC7HA;JI 

                                                 




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                                                  '&*') 
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              '=2063621'2?C602    *<9.A696AF!.?82A*# 6*# (<82;@


              '=2063621'2?C602    ->;/EB7J?B?JO&7HA;J?I7JH7:?D=FB7J<EHCEDM>?9>OEK97DJH7:;/(%
              12@0?6=A6<;          -EA;DI7D:?/(%-EA;DI9EBB;9J?L;BO *# 6*# (<82;@M?J>
                                    EJ>;H.I;HI M?J>EHM?J>EKJB;L;H7=; 


              '2?C602$?<C612?     ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O(,
                                    (?.16;4 A1 79ECF7DO?D9EHFEH7J;:7D:H;=?IJ;H;:?DDJ?=K77D:
                                    7H8K:79ECF7DODKC8;H  JE7BB;B?=?8B;.I;HIEJ>;HJ>7D
                                    F;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<H;I?:;D9;?DJ>;
                                    .D?J;:,J7J;IE<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 


              '=2063621'2?C602    /(% ?/(%-EA;DI7H;+  :?=?J7BJEA;DI?IIK;:8O%-7IA;JI
              @=206360A2?:@6;   %J: 7D<<?B?7J;E<-1-H7:?D= 79>/(% ?/(%-EA;D>7I7D
              .116A6<;A<A52      7IIE9?7J;:799EKDJEDJ>;)B7J<EHCJ>7J>EB:I&(//EB7J?B?JOEDJH79JI
              2;2?.9(2?:@       7D:);HF;JK7BKJKH;IEDJH79JIED-9EBB;9J?L;BO );12?9F6;4 ?D
                                    7D7JJ;CFJJEJH79AJ>;?CFB?;:F;H9;DJ 87I;:LEB7J?B?JOE<- "D
                                    F7HJ?9KB7H /(%-EA;DI7JJ;CFJJEJH79AJ>;:7?BOH;JKHDIE<8;?D=N
                                    BED=J>;?CFB?;:LEB7J?B?JOE<-7D:?/(%-EA;DI7JJ;CFJJEJH79AJ>;
                                    :7?BOH;JKHDIE<8;?D=NI>EHJJ>;?CFB?;:LEB7J?B?JOE<- 
                                    "DEH:;HJE=;JJ>;?HLEB7J?B?JO;NFEIKH; /(%-EA;DIJH7:;&(/
                                    /EB7J?B?JOEDJH79JI7D:);HF;JK7BKJKH;IED- "DF7HJ?9KB7H J>;O7?C
                                    JE>EB: J>;79>E<;79>&(//EB7J?B?JOEDJH79JJ>7J>7IDEJO;J>7:
                                    ?JIIJH?A;FH?9;:;J;HC?D;:7IE<;79>H;87B7D9; ->7JC;7DI J>;79>
                                    E<
                                       x    -ECEHHEMI&(//EB7J?B?JO9EDJH79J
                                       x    ';NJM;;AI&(/9EDJH79J 7D:J>;JMEM;;AI7<J;HJ>7J
                                       x    ';NJ*K7HJ;HI&(/9EDJH79J 7D:J>;GK7HJ;H7<J;HJ>7J
                                    7D:
                                        x   N- )+),>EHJ
                                    "/(% 9EDL;HI;BO 7?CIJE>EB:  J>;79>E<J>EI;&(//EB7J?B?JO
                                    9EDJH79JI7D:N);HF;JK7BKJKH;IEDJH79JED-%ED= 
                                    /(%J7H=;JINB;L;H7=; 7D:"/(%J7H=;JI NB;L;H7=; IIK9> 
                                    /(%I>EKB:DEJD;;:JEI?=D?<?97DJBO7BJ;H?JIB;L;H7=;7JH;87B7D9;J?C;
                                       .-;L;HO:7OJ>;H;C7O8;IC7BB7CEKDJIE<IB?FF7=;8KJ8O
                                    7D:B7H=;?JIB;L;H7=;I>EKB:7BM7OI8; "/(% >EM;L;H M?BBD;;:JE 
                                    "<LEB7J?B?JO?I:EMD ?/(%M?BB>7L;=7?DI7D:M?BBH;?DL;IJJ>;C8OI;BB?D=
                                    CEH;&(/9EDJH79JI?<LEB7J?B?JO?IKF ?/(%M?BB>7L;BEII;I7D:M?BB
                                    8KO879A&(/9EDJH79JIJEH;:K9;H?IA7D:7JJ;CFJJE7LE?:B?GK?:7J?ED 
                                    ;97KI;E<J>?I/(%7BCEIJ9ECFB;J;BO7LE?:IB?GK?:7J?EDH?IA 8KJ
                                    "/(%?I7JH?IA?<LEB7J?B?JO:EK8B;I?D7:7O -EC?J?=7J;J>?I ?/(%7BIE
                                    >7I:7?BOH;87B7D9;I "<C7HA;JCEL;I97KI;?/(%IB;L;H7=;JEH;79>
                                      ?JM?BB:E7D?DJH7:7OH;87B7D9;JEH;:K9;H?IA 
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                                 "%%"*.""-2'(-!+"+.&,-', (+-!).+)(,,
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                                 /(% ?/(%-EA;DI7H;ECFB;N)HE:K9JI7D:J>;JH7:?D=E<
                                 /(% ?/(%-EA;DI?I>?=>H?IA ->;C7HA;JFH?9;E<7DO/(% ?/(%
                                 -EA;DC7ODEJH;<B;9JJ>;FH?9;E<IFEJC7HA;JI?D-7D:C7O<BK9JK7J;
                                 I?=D?<?97DJBO?DH;IFEDI;JEJ>;L7BK;E<-TIFH?9; IKFFBO7D::;C7D: 
                                 7D:EJ>;HC7HA;J<79JEHI 

                                 OJH7:?D=?D/(% ?/(%-EA;DIEDJ>;)B7J<EHC OEK79ADEMB;:=;7D:
                                 7=H;;J>7JOEK>7L;IK<<?9?;DJ?DL;IJC;DJADEMB;:=; <?D7D9?7B;NF;HJ?I; 
                                 7D:;NF;H?;D9;7D:J>;97F79?JOJEJ7A;EDJ>;?D9H;7I;:H?IAI7H?I?D=
                                 <HEC/(% ?/(%-EA;DIJH7:?D= 2EK<KHJ>;H7=H;;JE?D:;F;D:;DJBO
                                 7IIKC;7BBJ>;H?IAI7H?I?D=<HEC9ED:K9J?D=/(% ?/(%-EA;DIJH7:?D=
                                 EDOEKHEMD799EKDJ 

                                 "<OEK7H;KD9EC<EHJ78B;M?J>J>?IB;L;BE<H?IA OEKI>EKB:DEJJH7:;
                                 /(% ?/(%-EA;DI 

                                 -!,+/")+(/"+'"-,"%"-,('(--$'2
                                 +,)(',""%"-20!-,(/+(+'2%(,,,(+& 
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                                 ->;,;HL?9;)HEL?:;HH;I;HL;IJ>;H?=>JJE<?D7B?DJ;HFH;J7J?EDE<J>?I
                                 ,F;9?<?;:,;HL?9; 


            &6@816@09<@B?2@   /(% ?/(%-EA;DI:EDEJH;GK?H;.I;HIJEJH7:;EDC7H=?D !EM;L;H 
                                 J>;OH;C7?DIK8@;9JJE9;HJ7?DH?IAIJ>7JOEKI>EKB:KD:;HIJ7D:8;<EH;
                                 JH7:?D=/(% ?/(%-EA;DI ?D9BK:?D=8KJDEJB?C?J;:JE

                                 x   !.?82A=?602C.?6.;02?6@8!EB:;HI8KO7D:I;BB/(% ?/(%
                                      -EA;DI?DJ>;I;9ED:7HOC7HA;J7JC7HA;JFH?9;I M>?9>C7O8;
                                      :?<<;H;DJ<HECJ>;L7BK;E<- ->;C7HA;JFH?9;<EH7/(% ?/(%
                                      -EA;DIM?BB<BK9JK7J;?DH;IFEDI;JE9>7D=;I?DJ>;L7BK;E<J>;
                                      /(% ?/(%-EA;DI>EB:?D=I IKFFBO7D::;C7D:<EHJ>;
                                      /(% ?/(%-EA;DI7D:EJ>;HC7HA;J<79JEHI 

                                 x   $<?A3<96<AB?;<C2??6@8/(% ?/(%-EA;DIC7O?D9KH>?=>
                                      FEHJ<EB?EJKHDEL;HJEC7D7=;J>;;NFEIKH;JEJ>;.D:;HBO?D= 
                                      ::?J?ED7BBO 79J?L;C7HA;JJH7:?D=E<7/(% ?/(%-EA;DTI>EB:?D=
                                      C7O97KI;CEH;<H;GK;DJ9H;7J?EDEHH;:;CFJ?ED79J?L?J?;IJ>7J9EKB: 
                                      ?D9;HJ7?D9?H9KCIJ7D9;I ?D9H;7I;J>;DKC8;HE<FEHJ<EB?E
                                      JH7DI79J?EDI !?=>B;L;BIE<JH7DI79J?EDI?D9H;7I;JH7DI79J?ED9EIJI 
                                      79>E<J>;I;<79JEHI9EKB:>7L;7D;=7J?L;?CF79JEDJ>;
                                      F;H<EHC7D9;E<7/(% ?/(%-EA;DI 

                                 x   ;A2?2@A?.A2@/(% ?/(%-EA;DIJ7A;FEI?J?EDI?D&(//EB7J?B?JO
                                      EDJH79JI7D:);HF;JK7BKJKH;IEDJH79JIJE79>?;L;J>;?H:;I?H;:
                                      ?CFB?;:LEB7J?B?JOE<- ->;I;&(//EB7J?B?JOEDJH79JI7D:
                                      );HF;JK7BKJKH;IEDJH79JIC?=>JJH7:;7J7FH;C?KCEH:?I9EKDJJE
                                      IFEJC7HA;JI?D-7I7H;<B;9J?EDE<FH;L7?B?D=?DJ;H;IJH7J;I?D
                                      9HOFJE9KHH;D9OC7HA;JI ->KI 7/(% ?/(%-EA;D9EKB:




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                                      63




                            EKJF;H<EHCEHKD:;HF;H<EHC-TIIFEJC7HA;JH;JKHDI:K;JE7
                            :?L;H=;D9;8;JM;;DJ>;JMEC7HA;JI 

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              '=2063621'2?C602    @@B6;4.;1?2122:6;4 2C2?.421(<82;@.;1*# 6*# (<82;@


              '=2063621'2?C602    ->;?IIK7D9;7D:H;:;CFJ?EDE<%;L;H7=;:-EA;DI7D:/(% ?/(%
              12@0?6=A6<;          -EA;DI 


              '2?C602$?<C612?     ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O (
                                    .@82A@ A1 79ECF7DO?D9EHFEH7J;:?DDJ?=K77D:7H8K:79ECF7DO
                                    DKC8;H JE7BB;B?=?8B;.I;HIEJ>;HJ>7DF;HIEDIM>E>7L;J>;?H
                                    H;=?IJ;H;:E<<?9;EHFB79;E<H;I?:;D9;?DJ>;.D?J;:,J7J;IE<C;H?97EH
                                    7DO+;IJH?9J;:-;HH?JEHO 


              '=2063621'2?C602    %;L;H7=;:-EA;DI7D:/(% ?/(%-EA;DI7H;+  :?=?J7BJEA;DI
              @=206360A2?:@6;   ?IIK;:8OJ>;,;HL?9;)HEL?:;H 
              .116A6<;A<A52
                                    79>%;L;H7=;:-EA;D>7I7D7IIE9?7J;:799EKDJEDJ>;)B7J<EHCJ>7J
              2;2?.9(2?:@
                                    J7A;IB;L;H7=;:FEI?J?EDIED);HF;JK7BKJKH;IEDJH79JIED7D
              .;1?6@8
                                    KD:;HBO?D=?=?J7BII;JEH?=?J7BII;J?D:;N 
              16@09<@B?2@
                                    79>/(% ?/(%-EA;D>7I7D7IIE9?7J;:799EKDJEDJ>;)B7J<EHCJ>7J
                                    >EB:I&(//EB7J?B?JOEDJH79JI7D:);HF;JK7BKJKH;IEDJH79JIED
                                    - ?D7D7JJ;CFJJEJH79AJ>;?CFB?;:F;H9;DJ 87I;:LEB7J?B?JOE<- "D
                                    F7HJ?9KB7H /(%-EA;DI7JJ;CFJJEJH79AJ>;:7?BOH;JKHDIE<8;?D=N
                                    BED=J>;?CFB?;:LEB7J?B?JOE<-7D:?/(%-EA;DI7JJ;CFJJEJH79AJ>;
                                    :7?BOH;JKHDIE<8;?D=NI>EHJJ>;?CFB?;:LEB7J?B?JOE<- 
                                    2EKC7OFB79;EH:;HIM?J>J>;,;HL?9;)HEL?:;HJE?IIK;D;M%;L;H7=;:
                                    -EA;DIEH/(% ?/(%-EA;DI8O:;FEI?J?D=IJ78B;9E?DI 
                                    2EK97DH;:;;C7D;N?IJ?D=%;L;H7=;:-EA;D<EH?JII>7H;E<J>;?=?J7B
                                    II;JIE<J>;%;L;H7=;:-EA;DI7IIE9?7J;:799EKDJEDJ>;)B7J<EHC 
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                                    7CEKDJE<IJ78B;9E?DI 
                                    H;7J?D=EHH;:;;C?D=%;L;H7=;:-EA;DI7D:/(% ?/(%-EA;DIM?BB
                                    >7L;C7HA;J?CF79J7D:OEKMEDJADEMM>7JFH?9;OEKKBJ?C7J;BO=;JKDJ?B
                                    7<J;HOEK>7L;9H;7J;:EHH;:;;C;:J>;%;L;H7=;:-EA;DEH
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                                    ->;,;HL?9;)HEL?:;HH;I;HL;IJ>;H?=>JJE<?D7B?DJ;HFH;J7J?EDE<J>?I
                                    ,F;9?<?;:,;HL?9; 

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            '=2063621'2?C602    "(!.?82A


            '=2063621'2?C602    ->;'-&7HA;J?I7JH7:?D=FB7J<EHCEDM>?9>OEK97DJH7:;DED <KD=?8B;
            12@0?6=A6<;          JEA;DI"(M?J>EJ>;H.I;HI<EH<?7J9KHH;D9OEH?=?J7BII;JI7D:
                                  E<<;HJEI;BBJ>;C8O7K9J?ED 


            '2?C602$?<C612?     ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O(,
                                  (?.16;4 A1 79ECF7DO?D9EHFEH7J;:7D:H;=?IJ;H;:?DDJ?=K77D:
                                  7H8K:79ECF7DODKC8;H  JE7BB;B?=?8B;.I;HIEJ>;HJ>7D
                                  F;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<H;I?:;D9;?DJ>;
                                  .D?J;:,J7J;IE<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 


            '=2063621'2?C602    '-I7H;9EDJHEBB78B;;B;9JHED?9H;9EH:IH;9EH:;:EDJ>;J>;H;KC7D: EH
            @=206360A2?:@6;   ,EB7D78BE9A9>7?DI EH7DOEJ>;H8BE9A9>7?DI7I:;J;HC?D;:8OKI?DEKH
            .116A6<;A<A52      IEB;:?I9H;J?ED 
            2;2?.9(2?:@
                                  .DB?A;CEIJ9HOFJE9KHH;D9?;I J>;H;C7O8;L;HO<;MEHEDBOED;E<7D
            .;1?6@8
                                  '- 7D:J>;OC?=>J8;?D:?L?I?8B; C;7D?D=?JC7ODEJ8;<KD=?8B;M?J>
            16@09<@B?2@
                                  7DOEJ>;HJEA;DI 
                                  '-I97DJ7A;7DKC8;HE<<EHCI ,EC;J?C;I J>;O97D8;H;:;;C;:<EH
                                  7F>OI?97BE8@;9J ,EC;J?C;IJ>;EMD;H?I;DJ?JB;:JE7D;NF;H?;D9; B?A;7
                                  CEL?;EH7F>ED;97BB ,EC;J?C;IJ>;O7H;7IIE9?7J;:M?J>7:?=?J7B
                                  ?C7=; ,EC;J?C;IJ>;O7H;7IIE9?7J;:M?J>DEJ>?D=7J7BB 
                                  '-I:EDEJD;9;II7H?BO>7L;7DO?DJH?DI?9L7BK; ->;OC?=>J7BIE8;
                                  ?BB?GK?: "<OEK8KO7D'- OEK7H;DEJD;9;II7H?BO=E?D=JE8;78B;JEI;BB
                                  ?J<EHCK9>B7J;HEH=7?D7DOIF;9?<?9KJ?B?JO<HEC?J 
                                  0>?B;J>;,;HL?9;)HEL?:;HC7O<79?B?J7J;J>;78?B?JOJEI;BB H; I7B; 8KO 
                                  JH7DI<;H M?J>:H7M EHEJ>;HM?I;;D=7=;?DJH7DI79J?EDI?DLEBL?D=J>;
                                  FKH9>7I; I7B; EHEJ>;HJH7DI<;HE<7'-J>HEK=>J>;'-&7HA;J J>?I
                                  <KD9J?ED7B?JO?IFHEL?:;:M?J>EKJ7DO=K7H7DJ;;IE<KFJ?C; <KD9J?ED7B?JO EH
                                  I;HL?9;78?B?JO ->;,;HL?9;)HEL?:;HH;I;HL;IJ>;H?=>JJEH;CEL;EH
                                  EJ>;HM?I;B?C?J7DO7D:7BB<KD9J?ED7B?JO EHJEH;GK?H;7::?J?ED7B9ED:?J?EDI
                                  E<799;II <EH7BB.I;HIEH7DO.I;HEH=HEKFE<.I;HIE<J>;'-&7HA;J 
                                  7I:;J;HC?D;:8OJ>;,;HL?9;)HEL?:;H?D?JIIEB;:?I9H;J?ED 
                                  2EK7H;M;B9EC;JE8KO'-I?<?JMEKB:C7A;OEK>7FFOJEEMDJ>;C 
                                  KJJ>;H;?IDE?CFB?;:;9EDEC?9H;JKHD7IIE9?7J;:M?J>:E?D=IE 
                                  ->;H;7H;DEH;<KD:I<EH'-I 7D:J>;,;HL?9;)HEL?:;H7D:?JI<<?B?7J;I
                                  M?BBDEJ<?;B:9KIJEC;H9ECFB7?DJI 2EKI>EKB:EDBO8KO'-I?<OEK
                                  KD:;HIJ7D:J>7J:E?D=IE:E;IDEJD;9;II7H?BO=?L;7DO:?H;9J;9EDEC?9
                                  L7BK; 
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            '=2063621'2?C602    "( 6@A6;4


            '=2063621'2?C602    H;7J?D=7D'-EDJ>;FEHJ7BBE97J;:7J>JJFI <JN 9EC D<JI B?IJJ>;"(
            12@0?6=A6<;          '6A2J>7J 7IE<?JI=;D;I?I?IIK7D9; ?IB?DA;:JEJ>;7HJMEHA :?=?J7B
                                  9EDJ;DJEHEJ>;H9EBB;9J?8B;J>7J?IFHEL?:;:8OOEKJEJ>;,;HL?9;)HEL?:;H
                                  ?AD<?8 


            '2?C602$?<C612?     ->?I,F;9?<?;:,;HL?9;<EHCIF7HJE<J>;,;HL?9;I7D:?IFHEL?:;:8O(,
                                  (?.16;4 A1 79ECF7DO?D9EHFEH7J;:7D:H;=?IJ;H;:?DDJ?=K77D:
                                  7H8K:79ECF7DODKC8;H  JE7BB;B?=?8B;.I;HIEJ>;HJ>7D
                                  F;HIEDIM>E>7L;J>;?HH;=?IJ;H;:E<<?9;EHFB79;E<H;I?:;D9;?DJ>;
                                  .D?J;:,J7J;IE<C;H?97EH7DO+;IJH?9J;:-;HH?JEHO 


            '=2063621'2?C602    OIK8C?JJ?D=7H;GK;IJ7D:9H;7J?D=7D'-EDJ>;'-,?J; OEK
            @=206360A2?:@6;   79ADEMB;:=;J>7JOEK>7L;97H;<KBBOH;7:7D:7=H;;JEJ>;-;HCI 
            .116A6<;A<A52
                                  "<J>;H;?I79ED<B?9J8;JM;;DJ>; ;D;H7B-;HCI7D:J>?I,;HL?9;
            2;2?.9(2?:@
                                  ,9>;:KB;M?J>H;IF;9JJEOEKHKI;E<J>;'-,?J;EHOEKH'-I J>?I
            .;1?6@8
                                  ,;HL?9;,9>;:KB;I>7BBFH;L7?B 
            16@09<@B?2@
                                  2EKH799;IIJE7D:KI;E<J>;'-,?J;?I7BIE=EL;HD;:8OJ>;J;HCI?D
                                  J>; ;D;H7B-;HCIJ>7J7FFBOJEJ>;,?J;7D:H;<;H;D9;I?DJ>; ;D;H7B
                                  -;HCIJE,?J;I>EKB:8;H;7:7I?D9BK:?D=J>;'-,?J; KDB;IIJ>;
                                  9EDJ;NJFHEL?:;IEJ>;HM?I; 
                                  ;A29920AB.9=?<=2?AF
                                  2EKH;FH;I;DJ7D:M7HH7DJJ>7JOEKEMD7D:9EDJHEB7BBH?=>JI?D7D:JE
                                  OEKHHJMEHA7D:>7L;J>;H?=>JJE=H7DJB?9;DI;IJEJ>;,;HL?9;)HEL?:;H
                                  7D:?JI<<?B?7J;I7D:H;IF;9J?L;B?9;DI;;I7D:IK99;IIEHI "DIK8C?JJ?D=
                                  7DOHJMEHA OEKCKIJDEJ?D9BK:;7DOJ>?H:F7HJO?DJ;BB;9JK7BFHEF;HJO
                                  IK9>7I9EFOH?=>J;:C7J;H?7BIKDB;IIOEK>7L;;NFB?9?JF;HC?II?ED<HEC
                                  J>7JF7HJOEH7H;EJ>;HM?I;B;=7BBO;DJ?JB;:JE:EIE 2EK7H;B;=7BBO
                                  H;IFEDI?8B;<EH7BBHJMEHAIK8C?JJ;:8OOEK ->;,;HL?9;)HEL?:;H
                                  H;I;HL;IJ>;H?=>JJEH;L?;M7D:7D7BOI;OEKHHJMEHAJE>;BF:;J;9J
                                  ?D<H?D=;C;DJ7D:78KI; IK9>7IIF7C C7BM7H;7D:?BB;=7B9EDJ;DJ 
                                  OIK8C?JJ?D=7DOHJMEHA OEK=H7DJJ>;,;HL?9;)HEL?:;H7MEHB:M?:; 
                                  DED ;N9BKI?L; HEO7BJO <H;; F;HF;JK7B IK8B?9;DI78B;7D:JH7DI<;H78B;
                                  B?9;DI;JEKI;J>;HJMEHA<EH7DOFKHFEI; ?D9BK:?D=<EHJ>;C?DJ?D=E<J>;
                                  '-B?DA;:JEOEKHHJMEHA7D:>EIJ?D=IK9>HJMEHA<EHOEK7D:<KJKH;
                                  JH7DI<;H;;IE<J>;'- 7IM;BB7I<EHJ>;FHECEJ?EDE<J>;,;HL?9;I
                                  FHEL?:;:8OJ>;,;HL?9;)HEL?:;H7D:?JI<<?B?7J;I 
                                  2EK7BIE=H7DJ7BBEJ>;H.I;HI7D:<KJKH;>EB:;HIE<OEKH'-7
                                  MEHB:M?:; DED ;N9BKI?L; F;HF;JK7B 7D:HEO7BJO <H;;B?9;DI;JEL?;M7D:
                                  799;IIOEKHHJMEHA 
                                  $?<56/6A21.0A6C6A62@
                                  2EKM?BBDEJ




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                             x   IK8C?J7DOHJMEHAJ>7J7L?EB7J;IEH;D9EKH7=;I7DO9ED:K9J
                                  J>7JMEKB:L?EB7J;7DOFFB?978B;%7MEHH;=KB7J?EDEHMEKB:=?L;
                                  H?I;JE9?L?BEH9H?C?D7BB?78?B?J?;I8?I<H7K:KB;DJ <7BI; C?IB;7:?D=
                                  EH:;9;FJ?L;9?I:;<7C7JEHO E8I9;D; LKB=7H FEHDE=H7F>OEH
                                  E<<;DI?L;:FHECEJ;I:?I9H?C?D7J?ED 8?=EJHO H79?IC >7JH;: 
                                  >7H7IIC;DJEH>7HC7=7?DIJ7DO?D:?L?:K7BEH=HEKF;?IL?EB;DJ
                                  EHJ>H;7J;D?D=EHFHECEJ;IL?EB;D9;EH79J?EDIJ>7J7H;
                                  J>H;7J;D?D=JE7DOF;HIEDEH;DJ?JOEH<FHECEJ;I?BB;=7BEH
                                  >7HC<KB79J?L?J?;IEHIK8IJ7DJ?L;I
                             x   7JJ79A >79A (, ?DJ;H<;H;M?J> EHEJ>;HM?I;J7CF;HM?J>J>;
                                  '-EH?JIKD:;HBO?D=IC7HJ9EDJH79J
                             x   799;II J7CF;HM?J>EH7JJ;CFJJE799;IIJ>;,;HL?9;)HEL?:;H
                                  7D:?JI<<?B?7J;I9ECFKJ;HIOIJ;CIEHD;JMEHAI
                             x   7JJ;CFJJEFHE8; I97DEHJ;IJJ>;LKBD;H78?B?JOE<J>;,;HL?9;
                                  )HEL?:;H7D:?JI<<?B?7J;IIOIJ;CEHD;JMEHAEH8H;79>7DO
                                  I;9KH?JOEH7KJ>;DJ?97J?EDC;7IKH;I
                             x   7LE?: 8OF7II H;CEL; :;79J?L7J; ?CF7?HEHEJ>;HM?I;
                                  9?H9KCL;DJ7DOJ;9>DEBE=?97BC;7IKH;I
                             x   ?DJ;H<;H;M?J> EH7JJ;CFJJE?DJ;H<;H;M?J> 7DOEJ>;H.I;HEH
                                  D;JMEHA ?D9BK:?D=M?J>EKJB?C?J7J?EDI;D:?D=7L?HKI EL;HBE7:?D= 
                                  <BEE:?D= IF7CC?D=EHC7?B 8EC8?D=
                             x   ?CF;HIED7J;EHC?IH;FH;I;DJOEKH?:;DJ?JOEH7<<?B?7J?ED
                             x   KI;J>;'- J>;'-,?J;EHJ>;,;HL?9;I JE9ED9;7BEHJH7DI<;H
                                  7DOFHE9;;:IH;B7J?D=JE?BB;=7BEH9H?C?D7B79J?L?JO
                             x   L?EB7J;J>;-;HCIEH7DOFFB?978B;%7MEHH;=KB7J?EDEH
                             x   ;D9EKH7=;EH;D78B;7DOJ>?H:F7HJOJE:E7DOE<J>;<EH;=E?D= 
                         "<</964.A6<;@
                         ->;,;HL?9;)HEL?:;H7D:?JI<<?B?7J;I7H;DEJH;IFEDI?8B;<EHH;F7?H?D= 
                         IKFFEHJ?D= H;FB79?D=EHC7?DJ7?D?D=7DOM;8I?J;EHD;JMEHA>EIJ?D=OEKH
                         HJMEHA DEH:EJ>;O>7L;J>;E8B?=7J?EDJEC7?DJ7?D7DO9EDD;9J?EDEHB?DA
                         8;JM;;DOEKH'-7D:J>;KD:;HBO?D=HJMEHA ->;,;HL?9;)HEL?:;H
                         H;I;HL;IJ>;H?=>JJEJ;HC?D7J; :;B;J; J7A;:EMDEHEJ>;HM?I;H;CEL;J>;
                         HJMEHA7D::?I9EDD;9JJ>;B?DA8;JM;;DJ>;7FFB?978B;'-7D:J>;
                         KD:;HBO?D=HJMEHA7J7DOJ?C;<EH7DOH;7IED ?D9BK:?D=8KJDEJB?C?J;:JE
                         ?<7OEKEH7DOEJ>;H'->EB:;H;D=7=;?D7DO?BB;=7BEHKDB7M<KB
                         79J?L?JO 8OEKEH7DOEJ>;H'->EB:;H7H;:;;C;:JE8;?DL?EB7J?EDE<
                         J>;?DJ;BB;9JK7BFHEF;HJOH?=>JIE<J>?H:F7HJ?;I ?D;79>97I;7I:;J;HC?D;:
                         8OJ>;,;HL?9;)HEL?:;H?D?JIIEB;:?I9H;J?ED 
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                    EHJ>;7LE?:7D9;E<:EK8J OEKEDBOFHEL?:;?=?J7BII;JIJE-1-H7:?D=7D:?J?IEDBO
                    -1-H7:?D=J>7JM?BB;L;H>EB:OEKH?=?J7BII;JI 

                    -1KIJH7B?7EDBOC7?DJ7?DI7,J7D:?D=KJ>EH?I7J?ED?DH;B7J?EDOEKH?=?J7BII;JI7I
                    I;JEKJ?DJ>;-1KIJH7B?7-;HCI 
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                    EJ>-1-H7:?D=7D:-1KIJH7B?7M?BBI>7H;OEKHF;HIED7B:7J7M?J>;79>EJ>;H7D:M?J>
                    J>; <EHJ>;FKHFEI;IE<FHEL?:?D=OEKM?J>S,;HL?9;ITI;JEKJ?DJ>;-1-;HCI 7D:
                    -;HCI7D:J>;-1KIJH7B?7-;HCI 
          
                    EH J>; 7LE?:7D9; E< :EK8J  -1 -H7:?D= M?BB EDBO 9EBB;9J  C7?DJ7?D  KI; 7D: :?I9BEI;
                    F;HIED7B ?D<EHC7J?ED FHEL?:;: JE KI IJH?9JBO ?D 799EH:7D9; M?J> J>; KIJH7B?7D )H?L79O
                    )H?D9?FB;I?DJ>; !%'#J>7D:EKH)H?L79O)EB?9O 2EKI>EKB:97H;<KBBOH;7:
                    J>;-1KIJH7B?7)H?L79O)EB?9O M>?9>FHEL?:;I:;J7?BIED>EMOEKHF;HIED7B?D<EHC7J?ED
                    ?I9EBB;9J;: IJEH;: FHEJ;9J;:7D:KI;:8O-1KIJH7B?77D:7DO9EHH;IFED:?D=)H?L79O
                    )EB?9OFHEL?:;:8OJ>; 
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              2EK 79ADEMB;:=; J>7J 7DO C7HA;J?D=  FHECEJ?ED7B  I7B;I EH I?C?B7H 79J?L?J?;I 9EDJ;CFB7J;: ?D
              J>;I; -;HCI '<BA5 3?60.; .0A6C6A62@ M>?9> J7A; FB79; ?D J>; +;FK8B?9 E< ,EKJ> <H?97 7H;
              FKHIK7DJ JE -1 -H7:?D= 8;?D= 7FFE?DJ;: 7I J>; @KH?IJ?9 H;FH;I;DJ7J?L; E< (L;N ,) )JO %J:
              7KJ>EH?P;:,) #C2E?DJ;HCIE<I;9J?ED8?77E<J>;?D7D9?7B:L?IEHO7D:
              "DJ;HC;:?7HO,;HL?9;I 9J   '7D: J>7J7DO IK9>,EKJ> <H?97D 79J?L?J?;I M?BB DEJ 8;
              F;H<EHC;:8O-1-H7:?D=7IFH?D9?F7B 
          
              0>;H;OEK7H;:EC?9?B;:?D,EKJ><H?97 OEK9ED<?HCJ>7JOEK>7L;LEBKDJ7H?BO;B;9J;: FKHIK7DJ
              JE7DO,EKJ><H?97D79J?L?J?;IF;H<EHC;:8O-1-H7:?D=7IJ>;@KH?IJ?9H;FH;I;DJ7J?L;E<7D:?D
              J>;D7C;E<(L;N JEEF;D7D99EKDJM?J> KI;J>;,;HL?9;I7D:JH7:;EDJ>;N9>7D=;E<-1
              -H7:?D= FKHIK7DJ JE J>;I; -;HCI  2EK 79ADEMB;:=; J>7J 7DO 9B?;DJ IKFFEHJ ?D H;B7J?ED JE OEKH
              99EKDJ J>;,;HL?9;I7D:J>;N9>7D=;M>?9>E99KHM?J>?D,EKJ><H?97M?BB8;;<<;9J;:8O-1
              -H7:?D=7IJ>;@KH?IJ?9H;FH;I;DJ7J?L;E<7D:?DJ>;D7C;E<(L;N 
          
              2EKKD:;HJ7A;JE9ECFBOM?J>7DO7FFB?978B;;N9>7D=;9EDJHEBH;=KB7J?EDIEH7DOEJ>;H7FFB?978B;
              B7MIEHH;=KB7J?EDIM>?9>C7O <HECJ?C;JEJ?C; 8;9EC;7FFB?978B;FKHIK7DJJEOEKEF;D?D=7D
              99EKDJ KI?D=J>;,;HL?9;I7D:J>;N9>7D=; 
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          ->;<EBBEM?D=J;HCIM?BB<EHCF7HJE<J>;-;HCI7D:M?BB7FFBOJEOEK?<OEK7H;7H;I?:;DJE<#7F7D
          M>E?IKI?D=-17HDEH>7I;D78B;:);;H JE );;HHOFJEEHHEM?D=7D:%;D:?D=Q$ $?F=A<
            <.;@RFHEL?:;:8O-1-H7:?D= 


          -1-H7:?D=FHEL?:;I7D:EF;H7J;I7F;;H JE F;;H9HOFJE7II;J8EHHEM?D=7D:B;D:?D=FB7J<EHC<EH
          C7J9>?D= EHHEM;HI 7D: %;D:;HI E< )) HOFJE %E7DI JE KI;HI E< -1 #7F7D EHFEH7J?ED
          HOFJE9KHH;D9ON9>7D=;KI?D;II$7DJE?D7D9;KH;7K?H;9JEH'E         7D:-OF;?D7D9?7B
          "DIJHKC;DJIKI?D;IIH;=?IJH7DJQ(,.=.;R ))HOFJE%E7DI7H;7L7?B78B;8EJ>L?7J>;,?J;
          7IM;BB7IL?7J>;-17HDFHE=H7CEDJ>;&E8?B;FFB?97J?ED 

          O;D78B?D=7D:7=H;;?D=JE8EHHEMEHB;D:))HOFJE%E7DI;?J>;HL?7J>;,?J;EHJ>;-17HD
          FHE=H7C OEK>;H;8O79ADEMB;:=;7D:7=H;;J>7J

                   x   OEK7H;7D7KJ>EH?P;:7D:L;H?<?;:KI;HE<-1#7F7D
                        
                   x   ))HOFJE %E7DI7H;DEJ FHEL?:;:8O-1#7F7D7D:7BB ))HOFJE %E7DI;HL?9;I7H;
                        FHEL?:;:IEB;BO8O-1-H7:?D=
                        
                   x   OEK>7L;H;7:7D:KD:;HIJEE: 7D:7=H;;JEJ>;-;HCIE<,;HL?9;7D:-1TI)H?L79O)EB?9O 
                        ;79>7I7C;D:;:<HECJ?C;JEJ?C;
                        
                   x   OEK7KJ>EH?P;-1#7F7DJEI>7H;7DO?D<EHC7J?ED9EBB;9J;:<HECOEKM?J>-1-H7:?D=7I
                        C7O 8; H;GK?H;: KD:;H 7DJ? CED;O B7KD:;H?D= B7MI EH EJ>;HM?I; ?D 9ECFB?7D9; M?J>
                        7FFB?978B;<?D7D9?7BH;=KB7JEHO7D:EJ>;HB7MI
                        
                   x   ?<OEKTH;F7HJ?9?F7J?D=?DJ>;-17HDFHE=H7C OEK7H;B;D:?D=OEKH9HOFJE7II;JIJEJ>?H:
                        F7HJO8EHHEM;HI?DH;JKHD<EHH;M7H:IM>?9>7H;L7H?78B;<EH;79>9HOFJE7II;J7D:9>7D=;I
                        >EKHBO
          
                   x   OEK>;H;8O7KJ>EH?P;-1-H7:?D=JE?DIJHK9J-1#7F7DJE8EHHEM<HEC7D:B;D:7II;JIJE
                        %;D:;HI 7D: EHHEM;HI  H;IF;9J?L;BO  7D: JE J7A; 7BB IK9> 79J?EDI 7I C7O 8; H;GK?H;: JE
                        9ECFB;J;IK9>))HOFJE%E7DIEDOEKH8;>7B<
                        
                   x   OEKM?BBEDBOF7HJ?9?F7J;?D))HOFJE%E7DI<EHOEKHEMD799EKDJ7D:DEJ<EHJ>;799EKDJ
                        E<EJ>;HI
                        
                   x   OEK M?BB DEJ KI; )) HOFJE %E7DI <EH 7DO ?BB;=7B 79J?L?J?;I  KDB7M<KB 9ED:K9J EH EJ>;H
                        H;IJH?9J;:FKHFEI;I7II;J<EHJ>?DJ>;-;HCI
                        
                   x   -1-H7:?D=:E;IDEJ79J7I8EHHEM;HEHB;D:;HE<7DO))HOFJE%E7DI7D:
          

          (DBO-1#7F7DKI;HI7H;;B?=?8B;JEF7HJ?9?F7J;?D))HOFJE%E7DI ;?J>;H7I78EHHEM;HEH7I7
          B;D:;H 

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                                      63




             2;16;4

          -E8;9EC;7))HOFJE%E7DB;D:;HQ 2;12?R OEKCKIJ>7L;<?HIJ:;FEI?J;:7II;JIM?J>-1
          #7F7D?DJEOEKH-1#7F7D799EKDJQ00<B;AR I7%;D:;H OEK97DI;B;9JQ%'REDJ>;))
          HOFJE%E7DIM;8I?J;EHF7HJ?9?F7J;?DJ>;-17HDFHE=H7CEDJ>;&E8?B;FFB?97J?ED 7D:IF;9?<O
          J>;7CEKDJ  C?D?CKCH7J; 7D:JOF;E<9HOFJE 7II;JJ>7JOEKM?I>JE B;D:EKJ?D EH:;HJE 8;9EC;
          ;B?=?8B;JEB;D:EKJOEKH9HOFJE7II;JI 2EKHB;D:?D=E<<;HM?BBJ>;D8;IK8C?JJ;:JE-1-H7:?D=TI))
          HOFJE%E7DEH:;H8EEA7D:7KJEC7J?97BBOC7J9>;:M?J>8EHHEM;HI ?<7DO 

          ->; 7CEKDJ E< <KD:I 8EHHEM;:  <KD:?D= H7J;I 7D: ;IJ?C7J;: <KD:?D= H7J;I 7H; 87I;: IEB;BO ED
          >?IJEH?97B:7J7 7H;DEJ=K7H7DJ;;:7D:7H;IK8@;9JJE<H;GK;DJ9>7D=;ED7D>EKHBO87I?I ->;H;?I
          DE7IIKH7D9;J>7JOEKM?BB8;78B;JEB;D:EKJOEKH9HOFJE7II;JI J>7JJ>;H;M?BB8;7DO8EHHEM;HI
          7L7?B78B;JEOEK J>7JJ>;H;M?BB 8;7DO:;C7D:<EH9HOFJE8EHHEM?D= EH J>7J7DOE<J>;:?IFB7O;:
          B;D:?D=H7J;I7H;799KH7J; -1-H7:?D=H;I;HL;IJ>;H?=>J ?D?JIIEB;:?I9H;J?ED JE:;J;HC?D;J>;
          EH:;H?D=7D:C7J9>?D=E<%;D:;HI7D:EHHEM;HI 2EK<KHJ>;H7=H;;JEF7O7DOFB7J<EHC9>7H=;IEH
          <;;IJ>7J-1-H7:?D=C7OFHEL?:;<HECJ?C;JEJ?C; 

          2EK7H;DEJH;GK?H;:JEB;D:EKJ7DO7II;JI7J7DOJ?C; -EIJEFB;D:?D=EKJOEKH7II;JI 7=EJE
          J>; )) HOFJE %E7DI M;8I?J; 7D: 9B?9A ED Q,-() %'"' R 7J 7DO J?C;  EH 8 ?< OEK 7H;
          F7HJ?9?F7J?D=?DJ>;-17HDFHE=H7C EDJ>; &E8?B; FFB?97J?ED 9B?9AEDQ?I78B;R ?DQ)HE<?B;R Æ
          Q7HDH;M7H:IED7II;JIR 

          BBBE7DIE<9HOFJE7II;JIL?7J>;))HOFJE%E7DIM;8I?J;7H;DED H;9EKHI;BE7DI 2EK7=H;;J>7J
          OEKHIEB;H;9EKHI;?DJ>; ;L;DJE<:;<7KBJE<7 EHHEM;HTI))HOFJE%E7D?IJ>;I;?PKH; 7D: EH
          B?GK?:7J?EDE<7II;JI>;B:?DJ>;EHHEM;HTI99EKDJ 2EK7=H;; 7D:I>7BB97KI;7BBE<OEKH7=;DJI 
          H;FH;I;DJ7J?L;I7D:7<<?B?7J;IJE7=H;; DEJJEI;;AH;9EKHI;EHH;9ECF;DI;7=7?DIJ7DO<KD:I 7II;JI
          EHFHEF;HJ?;IEMD;:8O7EHHEM;HEKJI?:;E<J>;EHHEM;HTI99EKDJ7J7DOJ?C; 

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          -E8;9EC;7))HOFJE%E7D8EHHEM;HQ<??<D2?R OEKCKIJ>7L;<?HIJ:;FEI?J;:9HOFJE7II;JI
          M?J>-1#7F7D?DJEOEKH99EKDJ7I9EBB7J;H7B I78EHHEM;H OEK97DI;B;9JQD78B;);;HJE);;H
          8EHHEM?D=REDJ>;))HOFJE%E7DIM;8I?J;JE;D78B;8EHHEM?D=E<9HOFJE7II;JI<HECEJ>;H-1
          #7F7D KI;HI  ->; 7CEKDJ E< 9HOFJE 7II;JI J>7J OEK 7H; ;DJ?JB;: JE 8EHHEM <HEC J?C; JE J?C; ?I
          :;J;HC?D;:87I;:ED7DKC8;HE<<79JEHI ?D9BK:?D=J>;7CEKDJE<9HOFJE7II;JIC7:;7L7?B78B;8O
          B;D:;HI<EH 8EHHEM?D= J>; 7CEKDJ E<9HOFJE 7II;JI7L7?B78B;?DOEKH99EKDJ7I9EBB7J;H7B 9HOFJE
          7II;J C7HA;J B?GK?:?JO 7D: LEB7J?B?JO 9ED:?J?EDI  D7J?ED7B  H;=?ED7B 7D: =BE87B ;9EDEC?9 9ED:?J?EDI 
          B;=7B7D:H;=KB7JEHOH;GK?H;C;DJI 7IM;BB7IEJ>;H<79JEHIJ>7J-1-H7:?D=C7O9EDI?:;H<HECJ?C;
          JEJ?C; 

          BB8EHHEM;:9HOFJE7II;JIKI?D=J>;))HOFJE%E7DIM;8I?J;7H;                M?J>H;IF;9JJE
          7DO7II;JI>;B:8OJ>;EHHEM;H?DJ>;EHHEM;HTI99EKDJ "DEJ>;HMEH:I ?DJ>;;L;DJE<:;<7KBJ 
          D;?J>;H-1-H7:?D= 7DO %;D:;HI DEH 7DOE<J>;?H 7<<?B?7J;I 7=;DJI EHH;FH;I;DJ7J?L;IC7OI;;A
          H;9EKHI;EHH;9ECF;DI;7=7?DIJ7DO<KD:I 7II;JIEHFHEF;HJ?;IEMD;:8O7EHHEM;HEKJI?:;E<J>;
          EHHEM;HTI99EKDJ "DJ>;;L;DJE<:;<7KBJE<7EHHEM;HTI))HOFJE%E7D J>;IEB;H;9EKHI;E<
          7DO%;D:;H?IJ>;I;?PKH;7D: EHB?GK?:7J?EDE<7II;JI>;B:?DJ>;EHHEM;HTI99EKDJ 




                                                                                                                 
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          2EK7=H;;JEF7O77DO?DJ;H;IJ9>7H=;IJ>7JC7O799HK;EDOEKH))HOFJE%E7D M>?9>OEKC7O
          L?;MEDJ>;))HOFJE%E7DIM;8I?J; 7D:87DOFB7J<EHC9>7H=;IEH<;;IJ>7J-1-H7:?D=C7O
          FHEL?:;<HECJ?C;JEJ?C; M>?9>M?BB8;L?;M78B;EDJ>;))HOFJE%E7DIM;8I?J;7IM;BB 

          2EK 7H; DEJ H;GK?H;: JE 8EHHEM 7DO 9HOFJE 7II;JI 7J 7DO J?C;  O ;D78B?D= )) HOFJE %E7D
          8EHHEM?D= OEK7=H;;JE:EIE7JOEKHEMDH?IA 2EK79ADEMB;:=;7D:7=H;;J>7J7DO9HOFJE7II;JI
          8EHHEM;:<HEC7%;D:;HL?77))HOFJE%E7DC7O8;KI;:<EH7DOFKHFEI;IEDJ>;-1#7F7D
          JH7:?D=FB7J<EHC ?D9BK:?D=<EHJH7:?D= 9EBB7J;H7B7D:M?J>:H7M7BI FHEL?:;:>EM;L;H J>7JOEK7=H;;
          J>7J-1-H7:?D=C7O?DIJHK9J-1#7F7DJEB?C?JM?J>:H7M7BIE<9HOFJE7II;JI8EHHEM;:KD:;H))
          HOFJE%E7DI?DJ>;;L;DJJ>7JJ>;H;?I?DIK<<?9?;DJ7II;JI?DOEKH99EKDJ 

          (++(0"' ))+2)-(%(',('-1-+"' ",/+2!" !+",$ ,(++(0+ 
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                                      63




                                          ู⣬ 
                                      ࢧ࣮ࣅࢫ࡟㛵ࡍࡿู⣬
                                   ᪥ᮏࡢ࣮ࣘࢨ࣮࡟ࡢࡳ㐺⏝ࡉࢀࡿつ⣙
          
          ௨ୗࡢつ⣙ࡣࠊᮏ⣙Ḱ➼ࡢ୍㒊ࢆᵓᡂࡋࠊ-17HD ࢆ฼⏝ࡋ࡚࠸ࡿ࠿ཪࡣ -1 ࢺ࣮ࣞࢹ࢕ࣥࢢࡀ
          ᥦ౪ࡍࡿ )) ㈚೉ᬯྕ㈨⏘ྲྀᘬ㸦௨ୗࠕ$ $ ㈚೉ᬯྕ㈨⏘ྲྀᘬࠖ࡜࠸࠸ࡲࡍࠋ㸧ࢆࡈ฼⏝ྍ⬟࡞
          ᪥ᮏᅜ࡟ᒃఫࡍࡿ࠾ᐈᵝ࡟㐺⏝ࡉࢀࡲࡍࠋ


          -1 ࢺ࣮ࣞࢹ࢕ࣥࢢࡣࠊ)) ㈚೉ᬯྕ㈨⏘ࡢ㈚ฟேཬࡧ೉ཷேࡢ࣐ࢵࢳࣥࢢࡢࡓࡵࡢ )) ㈚೉ᬯ
          ྕ㈨⏘ྲྀᘬࣉࣛࢵࢺࣇ࢛࣮࣒ࢆ -1 #7F7D ᰴᘧ఍♫㸦ᬯྕ㈨⏘஺᥮஦ᴗ⪅㸦Ⓩ㘓␒ྕ㛵ᮾ㈈ົᒁ
          㛗➨      ྕ㸧ࠊ➨୍✀㔠⼥ၟရྲྀᘬᴗⓏ㘓ᴗ⪅㸧㸦௨ୗࠕᙜ ᙜ♫ࠖ࡜࠸࠸ࡲࡍࠋ㸧ࡢ࣮ࣘࢨ࣮ྥ
          ࡅ࡟ᥦ౪ࡋࠊ㐠Ⴀࡋࡲࡍࠋ)) ㈚೉ᬯྕ㈨⏘ྲྀᘬࡣᙜ♫࢙࢘ࣈࢧ࢖ࢺࢆ㏻ࡌ࡚ࠊࡲࡓࠊࣔࣂ࢖ࣝ
          ࢔ࣉࣜࡢ -17HD ࣉࣟࢢ࣒ࣛࢆ㏻ࡌ࡚฼⏝ྍ⬟࡛ࡍࠋ

          㸦ᙜ♫࢙࢘ࣈࢧ࢖ࢺཪࡣ -17HD ࣉࣟࢢ࣒ࣛࡢ࠸ࡎࢀ࠿ࢆ㏻ࡌ࡚㸧)) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࡟࠾ࡅ
          ࡿ೉ཷࡅཪࡣ㈚ฟࡋࢆྍ⬟࡜ࡋཬࡧྜពࡍࡿࡇ࡜࡛ࠊ࠾ᐈᵝࡣ௨ୗࡢ஦㡯ࢆ஢ᢎࡋࠊྠពࡋࡲࡍࠋ

                   x   ࠾ᐈᵝࡣᙜ♫࡟ࡼࡾㄆᐃ࣭ㄆドࡉࢀࡓ࣮ࣘࢨ࣮࡛ࡍࠋ
                        
                   x   )) ㈚೉ᬯྕ㈨⏘ྲྀᘬࡣᙜ♫ࡀᥦ౪ࡍࡿࡢ࡛ࡣ࡞ࡃࠊ)) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࡟ಀࡿࢧ࣮ࣅ
                        ࢫࡣ඲࡚ -1 ࢺ࣮ࣞࢹ࢕ࣥࢢࡀ༢⊂࡛ᥦ౪ࡋ࡚࠸ࡲࡍࠋ
                        
                   x   ࠾ᐈᵝࡣࠊࡈ฼⏝つ⣙ཬࡧ-1 ࡢࣉࣛ࢖ࣂࢩ࣮࣏ࣜࢩ࣮㸦ࡑࢀࡒࢀ㝶᫬࡞ࡉࢀࡿಟṇࢆྵ
                        ࡳࡲࡍࠋ㸧ࢆ⢭ㄞཬࡧ⌮ゎࡋࠊ୪ࡧ࡟ࡇࢀࡽ࡟ྠពࡋࡲࡋࡓࠋ
                        
                   x   ࠾ᐈᵝࡣࠊᙜ♫ࡀ࢔ࣥࢳ࣐ࢿ࣮ࣟࣥࢲࣜࣥࢢἲୖᚲせ࡞ሙྜ࡟ཪࡣ㐺⏝࠶ࡿ㔠⼥つไࡑࡢ
                        ௚ࡢἲᚊ࡟ᚑࡗ࡚࠾ᐈᵝ࠿ࡽ཰㞟ࡍࡿ᝟ሗࢆ -1 ࢺ࣮ࣞࢹ࢕ࣥࢢ࡟ඹ᭷ࡍࡿࡇ࡜ࢆㄆࡵࡲ
                        ࡍࠋ
                        
                   x   -17HD ࣉࣟࢢ࣒ࣛ࡟ཧຍࡉࢀ࡚࠸ࡿ࠾ᐈᵝࡢሙྜࠊ࠾ᐈᵝࡢᬯྕ㈨⏘ࡣࠊྛᬯྕ㈨⏘࡟
                        ᛂࡌ࡚ኚ᭦ࡍࡿྍ⬟ᛶࡀ࠶ࡾࠊ ᫬㛫༢఩࡛ኚືࡍࡿሗ㓘࡜ᘬࡁ᥮࠼࡟➨୕⪅೉ཷே࡟㈚
                        ࡋฟࡉࢀࡲࡍࠋ
          
                   x   ࠾ᐈᵝࡣࠊ-1 ࢺ࣮ࣞࢹ࢕ࣥࢢࡀᙜ♫࡟ᑐࡋ࡚ᮏ㈚ฟேཬࡧᮏ೉ཷேࡑࢀࡒࢀ࡜ࡢ㛫࡛㈨
                        ⏘ࡢ೉ཷࡅཬࡧ㈚ฟࡋࢆ⾜࠸ࠊ࠾ᐈᵝ࡟௦ࢃࡾ )) ㈚೉ᬯྕ㈨⏘ྲྀᘬࢆ᏶஢ࡍࡿࡓࡵ࡟ᚲ
                        せ࡞඲࡚ࡢᥐ⨨ࢆㅮࡌࡿࡼ࠺ᣦᅗࡍࡿࡇ࡜ࢆㄆࡵࡲࡍࠋ
                   x   ࠾ᐈᵝࡣࠊࡈᮏேࡢ຺ᐃ࡛ࡢࡳ )) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࡟ཧຍࡋࠊ௚ேࡢ຺ᐃ࡛ཧຍࡋࡲࡏ
                        ࢇࠋ
                        
                   x   ࠾ᐈᵝࡣࠊ)) ㈚೉ᬯྕ㈨⏘ࢆ㐪ἲ⾜Ⅽࠊ୙ἲ⾜Ⅽࠊࡑࡢ௚ᮏ⣙Ḱ➼࡟ᐃࡵࡿไ㝈ࡉࢀࡓ
                        ┠ⓗࡢࡓࡵ࡟฼⏝ࡋࡲࡏࢇࠋ
                        
                   x   -1 ࢺ࣮ࣞࢹ࢕ࣥࢢࡀ )) ㈚೉ᬯྕ㈨⏘ࡢ೉ཷேཪࡣ㈚ฟே࡜࡞ࡿࡇ࡜ࡣ࠶ࡾࡲࡏࢇࠋ
          

          ᙜ♫ࡢ࣮ࣘࢨ࣮ࡢࡳࡀࠊ೉ཷேཪࡣ㈚ฟேࡢ࠸ࡎࢀ࠿࡜ࡋ࡚ )) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࡟ཧຍࡍࡿ㈨
          ᱁ࢆ᭷ࡋࡲࡍࠋ




                                                                    
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          ㈚ฟࡋ

          ࠾ᐈᵝࡀ )) ㈚೉ᬯྕ㈨⏘ྲྀᘬࡢ㈚ฟே㸦௨ୗࠕᮏ   ᮏ㈚ฟேࠖ࡜࠸࠸ࡲࡍࠋ㸧࡜࡞ࡿ࡟ࡣࠊࡲࡎ㈨
          ⏘ࢆ࠾ᐈᵝࡀᙜ♫࡟㛤タࡋࡓཱྀᗙ㸦௨ୗࠕ࠾ᐈᵝཱྀᗙࠖ࡜࠸࠸ࡲࡍࠋ㸧࡟㡸クࡍࡿᚲせࡀ࠶ࡾࡲ
          ࡍࠋ࠾ᐈᵝࡣᮏ㈚ฟே࡜ࡋ࡚ࠊ)) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࢙࢘ࣈࢧ࢖ࢺ࡛ࠕ㈚ฟࡋࠖࢆ㑅ᢥࡍࡿ࠿ཪ
          ࡣࣔࣂ࢖ࣝ࢔ࣉࣜࡢ -1 7HD ࣉࣟࢢ࣒ࣛ࡟ཧຍࡋࠊ㈚ฟࡋࢆᕼᮃࡍࡿᬯྕ㈨⏘ࡢᩘ㔞ࠊ᭱ప㈚೉
          ᩱ⋡ཬࡧᬯྕ㈨⏘ࡢ✀㢮ࢆᣦᐃࡍࡿࡇ࡜࡛ࠊ࠾ᐈᵝࡢᬯྕ㈨⏘ࢆ㈚ࡋฟࡍ㈨᱁ࢆᚓࡲࡍࠋ࠾ᐈᵝ
          ࡢ㈚ฟࡋ࢜ࣇ࢓࣮ࡣ -1 ࢺ࣮ࣞࢹ࢕ࣥࢢࡢ )) ㈚೉ᬯྕ㈨⏘ྲྀᘬὀᩥᯈ࡟ᥦฟࡉࢀࠊ⮬ືⓗ࡟೉
          ཷே㸦ࡶࡋ࠸ࢀࡤ㸧࡜ࡢ࣐ࢵࢳࣥࢢࡀ⾜ࢃࢀࡲࡍࠋ

          ೉ཷࡅ㢠ࠊ㈨㔠ㄪ㐩⋡ཬࡧண᝿㈨㔠ㄪ㐩⋡ࡣᐇ⦼ࢹ࣮ࢱࡢࡳ࡟ᇶ࡙࠸࡚࠾ࡾࠊಖドࡉࢀ࡚࠾ࡽࡎࠊ
           ᫬㛫ࡈ࡜࡟㢖⦾࡟ኚ᭦ࡉࢀࡲࡍࠋ࠾ᐈᵝࡢᬯྕ㈨⏘ࢆ㈚ࡋฟࡍࡇ࡜ࡀ࡛ࡁࡿ࠿ࠊ࠾ᐈᵝࡀ㈚ࡋฟ
          ࡍࡇ࡜ࡢ࡛ࡁࡿ೉ཷேࡀ࠸ࡿ࠿ࠊᬯྕ㈨⏘ࡢ೉ཷࡅࡢ㟂せࡀ࠶ࡿ࠿ࠊཪࡣ⾲♧ࡉࢀࡓ㈚೉ᩱ⋡ࡀ
          ṇ☜࡛࠶ࡿ࠿ࡣࠊಖドࡉࢀࡲࡏࢇࠋ-1 ࢺ࣮ࣞࢹ࢕ࣥࢢࡣࠊ༢⊂ࡢ⿢㔞࡟࠾࠸࡚ᮏ㈚ฟேཬࡧᮏ
          ೉ཷேࡢὀᩥཬࡧ࣐ࢵࢳࣥࢢࢆỴᐃࡍࡿᶒ฼ࢆ␃ಖࡋࡲࡍࠋ࠾ᐈᵝࡣࡉࡽ࡟ -1 ࢺ࣮ࣞࢹ࢕ࣥࢢ
          ࡀ㝶᫬ᐃࡵࡿࣉࣛࢵࢺࣇ࢛࣮࣒ᡭᩘᩱࢆᨭᡶ࠺ࡇ࡜࡟ྠពࡋࡲࡍࠋ

          ࠾ᐈᵝࡣ࠸࠿࡞ࡿ᫬ࡶ㈨⏘ࢆ㈚ࡋฟࡍᚲせࡣ࠶ࡾࡲࡏࢇࠋ࠾ᐈᵝࡢ㈨⏘ࡢ㈚ฟࡋࢆࢫࢺࢵࣉࡍࡿ
          ࡟ࡣࠊ7 ఱ᫬࡛ࡶ )) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࢙࢘ࣈࢧ࢖ࢺ࡟࢔ࢡࢭࢫࡋ࡚ࠕ,-() %'"' ࠖࢆࢡ
          ࣜࢵࢡࡍࡿ࠿ࠊཪࡣ8 ࣔࣂ࢖ࣝ࢔ࣉࣜୖ࡛ -1 7HD ࣉࣟࢢ࣒ࣛ࡟ཧຍࡋ࡚࠸ࡿ࠾ᐈᵝࡢሙྜࠊ
          ࠕࣉࣟࣇ࢕࣮ࣝࠖࡢࠕ↓ຠ࡟ࡍࡿࠖࢆࢡࣜࢵࢡࡋࠊࠕ㈨⏘࡛฼┈ࢆᚓࡽࢀࡲࡍࠖࢆࢡࣜࢵࢡࡋࡲ
          ࡍࠋ

          )) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࢙࢘ࣈࢧ࢖ࢺࢆ฼⏝ࡋࡓ㈚ࡋ௜ࡅࡓᬯྕ㈨⏘ࡣ඲࡚㈐௵㈈⏘㝈ᐃᆺᾘ㈝㈚
          ೉࡛ࡍࠋ࠾ᐈᵝࡣࠊᮏ೉ཷேࡢ )) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࡛മົ୙ᒚ⾜࡜࡞ࡗࡓሙྜ࡟࠾ᐈᵝࡀ㐳ཬ
          ࡛ࡁࡿࡢࡣᮏ೉ཷேࡢཱྀᗙ࡟࠾࠸࡚ಖ᭷ࡉࢀ࡚࠸ࡿ㈨⏘ࡢᕪᢲ࠼ཬࡧ㸭ཪࡣỴ῭ࡢࡳ࡛࠶ࡿࡇ࡜
          ࡟ྠពࡋࡲࡍࠋ࠾ᐈᵝࡣఱ᫬࡛ࡶᮏ೉ཷேࡢཱྀᗙእ࡟ᮏ೉ཷேࡀᡤ᭷ࡍࡿ㈨㔠ࠊ㈨⏘ⱝࡋࡃࡣ㈈
          ⏘࠿ࡽࡢൾ㑏ཪࡣࡇࢀࡽ࡟ࡼࡿ⿵ൾࢆồࡵ࡞࠸ࡇ࡜࡟ྠពࡋࠊ࠾ᐈᵝࡢ඲࡚ࡢ௦⌮ேࠊ௦⾲⪅ཬ
          ࡧ㛵㐃఍♫࡟ྠពࡉࡏࡲࡍࠋ

            ㈚೉ᬯྕ㈨⏘ྲྀᘬࢆ㏻ࡌࡓᬯྕ㈨⏘ࡢ㈚ฟࡋࡣࠊᴟࡵ࡚㧗࠸ࣜࢫࢡࢆక࠸ࠊ  ࢺ࣮ࣞࢹ࢕
          ࣥࢢࠊᨻᗓᶵ㛵ཪࡣ➨୕⪅࡟ࡼࡗ࡚ఱࡽಖドࡉࢀ࡚࠸ࡲࡏࢇࠋᮏ೉ཷேࡀ  ㈚೉ᬯྕ㈨⏘ྲྀᘬ
          ࡛മົ୙ᒚ⾜࡜࡞ࡾࠊ࠿ࡘᮏ೉ཷேࡢཱྀᗙࡢᕪᢲ࠼ཬࡧ㸭ཪࡣỴ῭࡛ࡣ࠾ᐈᵝཪࡣ௚ࡢᮏ㈚ฟே
          ࡟ᑐࡍࡿᮏ೉ཷேࡢ㈇മࡢ⿵ሸ࡟༑ศ࡞ᬯྕ㈨⏘ࡢ㏉῭ࡀ࡛ࡁ࡞࠸ሙྜࠊ࠾ᐈᵝࡣᮏ㈚ฟே࡜ࡋ
          ࡚㈚ࡋฟࡋࡓᬯྕ㈨⏘ࢆ඲࡚ኻ࠺ྍ⬟ᛶࡀ࠶ࡾࡲࡍࠋ

          ೉ཷࡅ

          )) ㈚೉ᬯྕ㈨⏘ࡢ೉ཷே㸦௨ୗࠕᮏᮏ೉ཷேࠖ࡜࠸࠸ࡲࡍࠋ㸧࡟࡞ࡿ࡟ࡣࠊࡲࡎᬯྕ㈨⏘ࢆᢸಖ
          ࡜ࡋ࡚࠾ᐈᵝཱྀᗙ࡟࠾࠸࡚ᙜ♫࡟㡸クࡍࡿᚲせࡀ࠶ࡾࡲࡍࠋ࠾ᐈᵝࡣ೉ཷே࡜ࡋ࡚ )) ㈚೉ᬯྕ
          ㈨⏘ྲྀᘬ࢙࢘ࣈࢧ࢖ࢺ࡛ࠕ)) ೉ཷࡅࢆ᭷ຠ࡜ࡍࡿࠖࢆ㑅ᢥࡍࡿࡇ࡜࡛ᙜ♫ࡢ௚ࡢ࣮ࣘࢨ࣮࠿ࡽ
          ᬯྕ㈨⏘ࢆ೉ࡾཷࡅࡿࡇ࡜ࡀ࡛ࡁࡲࡍࠋ࠾ᐈᵝࡀ೉ࡾཷࡅࡿࡇ࡜ࡢ࡛ࡁࡿᬯྕ㈨⏘ࡢᩘ㔞ࡣࠊ㈚
          ฟேࡀ೉ཷࡅ࡟ᥦ౪ࡍࡿᬯྕ㈨⏘ࡢᩘ㔞ࠊ࠾ᐈᵝཱྀᗙ࡛ᢸಖ࡜ࡋ࡚฼⏝ྍ⬟࡞ᬯྕ㈨⏘ࡢᩘ㔞ࠊ
          ᬯྕ㈨⏘ᕷሙࡢὶືᛶཬࡧ࣎ࣛࢸ࢕ࣜࢸ࢕ࡢ≧ἣࠊᅜࠊᆅᇦཬࡧୡ⏺ࡢ⤒῭≧ἣࠊἲᚊୖཬࡧつ
          ไୖࡢせ௳୪ࡧ࡟ -1 ࢺ࣮ࣞࢹ࢕ࣥࢢࡀ㝶᫬᳨ウࡍࡿࡑࡢ௚ࡢせᅉࢆྵࡴከࡃࡢせᅉ࡟ᇶ࡙࠸࡚
          Ỵᐃࡉࢀࡲࡍࠋ




                                                                 
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          )) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࢙࢘ࣈࢧ࢖ࢺࢆ฼⏝ࡋ࡚೉ࡾཷࡅࡽࢀࡓᬯྕ㈨⏘඲࡚࡟ࡘ࠸࡚ࠊ㈐௵㈈⏘
          ࡣ ᮏ೉ཷேࡢཱྀᗙ࡟࠾࠸࡚ᮏ೉ཷேࡀಖ᭷ࡍࡿ㈨⏘࡟㝈ᐃࡉࢀࡲࡍ ࠋゝ࠸᥮࠼ࡿ࡜ࠊമົ୙ᒚ⾜
          ࡢሙྜࠊ-1 ࢺ࣮ࣞࢹ࢕ࣥࢢࠊᮏ㈚ฟேཪࡣࡑࡢ㛵㐃఍♫ࠊ௦⌮ேⱝࡋࡃࡣ௦⾲⪅ࡢ࠸ࡎࢀࡶᮏ
          ೉ཷேࡢཱྀᗙእ࡟ᮏ೉ཷேࡀᡤ᭷ࡍࡿ㈨㔠ࠊ㈨⏘ⱝࡋࡃࡣ㈈⏘࠿ࡽࡢൾ㑏ཪࡣࡇࢀࡽ࡟ࡼࡿ⿵ൾ
          ࢆồࡵࡿࡇ࡜ࡣ࡛ࡁࡲࡏࢇࠋᮏ೉ཷேࡀ )) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࡛മົ୙ᒚ⾜࡜࡞ࡗࡓሙྜࠊᮏ㈚
          ฟேࡀ㐳ཬ࡛ࡁࡿࡢࡣᮏ೉ཷேࡢཱྀᗙ࡟࠾࠸࡚ಖ᭷ࡉࢀࡿ㈨⏘ࡢᕪᢲཬࡧ㸭ཪࡣỴ῭ࡢࡳ࡛ࡍࠋ

          ࠾ᐈᵝࡣࠊ7 )) ㈚೉ᬯྕ㈨⏘࡟௜ࡉࢀࡿ฼ᜥ㸦)) ㈚೉ᬯྕ㈨⏘ྲྀᘬ࢙࢘ࣈࢧ࢖ࢺ࡛㜀ぴ࡛ࡁ
          ࡲࡍࠋ㸧ࠊཬࡧ 8 -1 ࢺ࣮ࣞࢹ࢕ࣥࢢࡀ㝶᫬ᐃࡵࡿࣉࣛࢵࢺࣇ࢛࣮࣒ᡭᩘᩱ㸦ࡇࢀࡶ )) ㈚೉
          ᬯྕ㈨⏘ྲྀᘬ࢙࢘ࣈࢧ࢖ࢺ࡛㜀ぴྍ⬟࡛ࡍࠋ㸧ࢆᨭᡶ࠺ࡇ࡜࡟ྠពࡋࡲࡍࠋ

          ࠾ᐈᵝࡣ࠸࠿࡞ࡿ᫬ࡶᬯྕ㈨⏘ࢆ೉ࡾཷࡅࡿᚲせࡣ࠶ࡾࡲࡏࢇࠋ)) ㈚೉ᬯྕ㈨⏘ࡢ೉ཷࡅࢆྍ
          ⬟࡜ࡍࡿࡇ࡜࡛ࠊ࠾ᐈᵝࡣࡈ⮬㌟ࡀࣜࢫࢡࢆ㈇ᢸࡋ࡚೉ཷࡅࢆ⾜࠺ࡇ࡜࡟ྠពࡋࡲࡍࠋ࠾ᐈᵝࡣࠊ
          )) ㈚೉ᬯྕ㈨⏘ྲྀᘬࢆ㏻ࡌ࡚ᮏ㈚ฟே࠿ࡽ೉ࡾཷࡅࡓᬯྕ㈨⏘ࡀᙜ♫ࡢྲྀᘬࣉࣛࢵࢺࣇ࢛࣮࣒
          ୖ࡛ྲྀᘬࠊᢸಖཬࡧᘬฟࢆྵࡴ࠶ࡽࡺࡿ┠ⓗ࡛฼⏝ࡉࢀࡿྍ⬟ᛶࡀ࠶ࡿࡇ࡜ࢆ஢ᢎࡋࠊྠពࡋࡲ
          ࡍࠋణࡋࠊ࠾ᐈᵝࡣࠊ࠾ᐈᵝཱྀᗙ࡟༑ศ࡞㈨⏘ࡀ࡞࠸ሙྜࡣ -1 ࢺ࣮ࣞࢹ࢕ࣥࢢࡀ )) ㈚೉ᬯྕ
          ㈨⏘ྲྀᘬ࡟ᇶ࡙ࡁ೉ࡾཷࡅࡽࢀࡓᬯྕ㈨⏘ࡢᘬฟࢆไ㝈ࡍࡿࡼ࠺ᙜ♫࡟ᣦᅗࡍࡿྍ⬟ᛶࡀ࠶ࡿࡇ
          ࡜࡟ྠពࡋࡲࡍࠋ

            ࢺ࣮ࣞࢹ࢕ࣥࢢ࡛ࡢ  ㈚೉ᬯྕ㈨⏘ࡢ೉ཷࡅࡣᴟࡵ࡚㧗࠸ࣜࢫࢡࢆక࠸ࡲࡍࠋ࠾ᐈᵝࡣ೉
          ཷே࡜ࡋ࡚ࠊ࠾ᐈᵝཱྀᗙෆࡢ඲࡚ࡢᬯྕ㈨⏘ࢆኻ࠺ྍ⬟ᛶࡀ࠶ࡾࡲࡍࠋ࣐࣮ࢣࢵࢺ࡟࠾ࡅࡿ㧗࠸
          ࣎ࣛࢸ࢕ࣜࢸ࢕ཬࡧ㔜኱࡞㠀ὶືᛶࣜࢫࢡࡢᏑᅾࡣࠊ࠾ᐈᵝࡀ࠾ᐈᵝཱྀᗙෆࡢ㈨⏘ࢆᮇ㝈ෆ࡟Ỵ
          ῭࡛ࡁ࡞࠸࠿ཪࡣỴ῭ࡀ඲ࡃ࡛ࡁ࡞ࡃ࡞ࡿྍ⬟ᛶࡀ࠶ࡿࡇ࡜ࢆព࿡ࡋࡲࡍࠋ࠾ᐈᵝཱྀᗙ࡟࠾࠸࡚
          ಖ᭷ࡉࢀࡿ㈨⏘ࡢ౯㢠ࡀ᭱పᚲせṧ㧗ࢆୗᅇࡿ࠿ཪࡣ  ࢺ࣮ࣞࢹ࢕ࣥࢢࡀ༢⊂ࡢ⿢㔞࡛࠾ᐈᵝ
          ཱྀᗙࡢ  ㈚೉ᬯྕ㈨⏘࡟ࡘ࠸࡚മົ୙ᒚ⾜࡜࡞ࡿ࠾ࡑࢀࡀ࠶ࡿ࡜ุ᩿ࡍࡿሙྜࠊ  ࢺ࣮ࣞࢹ
          ࢕ࣥࢢཪࡣ㛵㐃ࡍࡿᮏ㈚ฟேࡣࠊ࠾ᐈᵝࡀ೉ࡾཷࡅࡓᬯྕ㈨⏘ࡢ㏉῭ࡢࡓࡵ࡟࠾ᐈᵝཱྀᗙෆࡢ࣏
          ࢪࢩࣙࣥཬࡧ㈨⏘ࡢ඲㒊ཪࡣ୍㒊ࢆ┤᥋ཪࡣ㛫᥋ⓗ࡟ᕪࡋᢲ࠼ࠊỴ῭ࡍࡿྍ⬟ᛶࡀ࠶ࡾࡲࡍࠋ




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          )HE:K9JI7D:I;HL?9;IH;B7J;:JE7IF;9?<?;:?DL;IJC;DJ<EHJ>;FKHFEI;IE<J>;.$?D7D9?7B
          ,;HL?9;I7D:&7HA;JI9J       +;=KB7J;:9J?L?J?;I(H:;H C7ODEJ8;FHECEJ;:EH
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          J>;.$<?D7D9?7BFHECEJ?EDIH;=?C;KD:;H7HJ?9B;(L;HI;7I+;9?F?;DJI 7HJ?9B;
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          ,;B< 9;HJ?<?;:,EF>?IJ?97J;:"DL;IJEHIE<J>;?D7D9?7B,;HL?9;I7D:&7HA;JI9J      
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          &7HA;JI9J      ?D7D9?7B)HECEJ?ED(H:;H  




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